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 3                             UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
 4                                   WESTERN DIVISION
 5   MAINE STATE RETIREMENT                  Case No. 2:10-CV-00302 MRP (MANx)
 6   SYSTEM, Individuall and On
     Behalf of All Others Sim
                           ilarly            DECLARATION OF JULIE
 7   Situated,                               GOLDSMITH REISER IN SUPPORT
                                             OF MAINE STATE PLAINTIFFS'
 8                       Plaintiff,          MOTION FOR FINAL APPROVAL
                                             OF PROPOSED CLASS ACTION
 9                 vs.                       SETTLEMENT AND PLAN OF
                                             ALLOCATION, AND PETITION FOR
10   COUNTRYWIDE FINANCIAL                   AWARD OF ATTORNEYS' FEES
     CORPORATION, et al.,                    AND REIMBURSEMENT OF
11                                           EXPENSES
                         Defendants.         Date:      October 28, 2013
12                                           Time:      1:30 p.m.
13                                           Courtroom: 12
                                             Judge:     Hon. Mariana R. Pfaelzer
14
     DAVID H. LUTHER, Individually           Case No. 2:12-CV-05125 MRP (MANx)
15   and On Behalf of All Others Similarly
     Situated,
16
                         Plaintiff,
17
                   vs.
18
     COUNTRYWIDE FINANCIAL
19   CORPORATION, et al.,
20                   Defendants.
21   WESTERN CONFERENCE OF               Case No. 2:12-CV-05122 MRP (MANx)
     TEAMSTERS PENSION TRUST
22   FUND, Individually and On Behalf of
     All Others Similarly Situated,
23   Plaintiff,
24   vs.
25   COUNTRYWIDE FINANCIAL
26   CORPORATION, et al.,

27   Defendants.

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 1          I, JULIE GOLDSMITH REISER, declare under the penalty of perjury pursuant ~
 2   to 28 U.S.C. § 1746 as follows:
 3                                     INTRODUCTION
 4          1.     I am a partner of the law firm of Cohen Milstein Sellers & Toll
 5   ("Cohen Milstein "), Court-appointed Lead Counsel for the certified class in the Maine
 6   State Ret. Sys. litigation ("Maine State" or "the Litigation ") and one of the attorneys
 7   for the Court - appointed Lead Plaintiff, Iowa Public Employees ' Retirement System
 8   ("Lead Plaintiff " or "IPERS"). I respectfully submit this declaration in support of
 9   Plaintiffs' Motion for an Award of Attorneys ' Fees and Expenses.
10          2.     As described below , this Court appointed Cohen Milstein on May 14,
11   2010, as Lead Counsel in the Litigation , and Class Counsel on October 12, 2011.
12   Also on October 12, 2011 , the Court appointed as Class Representatives IPERS,
13   General Board of Pension and Health Benefits of the United Methodist Church ('
14   General Board "), Orange County Employees ' Retirement System (" OCERS"), and
15   State of Oregon, by and through the Oregon State Treasurer and the Oregon Publi
16   Employee Retirement Board on behalf of the Oregon Public Employee Retiremer
17   Fund (" Oregon ") ( collectively , " Plaintiffs").
18          3.     The statements set forth in this Declaration are based on first-
19   knowledge , about which I could and would testify competently in open Court if callec
20   upon to do so, and on records contemporaneously generated and kept by my Firm it
21   the ordinary course of its law practice.
22          4.     The Settlement of the Litigation is the result of three years of hard-fough
23   litigation , with three rounds of motions to dismiss having been fully briefed over
24   year-and-a - half, followed by five months of litigation pertaining to class certificatio
25   a year of intensive discovery on merits issues, the exchange of reports from a doz(
26   experts, and eight months of settlement negotiations.
27          5.     This case has been accompanied by an extraordinary amount of risk i
28   light of the dynamic state of the law in mortgage - backed securities ("IVIES") litigati


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 1 brought pursuant to the Securities Act of 1933, 15 U.S.C. §77(a). As set forth in
 2 greater detail below, the risk that investors would recover nothing or a small amount
 3 in Maine State existed throughout the entire litigation.
 4          6.    The theories asserted in the litigation were novel and complex, involving
 5 asset-backed financial instruments, sophisticated defendants, and arising amidst the
 6 aftermath of the greatest financial decline since the Great Depression.
 7          7.    The viability and vulnerability of Maine State stemmed from cross
 8 jurisdictional tolling derived from the Luther state court litigation. Although thi
 9 Court originally ruled that the Luther plaintiffs had tolled certain claims, and th
10 Litigation appropriately proceeded apace for a multiple years, in its Strategic CG
11 decision the Court held that such claims could not be tolled cross-jurisdictionally.
12   FDIC as Receiver for Strategic Capital Bank v. Countrywide Fin 'l Corp., 2012 V
13 5900973 (Nov. 21, 2012) ("Strategic Capital").             Had the parties not reached
14 settlement first, defendants undoubtedly would have sought to dismiss the Li
15 in its entirety based upon Strategic Capital.
16          8.    Also entirely unclear from the outset of the litigation was the
17 breadth of the claims that Plaintiffs could assert. After several rounds of motions
18 dismiss, this Court held Plaintiffs to a narrow set of tranche-based claims. While
19 Second Circuit later broadly interpreted standing in the MBS context to stem from
20 injury arising from the same mortgage originator, and although the Supreme Court
21 declined to review that decision, this Court disagreed with the Second Circuit's ruling.
22   Compare NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., 693 F.3d
23   145 (2d Cir. 2012), cent. denied, --- S. Ct. ---, 2013 WL 1091772 (Mar. 18, 2013) with
24   Strategic Capital, 2012 WL 5900973, and FDIC as Receiver for Security Savings
25   Bank, 12-cv-06692-MRP, slip op. 14-15 (Mar. 21, 2013). Thus, although the
26 Litigation originally commenced as encompassing 429 Offerings, it had been
27 narrowed to live claims for only eight tranches.
28          9.    Significantly, just days after the Stipulation and Agreement of

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 1 (the "Stipulation") was signed, the Second Circuit ruled that American Pipe tolling
 2 did not apply to the Securities Act's three-year statute of repose.       Police & Fire
 3   Retirement System of the City of Detroit v. IndyMac MBS, Inc.,    721 F.3d 95 (2d Cir.
 4 June 27, 2013). This Court had already concluded the opposite; but certainly if the
 5 Litigation had not settled, defendants could have sought reconsideration of the Court's
 6 ruling following the Second Circuit's IndyMac MBS decision, in addition to the cross-
 7 jurisdictional tolling issue already discussed. Had the Court revisited its prior
 8 decision, Maine State counsel might have recovered nothing after three years of hard-
 9 fought litigation.
10          10. The aforementioned risks of inconsistent legal rulings on novel
11 complex issues are independent of other uncertainties surrounding this litigation. F(
12 example, defendants had repeatedly asserted — and it is entirely unknown how a
13 ultimate fact-finder might rule — that Plaintiffs' losses were caused not by an
14 infirmities with the securities offerings of which they complained, but rather by th
15 well-known precipitous drop in housing prices nationally; illiquidity of credit an
16 capital markets in the United States (including the secondary market on which MB
17 are bought and sold) during the 2008 financial crisis; and other disruptions in marke -
18 globally. Additional uncertainty surrounded whether Countrywide would be place
19 into bankruptcy and thus, become judgment proof.
20          11. Cohen Milstein's compensation for the services rendered in this case
21 reimbursement of expenses has been and remains wholly contingent on the outcome.
22          12. The Cohen Milstein attorneys who were principally involved in this
23 litigation have extensive experience in litigating securities fraud and MBS class action
24 lawsuits. Such experience allowed Cohen Milstein attorneys to litigate this case
25 efficiently and effectively. The background, relevant qualification and experience of
26 attorneys who were principally involved in this litigation are provided in the brief
27 biographies attached hereto as Exhibit 1.
28          13. Since becoming involved in this case, I have overseen the coordination

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 1   work by attorneys representing the class in the Litigation internally and with respect
 2   work performed by Glancy Binkow & Goldberg LLP (Liaison Counsel) as well
 3   Kirby McInerney LLP (Counsel for the General Board). In doing so, I
 4   endeavored to represent the interests of the Plaintiffs and all members of the pre
 5   class fully and completely. We have litigated this case efficiently and avo
 6   duplication of efforts while leveraging the varying skills and expertise of each
 7   attorney involved in the representation. Additionally, we pursued a tailored discovery
 8   plan that ensured time spent in reviewing the tremendous document production f
 9   New York Funds and more narrow production in Maine State was targeted to
     information needed to support class . certification and to prove liability and damages
11   for the eight actionable tranches.
12         14.    The records pertaining to the hours and expenses invested in this case by
13   Cohen Milstein are voluminous. Therefore, I summarize Cohen Milstein's efforts to
14   achieve a recovery on behalf of the Class in remainder of this Declaration.
15            PROCEDURAL HISTORY OF THE MAINE STATE ACTION
16         15.    On January 14, 2010, certain plaintiffs, including Maine State Retirement
17   System, filed a Consolidated Complaint for Violation of Sections 11, 12(a)(2) and 15
18   of the Securities Act of 1933 (the "Consolidated Complaint"), alleging claims for
19   violation of the Securities Act of 1933 ("Securities Act") on behalf of a class of
20   persons and entities that purchased any securities issued in any one or more of the 429
21   MBS offerings identified in that Consolidated Complaint. The action was entitled
22   Maine State Retirement System v. Countrywide Financial Corporation, et al., No. 10-
23   cv-00302-MRP     ("Maine State").
24         The Lead Plaintiff Motion
25          16.   Pursuant to the Private Securities Litigation Reform Act of 1995
26   ("PSLRA"), on April 2, 2010, IPERS, Putnam Bank, the General Board, and a group
27   of institutional investors comprised of Maine Public Employees Retirement System,
28   Vermont Pension Investment Committee, Mashreqbank, p.s.c., Pension Trust Fund

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 1 Operating Engineers, Operating Engineers Annuity Plan, and Washington State
 2 Plumbing and Pipefitting Pension Trust (the "Institutional Investor Group") filed
 3 competing motions for appointment of lead plaintiff. (ECF No. 78). On May 3, 2010,
 4 this Court entertained oral argument from all Lead Plaintiff movants.
 5          17. On May 14, 2010, this Court appointed IPERS as Lead Plaintiff
 6 Cohen Milstein as Lead Counsel in Maine State. (ECF No. 120). In so doing, this
 7 Court denied the motions of Putnam Bank, the General Board, and the Institutional
 8 Investor Group, recognizing that IPERS met the PSLRA's statutory requirements for
 9 Lead Plaintiff by having the largest financial interest of any competing movant and
10 otherwise demonstrating its adequacy.
11          The Amended Complaint
12          18. On July 13, 2010, Plaintiffs filed an Amended Consolidated Class
13 Complaint ("Amended Complaint"). (ECF No. 122). The Amended Complaint was
14 235 paragraphs-long and the product of counsel's extensive efforts to investigate and
15 analyze reams of materials regarding Countrywide's loan origination and purchasing,
16 due diligence practices and disclosures concerning its residential mortgage-backed
17 securities ("RMBS") as well as industry-wide practices. In particular, it involved a
18 robust review and analysis of remittance reports for the relevant offerings as well as
19 an intensive investigation into the actions ratings agencies took as to the Countrywide
20 Offerings and work with experts to understand RMBS securitizations.
21          19. The Amended Complaint was filed by Lead Plaintiff, IPERS, as well
22 additional named Plaintiffs and then-putative class representatives Oregon, OCERS
23 and the General Board. It included appendices identifying each of the 429 offerings at
24 issue by name, offering amount, date of issuance, and registration statement. Another
25 appendix identified the underwriter(s) for each offering. A third exhibit identified the
26 amount and percentage of each offering that was rated AAA at issuance. The Maine
27   State Amended Complaint also included exhibits identifying the page numbers of all
28 allegedly misrepresented underwriting guidelines in each of the 429 offerings.
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 1''.         Plaintiffs Prepared Three Amended Complaints and Responded to Test
              Dispositive Motions
 2
              20.    Defendants vigorously and repeatedly contested Plaintiffs' alk
 3
        requiring multiple and extensive briefing even with respect to issues that federal
 4
        courts had rejected universally. Although a number of Countrywide MBS purchasers
 5
        have since argued the same issues before this Court, the Maine State Plaintiffs were
 6,
        the first to encounter and respond to them.
 7
              21.     On September 13, 2010, and in response to seven motions to dismiss 1
 8
        defendants on August 15, 2010 (ECF Nos. 145-165), Maine State Plaintiffs filed
 9
        115 -page omnibus memorandum that opposed defendants' motions to dismiss
10
        motions to strike and responded to myriad issues. (ECF No. 182).
11
              22.     To dispute defendants' argument that Plaintiffs' claims were untimely,
12
        Plaintiffs successfully advocated that American Pipe tolling principles applied to
13
        claims alleged in the Luther case and its progeny. Thus, tolling would have
14
        suspended the running of the statute of limitations while those state-court actions were
15
        pending.
16
              23.    Additionally, Plaintiffs successfully argued that American Pipe to
17
        should apply to claims filed cross-jurisdictionally, noting that the American Pipe c
18
        itself rejected the idea that tolling violated the Rules Enabling Act. Further,
19
        explained that defendants could not claim to be surprised by Plaintiffs' allegations
20
        light of having defended the Luther action (filed in 2007), thus alleviating any concf
21
        that the statute of limitations should have continued to run to prevent surprise or i
22
        loss of evidence.
23
               24.    Plaintiffs also successfully opposed defendants' argument that the statute
24
        of repose barred their claims, since American Pipe tolling only is effective if it applies
25
        to the statute of repose as well as the statute of limitations.
26
               25.   Next, Plaintiffs objected to defendants' contention that they lacked
27
        constitutional and statutory standing to pursue claims on all 429 Offerings.
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 1   Defendants argued that the state court where Luther was originally filed could
2    have had jurisdiction over offerings that a Luther plaintiff had not purchased, even if
 3   Luther plaintiffs had not disclosed what Offerings they purchased and had, instead,
 4   sought to represent a class of purchasers of all Offerings. Plaintiffs contended that
 5   American Pipe should have tolled all claims asserted in the Luther action.
 6         26. Plaintiffs also successfully refuted defendants' arguments that no
 7   cognizable injury was pled in the absence of a failure to receive a timely principal or
 8   interest payment on a particular mortgage-backed certificate. Additionally, Plainti
 9   successfully countered defendants' position that because the market was illiquid thi
10   could be no injury, by showing that such illiquidity is irrelevant to whether
11   defendants' misconduct in misrepresenting the loan collateral entitles Plaintiffs to
12   rescind their purchases.
13         27.    Plaintiffs also defeated defendants' arguments that the claims sounded
14   fraud and therefore had to have been pled with particularity pursuant to Rule 9(b)
15   the Federal Rules of Civil Procedure.
16         28.    Although defendants insisted that loan-level allegations of
17   defects were necessary to state a claim, Plaintiffs demonstrated that the
18   Complaint's allegations sufficiently alleged that the Offering documents
19   materially false or misleading statements. Specifically, the Amended Compla
20   alleged that the Offering Documents failed to disclose that the stated underwriti
21   guidelines purportedly used to originate the underlying mortgage loan collater
22   including the reliance on stated maximum LTV ratios and various forms of stand,,
23   appraisals, had been systematically disregarded. Plaintiffs' successfully argued ti
24   their allegations that defendants systematically deviated from their underwriti
25   guidelines were sufficient to state a claim.
26         29.    Plaintiffs also successfully opposed defendants' argument that the recei
27   of distribution reports required Plaintiffs to plead or otherwise allege actual reliance
28   by demonstrating that distribution reports did not meet the statutory requirement of an

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 1 "earnings statement" as set forth in 17 C.F.R. § 230.158(a).
 2          30. Plaintiffs further successfully argued that, consistent with
 3 interpretation including SEC Rule 159A and 17 C.F.R. § 230.159A,
 4 defendants are liable as statutory sellers pursuant to Section 12(a)(2). Plaintiffs also
 5 supported their contention that the Underwriting Defendants, identified for each
 6 Offering in the Amended Complaint, were statutory sellers.
 7          31. Finally, Plaintiffs successfully briefed why certain individual defendants
 8 should be found liable as "control persons" and in particular, defeated defendants
 9 Sambol and Spector's arguments that such allegations must be pled with particulari
10 pursuant to Rule 9(b). Plaintiffs noted that the Ninth Circuit does not require
11 plaintiff to plead culpable participation to find that control person liability exists,
12 rather Plaintiffs need only plead that the defendant controlled a primary violator of the
13   securities laws.
14          32. On September 16, 2010, Plaintiffs opposed Bank of America's motion
15 dismiss (ECF No. 175) based on principles of successor liability arising
16 allegations that Bank of America's acquisition of Countrywide was, in fact, a de
17 merger. (ECF No. 185). Plaintiffs argued that California law should apply to the all-
18 stock transaction which resulted in Countrywide's continued operation under Bank of
19 America's name.
20          33. The Court heard extensive oral argument on all eight motions to dismiss
21 and the numerous underlying issues on October 18, 2010. (ECF No. 216).
22          34. On November 4, 2010, this Court granted in part the motion to dismiss
23   Maine State filed by the Countrywide Defendants, holding, among other things, t:
24 (i) plaintiffs were entitled to tolling as to both the statute of limitations and statute
25 repose pursuant to the American Pipe doctrine ("the Court accepts Plaintiffs' genera
26 proposition that they are entitled to tolling under the doctrine of American Pipe 8
27    Construction Co. v. Utah, 414 U.S. 538 (1974), and its progeny... Moreover, reject,
28 Defendants' argument that American Pipe tolling does not apply to the statute o
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 1 repose"); (ii) the Maine State plaintiffs had standing to sue with respect to the speci
 2 MBS offerings in which the Maine State plaintiffs had actually purchased ("Plainti
 3 have standing only with respect to the 81 Offerings in which the named plainti
 4 purchased"); and (iii) because the Luther plaintiffs lacked standing with respect to a
 5 MBS offerings in which they did not purchase, the statute of limitations had only bE
 6 tolled on behalf of investors who purchased identical MBS offerings to those that
 7   Luther plaintiffs had purchased ("The Court requires the Plaintiffs to explain in
 8 AC on what basis the Plaintiffs believe their claims have been tolled"). See Mc
 9   State Ret. Sys. v. Countrywide Fin. Corp., 722 F. Supp. 2d 1157 (C.D. Cal. 2010)
10 (ECF No. 222). The Court permitted Plaintiffs thirty days to amend the Amender
11 Complaint to conform to the Court's ruling.
12          35. On December 6, 2010, Plaintiffs filed the Second Amended Class Actior
13 Complaint which identified each Offering purchased by both a Luther and Maine
14 plaintiff and narrowed the case from 429 to 14 Offerings. (ECF No. 227).
15          36. On December 14, 2010, the Court ordered defendants to submi
16 supplemental briefing on the issue of tolling by January 17, 2011. (ECF No. 229).
17 Countrywide Defendants and Defendant Sambol timely submitted additional briefing.
18 (ECF Nos. 231 and 233).
19          37. On January 17, 2011, Plaintiffs sought leave to reply to defendants'
20 supplemental submissions on tolling although the Court initially ordered that no
21 further briefing should be submitted. Plaintiffs argued that defendants first sought to
22 tie standing to tranches rather than offerings at oral argument and that therefore,
23 Plaintiffs' omnibus opposition had not addressed this issue. See, e.g., Hearing Tr.
24 91, Oct. 18, 2010 (ECF No. 220). The Court granted Plaintiffs' request
25 supplemental briefing. (ECF No. 239).
26          38. On February 3, 2011, Maine State plaintiffs responded to defendants'
27 Supplemental Briefing re Tolling in Support of Motion to Dismiss, filed January 17,
28 2011. (ECF Nos. 241-243). In particular, plaintiffs argued that at that time, none of the

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 1 fifteen federal district courts to address standing in the MBS context had limite ,
 2 standing to tranches purchased. Further, Plaintiffs noted that the Southern District c
 3 New York court that defendants relied upon in their briefing had merely mad
 4 comments during oral argument but ultimately had issued an offering-based ruling
 5 Plaintiffs also explained that tranche-based standing ignored the inter-connectednes
 6 and interdependence of the tranches. Finally, Plaintiffs responded to Defendar.
 7 Sambol's argument that the claims against him were time-barred.
 8         39. In response, defendants sought and were granted the opportunity to repl
 9 to Plaintiffs' submission (ECF No. 245). Defendants filed their reply on February 17
10 2011. (ECF No. 247).
11         40. On March 23, 2011, the Court entertained argument for a second time
12 defendants' motions to dismiss, hearing argument on tranche-based standing as well
13 as successor liability (ECF No. 251). On April 20, 2011, the Court dismissed Bank o
14 America from the litigation (ECF No. 255).
15         41.    On May 5, 2011, the Court issued a separate Order Resolving
16 Motions to Dismiss (ECF No. 257). The Court held, among other things, that in order
17 to have standing to sue, a named class plaintiff must show that it bought the same
18 securities purchased by such putative class members ("the Court has concluded that
19 Plaintiffs must establish they have tranche-based standing as to the securities involved
20 here"). The Court also held that to the extent that the Luther plaintiffs did not
21 themselves buy particular Certificates included in the Luther complaint, the relevant
22 limitations periods continued to run with respect to those tranches, and therefore,
23 claims as to Certificates that a Luther plaintiff did not buy were necessarily time-
24 barred ("the Court holds the statute of limitations was tolled during the pendency of
25 the Luther cases only with respect to the Certificates that the named plaintiffs
26 purchased in those cases"). In sum, the Court's May 5, 2011 Order narrowed the
27 scope of the Litigation to the 8 tranches that at least one of the named plaintiffs in
28   Maine State and one of the named plaintiffs in Luther had purchased from the 429

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 1   Offerings that the Plaintiffs initially sought to represent.
 2           42. . In addition to those standing and tolling holdings, the Court found
 3   plaintiffs' allegations regarding material misrepresentations, reliance, and injury were
 4   all sufficiently pled. The Order denied the Underwriter Defendants' motion to dismiss
 5   claims against them as statutory sellers and sustained the control person liability
 6   claims against the Individual Defendants and, in particular, found that the statute of
 7   limitations had been tolled as to such claims against Defendant Sambol. (ECF No.
 8   257).
 9           43.   On May 23, 2011, Plaintiffs filed a motion for entry of judgment or
10   relief from this Court's tranche-based standing and tolling decisions pursuant to Rule
11   54(b) of the Federal Rules of Civil Procedure or, in the alternative, 28 U.S.C. §
12   1292(b). (ECF No. 263). Plaintiffs argued that the Court's May 5, 2011 ruli
13   dramatically altered the scope of the litigation and that no other federal district co
14   had previously ruled that tranche-based standing or tolling was required. The
15   denied Plaintiffs' request for appellate review on June 15, 2011. (ECF No. 286).
16           44.   On June 6, 2011, Plaintiffs filed a Third Amended Complaint (ECF No.
17, 227), as directed by the Court's May 5, 2011 Order.
18           45.   On July 11, 2011, defendants filed motions to dismiss the
19   Amended Complaint as to three tranches where Plaintiffs had committed to purchase
20   the securities prior to issuance. (ECF Nos. 292-97).
21           46.   Plaintiffs opposed defendants' motions to dismiss on August 8, 2011.
     (ECF No. 303). Plaintiffs again argued that reliance is not an element of a Section 11
23   or 12(a)(2) claim and further, that SEC regulations are clear that a later-filed
24   prospectus supplement is deemed part of the registration statement on the earlier
25   the date the supplement was "first used" or the date of the first contract of sale of
26   securities. Therefore, Plaintiffs argued, as a matter of law, the prospectus supl
27   were incorporated into the registration statements at the time of purchase.
28           47.   On September 13, 2011, the Court denied defendants' motion to

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 1 the Third Amended Complaint in its entirety. (ECF No. 315). Yet, in so doing,
 2 Court recognized that loss and negative causation arguments would need to be
 3 visited at a later time ("[Defendants argue] Since the plaintiff would have
 4 damaged with or without the statement, it follows that the statement was neither
 5 but-for or the proximate cause of the plaintiff's harm ... there are simply too in
 6 unknown facts for resolution at the motion to dismiss stage"). Extensive docun
 7 and class discovery then proceeded, as discussed below.
 8         48. Later, on September 21, 2012, Plaintiffs filed a Renewed Motion
 9 Modification of the Court's Orders Resolving Motions to Dismiss arising from the
10 Second Circuit's standing decision in NECA-IBEW Health & Welfare Fund v.
11   Goldman Sachs & Co., 693 F.3d 145 (2d Cir. 2012), cert. denied, --- S. Ct. ---, 2013
12 WL 1091772 (Mar. 18, 2013). (ECF No. 356). This motion was withdrawn when the
13 parties agreed to commence mediation efforts. However, this Court has since written
14 that it disagrees with NECA, "which has thrown the jurisprudence in this area into
15 disarray." See Strategic Capital, 2012 WL 5900973
16          49. While the parties engaged in mediation efforts, on November 21, 2012
17 this Court's Strategic Capital decision re-visited the Court's prior acceptance of cross-
18   jurisdictional tolling (Me. State Ret. Sys. v. Countrywide Fin. Corp., 722 F. Supp. 2d
19   1157). See Strategic Capital, 2012 WL 5900973 at 22. Upon learning of this opinion,
20   Plaintiffs immediately began researching and drafting a motion to consolidate the
21   Luther action into the Maine State litigation. Needless to say, had settlement efforts
22 been unsuccessful, Plaintiffs faced the very real possibility that the Court would
23 dismiss Maine State before entertaining Plaintiffs' consolidation motion which, if
24 granted, Plaintiffs believe would have mooted the cross jurisdictional tolling argument
25 for dismissal. However, the Court, in its discretion, could have considered the cross-
26 jurisdictional tolling argument before considering the consolidation motion and the
27 time invested in three-years of litigating this action would have gone uncompensated.
28          50. In total, Cohen Milstein attorneys worked 7,696 hours on briefing, legal

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 1 research, preparation for argument and argument in connection with non-settlement
 2 pleadings in this litigation, which amounts to approximately 19% of the total ti
 3 Cohen Milstein billed in the Litigation. Time spent preparing this declaration and
 4 related motion for attorneys' fees has not been included in these totals.
 5         CLASS CERTIFICATION MOTION AND RELATED DISCOVERY
 6          51. On June 6, 2011, plaintiffs in Maine State moved for class certificati
 7 (ECF No. 269), as directed by the Court's May 5, 2011 Order.
 8          52. On June 17, 2011, following a telephonic hearing, the parties stipulat
 9 to and the Court ordered a very tight schedule for class-certification such that I
10 motion was to be fully briefed and argued by October 17, 2011. (ECF No. 287
11 Ordered ECF No. 288).
12          53. After several weeks of extensive negotiations, the parties submitted
13 stipulated proposed Order Regarding the Governing of the Treatment of Confidential
14 Information, which the Court entered on July 15, 2011. (ECF No. 300).
15          54. The parties conducted discovery solely on the issue of class certificati
16 during the summer of 2011, responding on behalf of the named plaintiffs to
17 interrogatories and document requests and defending the depositions of class
18 representatives IPERS, OCERS, Oregon and the General Board, as well as preparing
19 expert reports and taking and defending expert depositions. Plaintiffs' Counsels'
20 efforts to obtain class certification included:
21             • Subpoenaing documents from more than 60 custodian banks, broker
22                dealers, market-makers and investment banks to establish pricing
23                information for the securities at issue as well as trading histories, trading
24                volume of the securities, and numerosity for purposes of class
25                certification pursuant to Rule 23 of the Federal Rules of Civil Procedure.
26             • Engaging in motion practice in the Northern District of Illinois to compel
27                production from one third-party.
28

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 1                • Responding to discovery requests on behalf of the named plaintiffs from
 2                   six sets of defendants, including reviewing and producing 52,000
 3                   documents (the equivalent of 1.03 million pages) responsive to discovery
 4                   requests and subsequently defending plaintiff depositions. This effort
 5                   also included reviewing productions from plaintiffs' asset managers and
 6                   investment consultants.
 7                • Seeking to quash discovery sought from absent class members. (ECF No.
 8                   305).
 9                • Retaining and overseeing the work of an expert who was deposed on
10                   issues pertaining to numerosity and commonality for purposes of meeting
11                   Plaintiffs' affirmative burden of demonstrating that class certification
12                   was appropriate.
13                • Responding to two expert reports that maintained Plaintiffs' claims were
14                   not suitable for class certification because the MBS market is inefficient,
15                   individualized issues of knowledge purportedly predominated, and there
16                   are differences in defendants' liability.
17          55. On September 2, 2011, Plaintiffs filed an Amended Motion to Certify the
18 Class, which included expert support for plaintiffs' claim that the class was
19 sufficiently numerous and addressed how this Litigation satisfied the standards set
20 forth in Wal-Mart Stores, Inc. v. Dukes 131 S. Ct. 2541, 2551, 180 L. Ed. 2d, 374, 383
21 (2011). (ECF No. 313).
22          56.      On September 30, 2011, the parties in Maine State stipulated to
23 certification of a class consisting of eight sub-classes (one for each remaii
24 tranche), and appointing IPERS, OCERS, Oregon and the General Board as class
                                                                               . (ECF
25 representatives (ECF No. 323), which this Court certified on October 12, 2011.
26 No. 327). Thereafter, Plaintiffs undertook a comprehensive notice program to inform
27 all potential class members of the scope of the certified class and their rights as class
28 members. This Court approved Plaintiffs' proposed form and method of distribution

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 1 of notice on November 21, 2011 (ECF No. 337).
 2                             MERITS DISCOVERY
 3         57. In November and December 2011, the parties spent multiple weeks
 4 negotiating a Joint Case Management schedule, which they submitted on December
 5 16, 2011 (ECF No. 340) and subsequently re-negotiated and re-submitted for approval
 6 on January 16, 2012 (ECF No. 346) following a telephonic hearing wherein the parties
 7 were directed to shorten the proposed schedule.
 8         58. Throughout 2012, the parties in Maine State engaged in merits-related
 9 discovery. Plaintiffs' counsel reviewed, coded, and analyzed over 11 million pages o
10 documents in this process. Plaintiffs' counsel then took the depositions of numerous
11 party and non-party witnesses and exchanged expert reports with defendants, as
12 forth below.
13            • In less than 12. months, Plaintiffs' counsel propounded 6, and for certain
14                defendants 7, sets of document requests that were informed by
15                defendants' Rule 26 disclosures, and a targeted review of the nearly 20
16                million pages of documents produced in the New York Funds litigation.
17            • Plaintiffs subpoenaed an additional ten entities in connection with merits
18                discovery and in connection with their own role in performing due
19                diligence on the actionable securities. Plaintiffs also subpoenaed and
20                entered into a separate protective order with Bank of America for the
21                production of the underlying loan files. Experts reviewed the Bank of
22                America production. Expert time is not included as part of counsel's
23                work in the Litigation.
24            • Within the same time period, Plaintiffs' counsel also sought documents
25                and information related to the live MBS tranches from defendants and
26                numerous non-parties, including loan files and due-diligence results. The
27                effort to meet and confer with defendants regarding the relevant time
28                period, agreeable search terms, and relevant custodians of electronically

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  1             stored information took several months, as Countrywide repeatedly took
 2             the position that even custodians identified in its own Rule 26 disclosures
 3             were improper custodians for the instant litigation. Another issue that
 4             required multiple meet-and-confer conferences was obtaining the terms
 5             used and custodians searched in the New York Funds litigation.
 6'         • Plaintiffs obtained for review, coding, and analysis an additional 1.7
 7             million documents (8.2 million pages) that were produced uniquely in the
 8             Maine State litigation. During the meet-and-confer process, Countrywide
 9             represented that it had retained 400 contract attorneys to review the
10             materials being produced.
11          • In light of the aggressive schedule for merits discovery, Plaintiffs'
12 !,           counsel in Maine State conducted weekly meet-and-confer meetings with
13              defendants' counsel on the status of discovery, document productions,
                and scheduling depositions.
15          • To avoid duplication from the New York Funds Action, Maine State
16             Plaintiffs' Counsel obtained, reviewed and digested the deposition
17             transcripts of more than 42 individuals who were deposed in the New
18              York Funds Action or otherwise were interviewed by government
19              agencies for information and testimony relevant to the present action.
20              This task was particularly time-consuming as the deposition transcripts
21              had been separated from the exhibits, requiring attorneys to find the
22              relevant document based on a listing of bates numbers associated with.
23             the exhibits for a particular deposition.
24          • In addition, Plaintiffs' Counsel in Maine State had to research whether
25             testimony before the SEC and Federal Crisis Investigation Commission
26              could be used as evidence, as if taken in the Maine State litigation.
27           • Plaintiffs' counsel in Maine State reviewed privilege logs produced by
28             the Underwriter Defendants and participated in numerous calls with the

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 1                Countrywide Defendants, ultimately drafting, but not filing, a motion to
 2                compel defendants to produce a rolling privilege log since merits
 3                discovery was coming to a close.
 4             • Plaintiffs' Counsel in Maine State prepared for and took 30(b)(6)
 5                depositions of UBS and Deutsche Bank in connection with the Offerings
 6                they underwrote, and also prepared for and took three days' worth of
 7                30(b)(6) depositions of Countrywide, as well as several Countrywide fact
 8                witness depositions.
 9             • Plaintiffs fully and completely responded to more than 115 contention
10                interrogatories and requests for admission propounded by defendants.
11                Had defendants sought summary judgment, these responses would have
12                formed the basis of the Maine State plaintiffs' opposition. Along with
13                this task, counsel assessed whether the evidence plaintiffs intended to
14                rely on was admissible, considering whether the materials were
15                authenticated as business records or otherwise admissible hearsay.
16          59. In total, Cohen Milstein attorneys billed approximately 26,923 hours
17 document discovery and related activities (e.g. drafting subpoenas and other req
18 for the production of documents). The cumulative time spent on class certific
19 and merits discovery other than depositions accounted for 67% of the time my
20 billed in the Maine State litigation.
21         60. Attorneys and other professionals at my firm billed separately for
22 spent preparing for, taking and defending depositions in the Litigation. Collectively
23 we billed approximately 3,248 hours or 8% of our time in connection with thf
24 deposition program in this Litigation.
25         61. Additionally, Plaintiffs' counsel in Maine State retained and worked wi
26 five separate experts, whose reports were due in less than seven months. Exl
27 provided their opinions in the following areas: the standards associated with pr
28 underwriting and investment bank due diligence (James F. Miller); loan
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 1   underwriting results based on application of contemporaneous origination guideli
 2   (Charles Cowan and Ira Holt); certificate valuation , investor losses , and damage
 3   (Michael L . Hartzmark ); and loss causation and negative causation (Adam Levitin as
 4   rebuttal expert ). Plaintiffs ultimately worked with their experts on multiple drafts   ~



 5   expert reports to produce the final four expert reports that were submitted
 6   defendants on September 28, 2012. The expenses incurred in retaining these
     were borne solely by Cohen Milstein , and are detailed in Exhibit 2, attached hereto.
           62.    Likewise , although mediation efforts had commenced, plainti
 9   reviewed and worked with their experts to respond to defendants ' five expert repo]
10   in the event that mediation efforts failed, on the following topics: whether the c
11   diligence defense is applicable to persons other than the issuer of a registration
12   statement (Adam C. Pritchard ); loss causation and negative causation ( Christopher L.
13   Culp and Kerry Vandell ); the efficacy of Countrywide ' s internal controls ( Charles R.
14   Lundelius , Jr.); and industry standards for underwriter due diligence (Maureen
15   Bolton).
16         63.    Cohen Milstein billed approximately 253 hours in identifying
17   directing the work of experts in the Maine State litigation .         This amounts to
18   approximately 1% of the firm's cumulative time.
19                           SETTLEMENT NEGOTIATIONS
20         64.    In late August 2012, prior to Luther being removed to federal
21   Maine State plaintiffs and defendants agreed to mediate Maine State. Toward that e
22   Plaintiffs ' counsel drafted a mediation statement that incorporated relev
23   information from the NY Funds production , the Maine State litigation and a dama;
24   analysis. Thereafter, Luther was removed to this Court and the parties agreed
25   mediate the actions jointly.
26         65.    Prior to commencing any in person discussions , Plaintiffs ' Counsel
27   time to establish that defendants were interested in discussing a global settlement
28   would include all 429 Offerings at issue. The parties then submitted detail

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 1   mediation statements addressing their respective claims and defenses, as well as thf
 2   substantial legal issues involved in the litigation that would need to be addressed
 3   including important issues of loss causation and the estimated damages.
 4         66.    On November 5, 2012, plaintiffs' and defendants' counsel met in
 5   with the mediator, Prof. Eric Green, a well-known and experienced mediator with
 6   Resolutions, LLC.
 7         67.    The November 5, 2012 session did not yield a settlement; however, a
 8   second session was scheduled for December 11, 2012. In the interim, Plaintiffs'
 9   counsel spent substantial time analyzing the strengths of their claims and refining their
     damages analysis. Plaintiffs' Counsel consulted with experts for assistance in valuing
11   damages, individual action claims and the effect of the $8.5 billion Bank of New York
12   Mellon settlement related to Countrywide MBS.
13         68.    The December 11, 2012 in- person session with Professor Green
14   productive, but again did not result in a settlement.
15         69.    Through the end of 2012 and into 2013, Professor Green assisted
16   parties in efforts to reach a settlement. These discussions occurred through
17   telephone calls. They were heavily negotiated and at times contentious, with
18   amounts and terms disputed until April 16, 2013 when a term sheet was executed for a
19   settlement of $500 million following the acceptance by the parties of the mediator's
20   proposal.
21         70.    Throughout the Settlement negotiations, Plaintiffs were acutely aware
22   that Countrywide could become insolvent. As late as June 2013, Bank of America's
23   Chief Risk Officer testified in New York state court: "One of the options that was
24   available to us and continues to be available to us was to put Countrywide
25   bankruptcy." Karen Friefield, BofA Could Still Put Countrywide into Bankruptcy,
26   Executive Says, Reuters, June 10, 2013.
27         71.    Throughout the extensive mediation process in these matters, Plaintiffs'
28   Counsel advocated for the interests of all Class Members, including those Class

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 1 Members who purchased in the tranches in Category Three of the proposed settlement
 2 plan of allocation —i.e., purchasers for which no buyer of the same securities has ever
 3 come forward and expressed an interest in prosecuting a class action.
 4 specifically, during both the parties' formal mediation sessions and in nu
 5 .telephone conferences outside of those formal sessions, Plaintiffs' Counsel vigorous
 6 advocated for all Class Members, notwithstanding previous adverse rulings in
 7 case.
 8          72. To assist in the division of the settlement amount amongst the mem
 9 of the class, Plaintiffs' Counsel worked with Hon. Nancy Gertner (Ret.) to develop
10 fair allocation of the settlement proceeds. Judge Gertner reviewed submissions
11 counsel in Maine State and Luther. She subsequently discussed with counsel
12 strengths and weakness of the class members for whom there were differing
13 considerations of the likelihood of success on any appeal of their claims' dismissal for
14 lack of standing by the named plaintiffs. This fair and independent process produced
15 the proposed plan of allocation.
16          73. Ultimately, Class Counsel agreed upon an allocation that awarded monies
17 to tranches divided into three categories. The allocation of $50 million to
18 Three class members, reflected that they had appellate rights and also the relative
19 strength of those appellate rights.
20          74. Additionally, after the Term Sheet was finalized, Plaintiffs'
21 issued a request for proposals from various claims administrators to ensure that I
22 class had the most effective and reasonably priced claims administrator. As a result
23 Garden City Group's vast experience in MBS cases and also its selection as the claims
24 administrator in the $8.5 billion Bank of America settlement, we interviewed Garden
25 City Group to ensure we were comfortable with the services and pricing proposed.
26          75. The Stipulation and Agreement of Settlement ("Settlement Stipulation"),
27 itself the result of extensive negotiations of its detailed provisions, was agreed to on
28 June 25, 2013. On that day, the Parties submitted the signed Settlement Stipulation to

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 1 the Court and requested an order preliminarily approving the Settlement, certifying
 2 settlement class, approving the notice plan, and setting the date for the fairne
 3 hearing. The Court held two in person hearings (ECF Nos. 413, 421) and tv
 4 telephonic hearings (ECF Nos. 410, 424) which involved Plaintiffs' Couns
 5 submitting supplemental briefing (ECF Nos. 407, 414-15) before entering
 6 Preliminary Approval Order on August 7, 2013. (ECF No. 430).
 7         76. As of August 31, 2013, Cohen Milstein accumulated approximate
 8 1,100 hours in time spent negotiating the settlement, revising settlement documents,
 9 designing the Plan of Allocation and working with the Claims Administrator, Garden
10 City Group, on a notice program. This amounts to approximately 1% of the firm's
11 cumulative time. As explained before, this figure does not include time spent
12 preparing this declaration or the motion for award of attorneys' fees.
13         77.    In sum, after significant investigation and analysis of Plaintiffs' claims
14 and further intense legal analysis of the strength and weaknesses of the case in
15 connection with three-years of hard-fought litigation to try to expand the Court's
16 standing ruling, the review of numerous expert reports from defendants, the tenor of
17 settlement negotiations and consultation with experts, Plaintiffs believe they had a
18 strong base from which to properly evaluate the strengths and potential weaknesses
19 the case and the value of the lawsuit.
20                       TIME EXPENDED IN THE LITIGATION
21         78. Through August 31, 2013, Cohen Milstein recorded a total of 40
22 hours of attorney, law clerk, and paralegal time spent on this matter, not inclu
23 time for those professionals who billed fewer than 10 hours to this matter. T
24 hours were actually expended, in the exercise of professional judgment, by
25 lawyers, paralegals and clerks involved in this matter.
26         79. Cohen Milstein charges for the services of its attorneys, paralegals,
27 law clerks on the basis of hourly rates which reflect, among other things, years
28 practice and experience. The lodestar calculation is made based upon current hot

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 1 rates for all current attorneys and staff, and, for those who are no longer employed
 2 Cohen Milstein, upon the billing rates for such attorneys and paralegals in his or
 3 final year of employment by the firm. The current (or last) hourly rates for Col
 4 Milstein attorneys and staff who worked on this matter range from $230 to $240
 5 law clerks, from $240 to $275 for paralegals, and from $330 to $835 for attorneys
 6 These hourly rates are consistent with the usual and customary hourly rates for the
 7 Firm's work performed for non-contingency fee clients. Our Firm's hourly rates ha
 8 been paid by hourly clients and, separately, approved for payment by federal and stz
 9 courts in other class action litigation.
10          80. Computed at their current or last hourly rates, Cohen Milstein attorne),
11 paralegals, and law clerks have incurred $17,568,829 in lodestar fees. Exhibit 3
12 identifies individuals who recorded time to this matter, the hours they expended, and
13 their current or last hourly rates.
14          81. As set forth above, Cohen Milstein also relied on contract attorneys
15 assistance in class certification and merits discovery. The scope of the
16 attorneys' roles is briefly described herein.
17          82. In order to effectively complete the monumental task of reviewing
18 analyzing relevant discovery within the Court-imposed deadlines, Cohen Mils
19 engaged temporary attorneys to perform crucial work in this Litigation.
20 attorneys' were and are referred to as "the Discovery Team." The Discovery Team'
21 responsibilities ranged from basic document review, analysis and coding to prepari
22 for depositions and organizing and outlining the tremendously detailed responses
23 the 115 contention interrogatories and requests for admission that defender
24 propounded.
25          83. Lead Counsel structured the Discovery Team such that senior attorneys
26 supervised more junior attorneys and acted as leaders with respect to particular issu
27 and witnesses. As set forth in Exhibit 4, these senior attorneys had well-over
28 decade of experience in all phases of complex securities litigation. These seni

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 1 attorney leaders were assigned to oversee anywhere from three to five more juni ,
 2 attorneys working on the Discovery Team.
 3          84. For example, the team leaders were involved in developing discover
 4 protocols to ensure consistency in the review and analysis of documents. Seni
 5 attorneys also were primarily responsible for synthesizing the work of junior tea
 6 members in developing topic and witness memoranda. Senior and mid-level attorne,
 7 on the Discovery Team created deposition digests and summaries from the New Yo
 8   Funds litigation and SEC testimony. Finally, senior attorneys developed timelines ai
 9 outlines relevant to each tranche at issue in the Litigation. These timelin
10 summarized the types of loans in each deal, the due diligence review performed at
11 subsequent requests for loan repurchases or other disputes as to potenti
12 representations and warranties violations.
13          85. Lead Counsel retained junior contract attorneys with prior work
14 experience in litigation involving MBS and structured product markets. Whip
15 primarily responsible for the coding and analysis of documents, the more junio.
16 attorneys were assigned to projects that fit with his or her prior experience and serve(
17   in a supporting role to assist the senior attorneys in synthesizing the discovery.
18          86. The discovery team worked 23,446 hours on this Litigation. Exhibit
19 identifies the individuals who worked as contract attorneys, their relevant background,
20 and the type of work performed in connection with the Litigation.
21          87. Cohen Milstein's lodestar figures are based upon the firm's billing rates,
22 which do not include charges for expense items. Expense items are billed s
23 and such charges are not duplicated in the firm's billing rates.
24          88. The expenses incurred in this action are reflected in Cohen Milstein'
25 expense records. These records are prepared from expense vouchers, check record
26 and other source materials and are an accurate record of the expenses incurred.
27          89. On behalf of the class, Cohen Milstein has incurred a total
28 $1,793,062.06 in unreimbursed expenses in connection with the prosecution of thi

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 1       litigation.. These expenses were reasonably and necessarily incurred under
 2       circumstances of this litigation. Exhibit 2 provides a summary of the expense
 3       incurred in furtherance of this case.
 4             90.    The largest portion of these expenses arise from retention of experts and
 5       the use of technology to manage the litigation and the massive document production.
 6       Of the total expenses, over $1.1 million relate to the retention of expert witnesses.
 7 '. The experts and areas of work are set above at paragraph 61.
 8'  ~      91. Additionally, nearly $500,000 of Cohen Milstein's expenses were
 9       incurred because of electronic document hosting and processing. Those expenses,
10       which are Cohen Milstein's actual out-of-pocket expenses paid to vendors, arise
11       predominantly from the use of a hosted document repository with significant
12       technological capabilities for efficiently managing and reviewing the large scale
13       document productions in this matter.
14                 THE RISK, TIME EXPENSE AND OUTCOME JUSTIFY
                        REQUEST1 D PERCENTAGE FEE AWARD
15
               92. The efforts undertaken to reach the substantial result obtained in
16
         difficult and uncertain action, as set forth above, more than justify the award of
17
         request attorneys' fee of 17% of the fund.
18
               93.    Cohen Milstein vigorously litigated this action, and the settlement v
19
         achieved only after substantial briefing and discovery was completed as set forth
20
         length above, including, inter alia, the filing of three amended complaints; briefing
21
         multiple motions to dismiss those complaints; conducting substantial class and fact
22
         discovery, including review of millions of pages of documents and multiple
23
         depositions. Plaintiffs' Counsel could not have obtained the resulting settlement — the
24
         largest mortgage-backed securities class action settlement ever — without expending
25
         substantial time and effort to be prepared to litigate the case through its end. Such
26
         extensive work was done with no guarantee of compensation and was undertaken
27
         solely with the expectation that if Plaintiffs' Counsel was successful would they be
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 1 compensated for their efforts and reimbursed their substantial out-of-pocket expenses.
 2          94. The requested fee award, 17% of the common fund, is well within the
 3 range of reasonable fee awards both under the percentage-of-recovery method
 4 endorsed in this Circuit and by a comparison to the collective lodestar of all plaintiffs'
 5 I counsel.
 6          95. As set forth above with respect to Cohen Milstein, and in
 7 Compendium of Individual Declarations submitted in support of Plaintiffs' Counsels'
 8 Application for Award of Attorneys' Fees and Expenses, the total lodestar of all
 9 plaintiffs' counsel is $40,209,519. Comparing this lodestar to the requested award
10 yields a modest multiple of 2.11, which is well within the range of reasonable
11 multipliers and in fact on the low end given the novel issues and substantial risks
12 faced by Plaintiffs' Counsel in litigating this action.
13          96. Moreover, this award is well justified by the recovery obtained — $500
14 million — the largest mortgage-backed security class action recovery and among
15 largest class action recoveries ever. Such results could only be accomplished
16 highly skilled counsel knowledgeable in the complex issues raised by the claims
17 defenses in the Litigation. Indeed, Cohen Milstein is one of the most-recognized
18 widely respected law firms in the country focusing nearly-exclusively on represent
19 plaintiffs in large and complex class actions, with a reputation and willingness to
20 able to successfully take challenging cases to trial when necessary. More informat
21 about Cohen Milstein and its numerous successful representations can be found on
22 firm's website at www.cohenmilstein.com .
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 1         I declare under penalty of perjury under the laws of the District of Columbia
 2   and that the foregoing is true and correct to the best of my knowledge and that this
 3   Declaration was prepared in the District of Columbia on September 22, 2013.
 4
 5
 6                                          Julie Goldsmith Reiser
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                             EXHIBIT 1




                                     28

                                 Exhibit 1
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                              Firm Resume




                                     29

                                 Exhibit 1
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                                Cohen Milstein Sellers & Toll PLLC

           For decades, Cohen Milstein Sellers & Toll PLLC has represented individuals, small
   businesses, institutional investors, and employees in many of the major class action cases litigated in
   the United States for violations of the antitrust, securities, consumer protection, civil
   rights/discrimination, environmental, ERISA, employment, and human rights laws. Cohen Milstein is
   also at the forefront of numerous innovative legal actions that are expanding the quality and
   availability of legal recourse for aggrieved individuals and businesses both domestic and international.
   Over its history, Cohen Milstein has obtained many landmark judgments and settlements for
   individuals and businesses in the United States and abroad. The firm's most significant past and
   present cases include:

      • In re Urethane Antitrust Litigation (Polyether Polyol Cases) (D. Kan.). Cohen Milstein
          represents a class of direct purchasers of several types of chemicals who were overcharged as a
       • result of a nationwide price-fixing and market allocation conspiracy. Cohen Milstein was able
          to negotiate settlements with certain defendants totaling approximately $139 million, and
          proceeded to trial against the remaining defendant. Following the trial, the jury returned a
          verdict in favor of the class that amounted to $400 million before trebling.

      • In re Vitamins Antitrust Litigation, MDL No. 1285 (D.D.C.). Cohen Milstein served as co-lead
          counsel for two certified classes of businesses that directly purchased bulk vitamins and were
          overcharged as a result of a ten year global price-fixing and market allocation conspiracy.
          Chief Judge Hogan approved four major settlements between certain vitamin defendants and
          Class Plaintiffs, including a landmark partial settlement of $1.1 billion. In a later trial before
          Chief Judge Hogan concerning four Class Plaintiffs' remaining unsettled Vitamin B4 (choline
          chloride) claims, a federal jury in Washington unanimously found Japan's second largest
          trading company, Mitsui & Co., Ltd., its wholly-owned U.S. subsidiary Mitsui & Co. (U.S.A.),
          Inc., DuCoa, LP, a choline chloride manufacturer based in Highland, Illinois, and DuCoa's
          general partner, DCV, Inc. liable for participating in the conspiracy and ordered them to pay
          $49,539,234, which is trebled to $148,617,702 under the federal antitrust laws. The case was
          subsequently settled against those defendants.

          Keepseagle v. Vilsack, Civil Action No. 1:99CV03119 (D.D.C.). A class of Native American
          farmers and ranchers allege that they have been systematically denied the same opportunities to
          obtain farm loans and loan servicing that have been routinely afforded white farmers by the
          USDA. A class was certified in 2001 by Judge Emmet Sullivan, District Judge for the U.S.
          District Court for the District of Columbia, and the D.C. Circuit declined USDA's request to
          review that decision. On October 19, 2010, the case reached a historic settlement, with the
          USDA agreeing to pay $680 million in damages to thousands of Native American farmers and
          ranchers and forgive up to $80 million worth of outstanding farm loan debt.

          In re Parmalat Securities Litigation, No. 04 MD 1653 (S.D.N.Y.). In this securities litigation
          case, Cohen Milstein has successfully negotiated two partial settlements totaling approximately
          $90 million. At the second partial settlement hearing, Judge Lewis A. Kaplan remarked that
          plaintiffs counsel "did a wonderful job here for the class and were in all respects totally
          professional and totally prepared. I wish I had counsel this good in front of me in every case."
          Our clients, four large European institutional investors, were appointed as co-lead plaintiffs and

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                                                Exhibit 1
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        we were appointed as co-lead counsel. Most notably, this case allowed us the opportunity to
        demonstrate our expertise in the bankruptcy area. During the litigation, the company
        subsequently emerged from bankruptcy and we added "New Parmalat" as a defendant because
        of the egregious fraud committed by the now-bankrupt old Parmalat. New Parmalat
        strenuously objected and Judge Kaplan of the Southern District of New York ruled in the class
        plaintiffs' favor, a ruling which was affirmed on appeal. This innovative approach of adding
        New Parmalat enabled the class to obtain an important additional source of compensation, as
        we subsequently settled with New Parmalat.

        Dukes v. Wal-Mart Stores, Inc. No. C-01-2252 (N.D. Cal.). Cohen Milstein is co-lead counsel
        in this sex discrimination case. In 2004, the U.S. District Court certified a nationwide class
        action lawsuit for all female employees of Wal-Mart who worked in U.S. stores anytime after
        December 26, 1998. This was the largest civil rights class action ever certified against a private
        employer, including approximately 1.5 million current and former female employees. That
        ruling was appealed, and while affirmed by the Ninth Circuit, was reversed by the Supreme
        Court in June 2011. Cohen Milstein argued the case for the plaintiffs-respondents in the
        Supreme Court. Since then, the Dukes action has been amended to address only the Wal-Mart
        regions that include stores in California, and other regional class cases have been or are soon to
        be filed. This litigation • to resolve the merits of the claims — whether Wal-Mart discriminates
        against its female retail employees in pay and promotions — continues.

        Rubin v. MF Global, Ltd. (08-CV-02233, S.D.N.Y.). Acting as co-lead counsel in this class
        action, the Firm represented the Central States, Southeast and Southwest Areas Pension Fund
        which was one of the co-lead plaintiffs in the case. In September 2010, as a result of Plaintiffs'
        decision to appeal, the U.S. Second Circuit Court of Appeals vacated in part the lower court's
        dismissal of the case and remanded the case for further proceedings. In overturning the District
        Court decision, the Second Circuit issued a decision which differentiated between a forecast or
        a forward looking statement accompanied by cautionary language -- which the Appellate Court
        said would be insulated from liability under the bespeaks caution doctrine -- from a factual
        statement, or non-forward-looking statement, for which liability may exist. Importantly, the
        Second Circuit accepted Plaintiffs' position that where a statement is mixed, the court can sever
        the forward-looking aspect of the statement from the non-forward looking aspect. The Court
        further stated that statements or omissions as to existing operations (and present intentions as to
        future operations) are not protected by the bespeaks caution doctrine. Mediation followed this
        decision and resulted in a settlement comprised of $90 million in cash.

       Hughes v. Huron Consulting Group (09-CV-04734, N.D. Ill.). Cohen Milstein represented lead
       plaintiffs the Public School Teachers' Pension & Retirement Fund of Chicago and the Arkansas
       Public Employees Retirement System ("APERS") in this case against Huron Consulting Group,
       founded by former Arthur Anderson personnel following its collapse in the wake of the Enron
       scandal. In August 2010, the District Court for the Northern District of Illinois denied
       defendants' motions to dismiss in their entirety and upheld plaintiffs' allegations that
       defendants intentionally improperly accounted for acquisition-related payments, which allowed
       plaintiffs to move forward with discovery. The case was settled for $40 million, comprised of
       $27 million in cash and 474,547 shares in Huron common stock, with an aggregate value at the
       time of final approval in 2011 of approximately $13 million.

        In re Lucent Technologies Securities Litigation, Civ. Action No. 00-621 (JAP) (D.N.J.). A
        settlement in this massive securities fraud class action was reached in late March 2003. The
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        class portion of the settlement amounts to over $500 million in cash, stock and warrants and
        ranks as the second largest securities class action settlement ever completed. Cohen Milstein
        represented one of the co-lead plaintiffs in this action, a private mutual fund.

        RehabCare, Civil Action No. 6197 (Delaware Court of Chancery). Cohen Milstein served as
        co-lead counsel in this shareholder litigation challenging the acquisition of healthcare provider
        RehabCare Group, Inc. by Kindred Healthcare, Inc. A settlement was approved in September
        2011 and provided for additional disclosures regarding the process leading up to the merger
        along with a $2.5 million payment for the benefit of the class of RehabCare shareholders.

        Nate Pease, et al. v. Jasper. Wyman & Son, Inc., et al., Civil Action No. 00-015 (Knox County
        Superior Court, Me.). In 2004, a state court jury from Maine found three blueberry processing
        companies liable for participating in a four-year price-fixing and non-solicitation conspiracy
        that artificially lowered the prices defendants paid to approximately 800 growers for wild
        blueberries. The jury ordered defendants Cherryfield Foods, Inc., Jasper Wyman & Son, Inc.,
        and Allen's Blueberry Freezer, Inc. to pay $18.68 million in damages, the amount which the
        growers would have been paid absent the defendants' conspiracy. After a mandatory trebling
        of this damage figure under Maine antitrust law, the total amount of the verdict for the
        plaintiffs is just over $56 million. The Firm served as co-lead counsel.

        In re StarLink Corn Products, Liability Litigation, MDL No. 1403. (N.D. Ill.). Cohen Milstein
        successfully represented U.S. corn farmers in a national class action against Aventis
        CropScience USA Holding and Garst Seed Company, the manufacturer and primary distributor
        of StarLink corn seeds. StarLink is a genetically modified corn variety that the United States
        government permitted for sale as animal feed and for industrial purposes, but never approved
        for human consumption. However, StarLink was found in corn products sold in grocery stores
        across the country and was traced to widespread contamination of the U.S. commodity corn
        supply. The Firm, as co-lead counsel, achieved a final settlement providing more than $110
        million for U.S. corn farmers, which was approved by a federal district court in April 2003.
        This settlement was the first successful resolution of tort claims brought by farmers against the
        manufacturers of genetically modified seeds.

        In re Diet Drug Litigation (Fen-Phen), MDL No. 1203 (E.D. Pa.). As a member of the
        Plaintiffs' Management Committee and Sub-Class Counsel, Cohen Milstein played a major part
        in the success of the Fen-Phen diet drug litigation and settlement (In re: Diet Drugs
        (Phentermine, Fenfluramine, Dexfenfluramine) Products Liability Litigation, MDL 1203).
        Cohen Milstein and other plaintiffs' counsel achieved the largest settlement ever obtained in a
        mass tort case - $3.75 billion — on behalf of millions of U.S. consumers who used Pondimin
        (fenfluramine) or Redux (dexfenfluramine), either alone or in combination with phentermine,
        diet drugs that are associated with heart valve damage.

        Snyder v. Nationwide Mutual Insurance Company, No. 97/0633 (Sup. Ct. N.Y. Onondaga
        Cty.). Cohen Milstein served as one of plaintiffs' principal counsel in this case on behalf of
        persons who held life insurance policies issued by Nationwide through its captive agency force.
        The action alleged consumer fraud and misrepresentations. Plaintiffs obtained a settlement
        valued at more than $85 million. The judge praised the efforts of Cohen Milstein and its co-
        counsel for having done "a very, very good job for all the people." He complimented "not only
        the manner" in which the result was arrived at, but also the "time ... in which it was done."

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     • Oncology & Radiation Associates, P.A. v. Bristol Myers Squibb Co., et al., No. 1:01CV02313
        (D.D.C.). Cohen Milstein has been co-lead counsel in this case since its inception in 2001.
        Plaintiffs alleged that Bristol-Myers Squibb unlawfully monopolized the United States market
        for paclitaxel, a cancer drug discovered and developed by the United States government, which
        Bristol sells under the brand name Taxol. Bristol's scheme included a conspiracy with
        American BioScience, Inc., a generic manufacturer, to block generic competition. Cohen
        Milstein's investigation and prosecution of this litigation on behalf of direct purchasers of
        Taxol led to a settlement of $65,815,000 that was finally approved by U.S. District Judge
        Emmet G. Sullivan on August 14, 2003 and preceded numerous Taxol-related litigations
        brought by the Federal Trade Commission and State Attorneys General offices.

        Kruman v. Christie's International PLC et al., Docket No. 01-7309. A $40 million settlement
        on behalf of all persons who bought or sold items through Christie's or Sotheby's auction
        houses in non-internet actions was approved in this action. Cohen Milstein served as one of
        three leading counsel on behalf of foreign plaintiffs. The Court noted that approval of the
        settlement was particularly appropriate, given the significant obstacles that faced plaintiffs and
        plaintiffs' counsel in the litigation. The settlement marked the first time that claims on behalf
        of foreign plaintiffs under U.S. antitrust laws have been resolved in a U.S. court, a milestone in
        U.S. antitrust jurisprudence.

        In re Infant Formula Consumer Antitrust Litigation (multiple state courts). Cohen Milstein
        instituted price-fixing cases on behalf of indirect-purchasers in 17 states under state antitrust
        laws against three companies who conspired to drive up the price of infant formula. The cases
        resulted in settlements of $64 million for purchasers of infant formula.

     • Domestic Air Transportation Antitrust Litigation (N.D. Ga.). Plaintiffs alleged a conspiracy
        among major airlines to set prices. In one of the largest consumer class actions ever brought to
        a successful conclusion, Cohen Milstein was one of the lead counsel and obtained a settlement
        of travel discounts and cash totaling $458 million for the class of individuals and businesses.

     • In re The Exxon Valdez Litigation, No. A89-095 Civ. (D. Ak.). The firm was selected from
         dozens of law firms around the country by federal and state judges in Alaska to serve as co-lead
         counsel for plaintiffs in the largest environmental case in United States history that resulted in a
         jury verdict of more than $5 billion (reversed and remanded for revised punitive damages
         award; further proceedings pending).

        Holocaust Litigation. In the historic Swiss Banks litigation, Cohen Milstein served, pro bono,
        as co-lead counsel for Holocaust survivors against the Swiss banks that collaborated with the
        Nazi regime during World War II by laundering stolen funds, jewelry and art treasures. Cohen
        Milstein obtained a $1.25 billion settlement, leading the presiding judge to call the firm's work
        "indispensable." See In re Holocaust Victim Assets Litig., Case No. CV 96-4849 (ERK)
        (MDG) (Memorandum of Chief Judge Korman dated July 26, 2002). The Firm was also a lead
        counsel in litigation by survivors of World War II-era forced and slave labor in litigation
        against the German companies that profited from using the labor of concentration camp
        inmates. This litigation, which resulted in an unprecedented settlement of $5.2 billion, was
        resolved by multinational negotiations involving the defendants, plaintiffs' counsel, and the
        governments of several countries for approximately two million claimants.


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                 Cohen Milstein has contributed over tens of thousands of hours of time to human rights
         and pro bono cases since 1996. As an example, the Firm represented eight survivors and/or
         families of the victims of the September 11, 2001 attack on the Pentagon before the Federal
         compensation fund. Cohen Milstein has obtained a substantial recovery for each, including the
         highest recovery to date, $6.8 million, for an injured individual.

     • Roberts v. Texaco. Inc. , 94-Civ. 2015 (S.D.N.Y.). Cohen Milstein represented a class of
        African-American employees in this landmark litigation that resulted in the then-largest race
        discrimination settlement in history ($176 million in cash, salary increases and equitable relief).
        The Court hailed the work of class counsel for, inter alia, "framing an imaginative settlement,
        that may well have important ameliorative impact not only at Texaco but in the corporate
        context as a whole ... ".

     • Conanan v. Tanoue , No. 00-CV-3091 (ESH). Cohen Milstein represented African-American
        employees at the Federal Deposit Insurance Corporation (FDIC) in this race discrimination suit,
        which settled for $14 million. The settlement provides the largest payment made in an
        employment discrimination class action based on race against a federal agency.

     • Trotter v. Perdue Farms, Inc. , Case No. 99-893 (RRM) (JJF) (MPT), D. Del. This suit on
        behalf of hourly workers at Perdue's chicken processing facilities — which employ
        approximately 15,000 people — forced Perdue to pay employees for time spent "donning and
        doffing," that is, obtaining, putting on, sanitizing and removing protective equipment that they
        must use both for their own safety and to comply with USDA regulations for the safety of the
        food supply. The suit alleged that Perdue's practice of not counting donning and doffing time
        as hours worked violated the Fair Labor Standards Act and state law. In a separate settlement
        with the Department of Labor, Perdue agreed to change its pay practices. In addition, Perdue is
        required to issue retroactive credit under one of its retirement plans for "donning and doffing"
        work if the credit would improve employees' or former employees' eligibility for pension
        benefits. Cohen Milstein was co-lead counsel.

          In addition, Cohen Milstein is an innovator in new areas of the law. Cohen Milstein was in the
  forefront of filing antitrust claims on behalf of indirect purchasers in 1993 and 1994, when it filed
  state-court actions in 18 states on behalf of indirect purchasers of infant formula. This was the first
  effort to systematically and simultaneously pursue treble damages claims on behalf of indirect-
  purchasing consumers in all states where antitrust laws permitted such claims. This approach, and
  variations of it, has since become the accepted model for pursuing antitrust damages on behalf of
  indirect-purchasing consumers. The Firm also has been in the forefront of the development of
  international antitrust theory and litigation of claims. As the global economy has produced worldwide
  conglomerates, so, too, has the nature of antitrust violations changed. For example, in Kruman v.
  Christie's International PLC, et al. Docket No. 01-7309 and In re Bulk Vitamins Antitrust Litigation,
  MDL 1285 (D.D.C.), both the parties and the anticompetitive actions were played out on a world,
  rather than domestic, stage. The firm also represents and won Lead Plaintiff status for domestic and
  foreign investors in a foreign company's bonds, in a PSLRA litigation being pursued in the United
  States, In re Parmalat Securities Litigation, Master Docket 04 Civ. 0030 (LAK) (S.D.N.Y.).

  Cohen Milstein has also served as lead or co-lead counsel, or on Plaintiffs' Executive Committee(s), in
  many dozens of antitrust, securities, consumer protection or product liability, civil rights, and human
  rights class action cases.

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                                            Awards & Recognition

   In 2013, Cohen Milstein was ranked as a Leading Plaintiff Class Action Antitrust Firm in the United
   States by the Legal 500 for the fifth year in a row.

   In 2013, Cohen Milstein attorneys Joseph Barton, Andrew Friedman, Agnieszka Fryszman, Karen
   Handorf, Kit A. Pierson, Julie G. Reiser, Joseph M. Sellers, Daniel A. Small, Daniel S. Sommers,
   Steven J. Toll, and Christine E. Webber were selected as Washington DC Super Lawyers.

   In 2013, Cohen Milstein attorneys Joshua Devore and Michelle Yau were selected as Washington DC
   Rising Stars by Super Lawyers.

   111   2013, Cohen Milstein Partner Carol V. Gilden was selected as a 2013 Illinois Super Lawyer.

   In 2012, for the second-year in a row, Cohen Milstein was selected to the National Law Journal
   Plaintiffs' Hot List.

   In 2012, Cohen Milstein was the recipient of the Judith M. Conti Pro Bono Law Firm of the Year
   Award from the Employment Justice Center.

   In 2012, Cohen Milstein was recognized as a "Highly Recommended Washington, DC Litigation
   Firm" by Benchmark Plaintiff: The Definitive Guide to America's Leading Plaintiff Firms and
   Attorneys.

   In 2012, Cohen Milstein was ranked as a top firm by the 2011 SCAS Report on Total Securities Class
   Action Settlements.

   In 2012, Cohen Milstein was ranked as a Leading Plaintiff Class Action Antitrust Firm in the United
   States by the Legal 500 for the fourth year in a row.

   In 2012, Partner Joseph M. Sellers was selected as a Washington DC Super Lawyer. Mr. Sellers was
   also selected for this prestigious award in 2007, 2008, 2009, 2010, and 2012.

   In 2012, Partner Steven J. Toll was selected as a Washington DC Super Lawyer. Mr. Toll was also
   selected for this prestigious award in 2007, 2009, 2010, and 2011.

   In 2012, Partner Daniel S. Sommers was selected as a Washington DC Super Lawyer. Mr. Sommers
   was also selected for this prestigious award in 2011.

   In 2012, Partner Christine E. Webber was selected as a Washington DC Super Lawyer. Ms. Webber
   was also selected for this prestigious award in 2007.

   In 2012, Partner Agnieszka M. Fryszman was selected as a Washington DC Super Lawyer.

   In 2012, Partner Kit A. Pierson was selected as a Washington DC Super Lawyer.

   In 2012, Partner Carol V. Gilden was selected as an Illinois Super Lawyer. Ms. Gilden was also
   selected for this prestigious award in 2005, 2006, 2007, 2008, 2009, 2010, and 2011.




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  In 2011, Cohen Milstein was selected to the National Law Journal Plaintiffs' Hot List.

  In 2011, Partner Joseph M. Sellers was selected as a "Visionary" by The National Law Journal.

  In 2011, Partner J. Douglas Richards, Of Counsel Joel Laitman, and Of Counsel Christoper Lometti
  were selected as New York - Metro Super Lawyers.

  In 2011, Partner Joseph M. Sellers and the Keepseagle v. Vilsack team were selected as a finalist for
  the 2011 Trial Lawyer of the Year Award from the Public Justice Foundation.

  In 2011, Cohen Milstein was ranked as a Leading Plaintiff Class Action Antitrust Firm in the
  United States by the Legal 500 for the third year in a row.

  In 2011, Partners Steven Toll, Joseph Sellers, and Daniel Sommers were selected as Washington DC
  Super Lawyers. Partner J. Douglas Richards, Of Counsel Joel Laitman and Christoper Lometti were
  selected as New York - Metro Super Lawyers. Partner Carol Gilden was selected as an Illinois
  Super Lawyer.

  In 2011, Cohen Milstein was a recipient of The National Law Journal's Pro Bono Award. The Firm
  was named one of the "six firms that best reflect the pro bono tradition."

  In 2010, Partner Joseph M. Sellers was selected as one of "The Decade's Most Influential Lawyers"
  by The National Law Journal.

  In 2010, Partner Steven J. Toll was named one of Law360's "Most Admired Attorneys ".

  In 2010, Partner Andrew N. Friedman was selected as a Washington DC Super Lawyer.

  In 2010, Partner Linda Singer was selected as one of "Washington's Most Influential Women
  Lawyers" by The National Law Journal.

  In 2010, Partner Agnieszka M. Fryszman was selected as a finalist for the Trial Lawyer of the Year
  Award from the Public Justice Foundation.

  In 2010, Partners Joseph M. Sellers and Agnieszka M. Fryszman were both selected as one of the
  Lawdragon 500 Leading Lawyers in America.

  In 2010, Cohen Milstein was once again ranked as a Leading Plaintiff Class Action Antitrust Firm
  in the United States by the Legal 500.

  In 2009, Partner Steven J. Toll was named a Top Attorney in Corporate Litigation for Securities
  Litigation by Super Lawyers.

  In 2009, Partners Joseph M. Sellers and Christine E. Webber were named as Top Washington
  Lawyers by the Washingtonian Magazine.

  In 2009, Cohen Milstein was recognized as one of the top 50 law offices in Washington D.C. for
  diversity efforts.

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  In 2009, Cohen Milstein was nominated for the prestigious Class Action Law Firm of the Year
  award by Global Pensions magazine for the third year in a row.

  Cohen Milstein ranked as a 2009 Leading Plaintiff Class Action Antitrust Firm in the United
  States by The Legal500.

  The 2008 SCAS Report on Total Securities Class Action Settlements ranked Cohen Milstein as a
  top firm for the second year in a row.

  In 2008, Cohen Milstein was nominated for the prestigious Class Action Law Firm of the Year
  award by Global Pensions magazine for the second year in a row.

  In 2008, Managing Partner Steven J. Toll was named one of Lawdragon's 100 Lawyers You Need to
  Know in Securities Litigation.

  In 2008, Steven J. Toll and Joseph M. Sellers were both named as one of Lawdragon's "500 Leading
  Lawyers in America."

  500 Leading Plaintiffs' Lawyers in America
  Lawdragon
  January-February, 2007

  Top Antitrust Plaintiffs' Firm
  Competition Law 360
  February 14, 2007
  Cohen Milstein named #1

  Joseph M. Sellers was selected by his peers to be included in the 2007 edition of The Best Lawyers in
  America® in the specialty of Civil Rights Law.

  Beacon of Justice Award - For Cohen Milstein's work on the Guantanamo cases.
  From the National Legal Aid and Defender Association
  Summer 2007

  Fierce Sister Award - For Cohen Milstein's work on the comfort woman case.
  Summer 2007

  The Plaintiffs' Hotlist
  The National Law Journal
  October 9, 2006

  Runner up for Matter of the Year
  Global Competition Review
  February, 2005
  On Empagran matter, praised for ingenuity in how the case was prosecuted




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                                        Attorney Profiles — Partners

   Steven J. Toll
   Steven J. Toll joined the Firm in 1979 and has been lead or principal counsel in some of the most
   highly publicized stock fraud cases for over 30 years. He has been Managing Partner of the Firm since
   1997 and is co-chair of the Securities Fraud/Investor Protection practice group. Mr. Toll was profiled
   in the February 1996 Washington Business Journal as one of five attorneys that stand out as the
   "cream of the crop" in the Washington D.C. legal community. Lawdragon named him as one of the
   500 Leading Lawyers in America in 2006-07-08, as well as naming him one of the 100 Lawyers You
   Need to Know in Securities Litigation in 2008. In 2010, Mr. Toll was named to Law360's "Most
   Admired Attorneys".

   In July 2005, Mr. Toll was lead trial counsel in one of the few securities class actions to go to trial
   involving Globalstar, a satellite manufacturer. Mr. Toll successfully argued the motions before and
   during trial and ultimately achieved a settlement of $20 million shortly before the case was scheduled
   to go to the jury. In approving the settlement, U.S. District Judge Kevin Castel remarked that Mr. Toll
   and his colleagues had "done a terrific job in presenting the case for the plaintiffs."

   Some of Mr. Toll's other notable cases include those against Lucent Technologies, which was settled
   in 2001 for approximately $575 million, at the time, the second largest securities class action
   settlement ever achieved; Converium, where he negotiated a global settlement in the U.S. courts and
   the courts in Amsterdam of $135 million; MF Global, where he helped negotiate a settlement of $90
   million; Southmark Securities Litigation, where he helped achieve a settlement of $70 million from the
   company's auditors, Drexel Burnham and Michael Milken; Norman v. Salomon Smith Barney, where
   he negotiated a $50 million settlement on behalf of customers of Salomon's Guided Portfolio
   Management Program, who alleged that Salomon invested their money in companies in order to boost
   Salomon's investment banking business; and the mortgage-backed securities case involving Lehman
   Brothers where he negotiated a settlement of $40 million.

  Mr. Toll also served as co-lead counsel in one of the most publicized frauds of the 1990s -- Cascade
  International (S.D. Fla.) where the mastermind of the fraud, Victor Incendy, is still a fugitive from
  justice. The case settled on the eve of trial against Raymond James Inc. -- the only securities class
  action ever successfully litigated against a brokerage firm for its role as a research analyst.

   Mr. Toll is currently co-lead counsel in the BP Securities Litigation, a major case stemming out of the
   Deepwater Horizon explosion in 2010 and BP's process safety disclosures. He led the Firm's team as
   co-lead counsel in one of the most highly publicized fraud cases of this era, the securities fraud class
   action involving Parmalat, the Italian dairy manufacturer; the case is known as Europe's "Enron,"
   because of the similarities of the fraudulent schemes and the non-existence of billions of dollars of
   assets that had been recorded on Parmalat's financial statements. That case was settled for $90
   million. He is also lead counsel in a mortgage-backed securities case involving Countrywide and
   Washington Mutual.

  He has written for and spoken at various conferences about securities law and corporate governance
  issues, including, inter alia, The Plaintiffs' Perspective, Securities Regulation and the New Law,
  National Legal Center for the Public Interest, No. 1, Sept. 1996; The Sarbanes-Oxley Bill Provides No
  Assistance To Investors Seeking To Recovery From Corporate Fraud, ABA Annual Meeting, August
  2002; The Analyst Cases Involving Merrill Lynch, and Its Internet Analyst Henry Blodget, and
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  Salomon Smith Barney and Its Telecommunications Analyst Jack Grubman, Mass Torts Made Perfect
  (presented January 2003); and Coming to Terms with Loss Causation after Dura: A Response to
  Professors Portnoy, Ferrell, and Saha,The Journal of Corporation Law, Fall 2009.

  Mr. Toll is an honors graduate of the Wharton School of the University of Pennsylvania (B.S.,
  Accounting, cum laude, 1972). He graduated from Georgetown University Law Center (J.D., 1975)
  where he was Special Project Editor of the Tax Lawyer.

  Mr. Toll is admitted to practice in Virginia and the District of Columbia.                                   •
  Joseph M. Sellers

  Joseph M. Sellers, a Partner at the Firm and head of the Civil Rights & Employment practice group,
  joined Cohen Milstein in 1997.

  Mr. Sellers has represented victims of discrimination and other illegal employment practices
  individually and through class actions. He has tried several civil rights class actions to judgment before
  juries and has argued more than 25 appeals in the federal and state appellate courts, including the
  United States Supreme Court. He has served as class counsel, and typically lead counsel, in more than
  30 civil rights and employment class actions.

  Those cases have included: serving as lead counsel in Keepseagle v. Vilsack (D.D.C.), which resulted
  in a settlement providing $760 million of relief and broad injunctive relief to Native American farmers
  and ranchers who were denied loans or loan servicing by the United States Department of Agriculture.
  In approving the settlement, the Court commended counsel saying, "[it's probably the best negotiated
  agreement that this court has seen in its experience ... the terms of this settlement are historic," and
  Cohen Milstein has "demonstrated the highest level of skills and professionalism." In addition, Mr.
  Sellers represented a class of women alleging sex discrimination in promotions and compensation in
  Dukes v. Wal-Mart Stores, Inc. (N.D. Cal.), where he presented oral argument on their behalf before
  the United States Supreme Court and continues to represent them in regional class actions formed in
  the wake of the Supreme Court's ruling; he has successfully represented a class of more than 28,000
  women employees at Boeing facilities in Washington state in Beck v. Boeing Company (W.D. Wash.),
  where they alleged sex discrimination in compensation and promotion practices and overtime
  decisions; Conway, et al. v. Deutsch (E.D. Va.), involving a class of female covert case officers at the
  CIA alleging sex discrimination in promotions and job assignments; Johnson v. Freeh (D.D.C.),
  involving a class of African-American FBI special agents alleging racial discrimination in promotion
  and job assignments; Neal v. Director, D.0 Dept. of Corrections (D.D.C.), the first sexual harassment
  class action tried to a jury on behalf of a class of women correctional employees and women and men
  subject to retaliation at the D.C. Department of Corrections; and Trotter v. Perdue Farms (D. Del.),
  involving a company-wide collective action brought under the Fair Labor Standards Act for violations
  of federal wage and hour law.

  Throughout his career, Mr. Sellers has also been active in legislative matters. He has testified more
  than 20 times before Committees of the United States Senate and House of Representatives on various
  civil rights and employment matters. He worked on the passage of the Civil Rights Act of 1991, the
  Americans with Disabilities Act of 1990, and the Lily Ledbetter Fair Pay Restoration Act of 2009.

   Mr. Sellers has trained lawyers at the U.S. Equal Employment Opportunity Commission and the U.S.
   Department of Justice on the trial of civil rights cases and has lectured extensively throughout the
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   country on various civil rights and employment topics. He was an Adjunct Professor at the Washington
   College of Law at American University, where he taught Employment Discrimination law, and at the
   Georgetown University Law Center, where he taught Professional Responsibility.

   He served on the Obama/Biden Transition Team in 2008 and the Clinton/Gore Transition Team in
   1992 and 1993. He also served as a Co-Chair of the D.C. Circuit Task Force on Gender, Race and
   Ethnic Bias to which he was appointed by the judges of the D.C. Circuit Court of Appeals and the U.S.
   District Court for the District of Columbia.

   At the request of the Ford Foundation and the American Bar Association, Mr. Sellers delivered a series
   of lectures and designed and delivered a mock trial on civil rights law to Chinese judges, lawyers and
   other government officials in China.

   Mr. Sellers was recognized as one of the top lawyers in Washington and as one of the top 10 plaintiffs'
   employment lawyers in the country. In 2010, he was recognized as one of "The Decade's Most
   Influential Lawyers" by The National Law Journal, in 2011 he was recognized as a Visionary in the
   legal profession by The Legal Times and in 2012 he was given the Wiley A. Branton Award by the
   Washington Lawyers' Committee for Civil Rights and Urban Affairs for his leadership in civil rights.
   He is served as a professionally-trained mediator and has served as the President of the Washington
   Council of Lawyers.

  Prior to joining Cohen Milstein, Mr. Sellers served as head of the Employment Discrimination Project
  of the Washington Lawyers' Committee for Civil Rights and Urban Affairs for over 15 years.

   Mr. Sellers received a J.D. from Case Western Reserve School of Law (1979), where he served as
   Research Editor of the Case Western Reserve Law Review, and a B.A. in American History and
   Literature from Brown University (1975).

   Mr. Sellers is admitted to practice in the District of Columbia.

   Lisa M. Mezzetti

   Lisa Mezzetti, a Partner at Cohen Milstein, joined the Firm in 1984, and is a member of the Securities
   Fraud/Investor Protection and the Consumer Protection & Unsafe Products practice groups.

  In her securities work, Ms. Mezzetti has represented the corporate plaintiff in a private litigation
  alleging damages from the purchase of a healthcare technology company; in a separate matter, she
  represented 1,900 plaintiffs in a series of 25 federal court suits concerning municipal bonds. Her
  shareholder class actions include In re VeriSign Securities Litigation (settled for approximately $78
  million); Murphy, Derivatively On Behalf of Nominal Defendant National Health Laboratories Inc. v.
  Perelman (Cal. Super. San Diego Cty.) (global settlement of class and derivative litigations for total of
  $65 million); Flecker v. Hollywood Entertainment Corp. (D. Or.) ($15 million settlement, reached the
  day before trial was to begin); Biben v. Card (W.D. Mo.)(93% of class members' damages recovered
  in settlement) and, currently, In re Parmalat Securities Litigation (S.D.N.Y.), which is litigating one of
  the alleged largest corporate frauds in European history (thus far, settlements totaling approximately
  $85 million). She also has represented parties in securities arbitrations (both as claimant's counsel or
  defense counsel for the broker) and defended clients in investigations and enforcement actions of the
  Securities and Exchange Commission.


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   In consumer cases, Ms. Mezzetti is or was one of the lead counsel in In re Lupron Marketing and Sales
   Practices Litigation (D. Mass.) (brought against pharmaceutical companies on pricing policies and
   methods; combined $150 million settlement); Howard v. Ford Motor Co. (Cal. Sup. Ct.) (order of the
   Court on equitable count required prospective recall of 1.7 million cars; settled immediately before
   scheduled second jury trial); and Fischl v. Direct Merchants Credit Card Bank, N.A. (Henn. Cnty.
   Minn.) (brought by credit card consumers, alleging improper charges and payment processes;
   settlement included credits for overpayments and changes in business practices). She has litigated
   class actions under the ERISA laws, and brought one of the first class actions filed under the federal
   Family and Medical Leave Act.

  Ms. Mezzetti is a public arbitrator for FINRA (the Financial Industry Regulatory Authority), hearing
  disputes between customers and brokers. She regularly speaks at legal education seminars and has
  been quoted in the media on issues concerning both consumer law and securities class actions. On
  securities issues, she has spoken on foreign class actions and the protection of foreign shareholders in
  U.S. class actions, and on settlement concerns. She also speaks on corporate governance issues at
  conferences of institutional investors, and was a guest panelist on a Washington, D.C. cable television
  show concerning hiring and working with stock brokers and financial advisors. On consumer issues,
  Ms. Mezzetti has been a panelist at the Federal Trade Commission's Workshop on Consumer Class
  Actions and at an annual conference of the Association of Trial Lawyers of America on unfair trade
  practices and deceptive trade practices statutes. The transcript of the FTC workshop, and her related
  article, The Coupon Can Be the Ticket: The Use of "Coupon" and Other Non-Monetary Redress in
  Class Action Settlements (co- authored with Whitney Case) are published at 18.4 Geo. J. Legal Ethics
  1431 (2005).

  Before joining Cohen Milstein, Ms. Mezzetti was a litigation associate of Shea & Gould of New York
  City.

  Ms. Mezzetti serves as a member of the Boards of Directors of The International Alliance for Women
  (a global umbrella organization that unites, supports and promotes professional women and their
  networks) and The Financial Women's Association of New York. She has served on the D.C.
  Advisory Board of The Joffrey Ballet of Chicago.

  Ms. Mezzetti graduated from the Columbia School of Law, Catholic University of America in 1980,
  where she served as a Vice-Chancellor of the Moot Court Board. In 1986, she received a Master of
  Laws degree, with a specialty in Securities Regulation, from Georgetown University Law Center. Her
  bachelor's degree was awarded by Stonehill College (B.A, English., magna cum laude, 1977).

  Ms. Mezzetti is admitted to practice in the District of Columbia and New York.

  Andrew N. Friedman

  Andrew Friedman, a Partner at the Firm, joined Cohen Milstein in 1985. He is a member of the
  Securities Fraud/Investor Protection practice group and the head of the Consumer Protection & Unsafe
  Products practice group.

  Mr. Friedman has been involved in many successful securities class actions. In July, 2005, Mr.
  Friedman served as one of lead trial counsel at the trial of a certified class action in In re Globalstar
  Securities Litigation in the United States District court for the Southern District of New York. Near
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  the end of the second week of trial, a cash settlement of $20 million was reached for the benefit of the
  certified class. The settlement was approved by Judge P. Kevin Castel, who was highly
  complimentary of counsel: "This case has been litigated by top trial lawyers, each of whom, as to both
  lead counsel and the other counsel in the case, have been exceptionally fine in their presentation of the
  evidence. Mr. Toll, Mr. Friedman, Mr. Shalov, their colleagues Mr. Devore, Ms. Peterson, have all
  done a terrific job in presenting the case for the plaintiffs."

  In addition, Mr. Friedman served as one of co-lead or principal counsel in Norman Frank et al. v.
  David L. Paul (recovery of over $18 million); In re Jiffy Lube Securities Litigation (D. Md.) (recovery
  of over $12 million); and In re Immunex Securities Litigation (W.D. Wash.) (recovery of $14 million,
  then the largest securities class action settlement in Seattle). Mr. Friedman was one of the Firm's
  attorneys selected by the County of Cuyahoga, Ohio to prosecute a lawsuit that sought to recover
  losses from the County's Secured Assets Fund Earnings Program (S.A.F.E.). The lawsuit alleged that
  broker/dealers and a financial institution assisted the County in engaging in unsuitable and
  inappropriate investments and trading activity. The case settled favorably for $9.5 million.

  In the consumer protection area, Mr. Friedman has been instrumental in securing significant recoveries
  on behalf of thousands of consumers. He was one of the principal counsel in Snyder v. Nationwide
  Mutual Insurance Company (Sup. Ct., Onondaga Cnty, N.Y.), a class action that resulted in a
  settlement valued at between $85 million and $103 million. As one of two co-lead counsel in a class
  action against Thomson Consumer Electronics, Mr. Friedman reached a court-approved agreement that
  made up to $100 million available for persons who paid for unreimbursed repairs to televisions. He
  was also part of the plaintiffs' team that secured nationwide benefits for GM vehicle purchasers as the
  result of defective automobile engine coolants. In re General Motors Dex-Cool Products Liability
  Litigation (S.D. Ill).
  Mr. Friedman has been a speaker on numerous panels for legal education seminars and institutional
  investor conferences on the issues of securities class actions, securities fraud monitoring, accounting
  fraud and corporate governance. He was featured in a November 15, 1997 Washington Post article
  about securities class actions and profiled in the April 14, 2000 edition of The Washington Business
  Journal. In 2007, Lawdragon named Mr. Friedman as one of the 3,000 Leading Plaintiffs' Lawyers in
  America and in 2011, he was named to the Super Lawyers 2011 Business Edition for litigation.

  Prior to joining Cohen Milstein, Mr. Friedman served as an attorney with the U.S. Patent and
  Trademark Office.

  Mr. Friedman graduated from Tufts University with a B.A. in Psychology (1980, magna cum laude,
  Phi Beta Kappa) and is a 1983 graduate of the National Law Center, George Washington University.

  Mr. Friedman is admitted to practice in the District of Columbia and New York.

  Daniel S. Sommers

  Daniel Sommers, a Partner at the Firm, joined Cohen Milstein in 1988. He is co-chair of the Firm's
  Securities Fraud practice group and is a member of the Firm's Executive Committee.

  During his career at Cohen Milstein, Mr. Sommers served as lead or co-lead counsel or otherwise
  played a significant role in securities class actions in federal courts throughout the United States. He
  currently represents institutional investors including, among others, the New York State Common
  Retirement Fund, the Ohio Public Employees Retirement System, the State Teachers Retirement
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   System of Ohio, and the Arkansas Public Employees Retirement System. He is one of the lead counsel
   for investors in significant securities litigation matters including In re BP plc Securities
   Litigation (S.D. Tex.) and in In re Bear Stearns Mortgage Pass Through Certificates Litigation
   (S.D.N.Y.), and is also currently involved in the prosecution of the In re Fannie Mae Securities
   Litigation (D.D.C.). In addition, Mr. Sommers serves as one of the lead U.S. counsel for investors in
   In re Converium (Scor) Securities Litigation, where he utilized the Dutch Collective Action Statute to
   obtain a groundbreaking opinion from the Amsterdam Court of Appeal approving a world-wide
   settlement on behalf of non-U.S. investors.

   Mr. Sommers has obtained significant recoveries for investors in numerous class action cases
   including: Steiner v. Southmark Corporation (N.D. Tex.) (over $70 million recovery); In re PictureTel
   Inc. Securities Litigation (D. Mass.) ($12 million recovery); In re Physician Corporation of America
   Securities Litigation (S.D. Fla.) ($10.2 million recovery); In re Gilat Satellite Securities Litigation
   (E.D.N.Y.) ($20 million recovery); In re Pozen Inc. Securities Litigation (M.D.N.C.) ($11.2 million
   recovery); In re Nextel Communications Securities Litigation (D.N.J.) (up to $27 million recovery); In
   re PSINet Inc. Securities Litigation (E.D. Va.) ($17.8 million recovery); In re Cascade International
   Inc. Securities Litigation, (S.D. Fla.) (global recovery of approximately $10 million); In re GT Solar
   Securities Litigation (D.N.H.) (recovery of $10.5 million) and In re ECI Telecom Securities Ltd.
   Litigation (E.D. Va.) ($21.75 million recovery). He has also handled significant appellate matters
   including arguing before the United States Court of Appeals for the Eleventh Circuit in In re CP Ships
   Ltd. Securities Litigation, 578 F. 3d 1306 (2009), where he successfully opposed objections to a
   settlement that provided non-U.S. investors with the protections of the federal securities laws. In
   addition, he was co-lead counsel for investors before the United States Supreme Court in Broudo v.
   Dura Pharmaceuticals, Inc., 544 U.S. 336 (2005) (addressing the standards for pleading loss
   causation).

   Mr. Sommers is also experienced in non-class action litigation. He represented TBG Inc., a multi-
   billion dollar privately-held overseas corporation, in a multi-party, complex action alleging fraud in a
   corporate acquisition and represented individuals in connection with investigations brought by the
   United States Securities and Exchange Commission. He also has represented publicly traded
   corporations in the prosecution and defense of claims. Mr. Sommers has litigated cases covering a
   wide-range of industries including the financial services, computer software, pharmaceutical,
   insurance, real estate and telecommunications industries among others. In addition, he has substantial
   experience in cases presenting complex accounting and auditing issues.

   Mr. Sommers has lectured at both the Georgetown Law Center and the George Washington University
   Law School. He is a frequent commentator on the federal securities laws and corporate governance
   issues, and addresses institutional investor groups and others on these topics as illustrated below:

      • Guest panelist on "It's Your Business," a nationally syndicated television program, where he
          spoke on investor lawsuits.
      • Addressed the California State Association of County Retirement Systems, to whom he spoke
         on corporate governance and fiduciary duties and liabilities.
      • Spoke at a District of Columbia Bar Association program in 2005 where he addressed
         "Attorney Liability in the Post-Enron, Post-Sarbanes-Oxley Era."
      • Panelist at a 2006 presentation to Illinois-based institutional investors on the topic of "The
          Growing Emphasis on Fiduciary Responsibility: Implications for Illinois Pension Funds and
         the Emergence of Guiding Principles."

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      • Addressed the Professional Liability Underwriting Society in 2007 on the topic of "Global
          Companies, Global Risk: Exposure Arising Outside the U.S."
      • Panelist at a 2008 District of Columbia Bar Association Program where he addressed
          "Developing Pleading Standards in Securities Cases."
      • Spoke at a 2008 IQPC Forum on Subprime and Structured Finance Litigation on the topic of
          "Understanding the Plaintiff's View in the Subprime Crisis."
      • Panelist at District of Columbia Bar Association Program in 2009 on "Public and Private
          Perspectives on the Enforcement of the Federal Securities Laws in our Global Markets."
      • Panelist at a 2010 District of Columbia Bar Association Program on the topic of "Enforcement
          of the Federal Securities Laws in Our Global Financial Markets: Public and Private
          Perspectives on Morrison v. National Australia Bank and Beyond."
      • Panelist at a 2010 District of Columbia Bar Association Program on the topic of "Private
          Securities Litigation: Critical Trends and Developments in Securities Class Actions."

  Mr. Sommers was recognized in 2011 and 2012 as a Washington, D.C. "Super Lawyer" in the area of
  securities litigation and in 2012 he was selected as National "Litigation Star" and as a "Leading
  Plaintiffs Star in the District of Columbia" in the area of securities litigation by Benchmark: Litigation,
  and appears in its Guide to America's Leading Litigation Firms and Attorneys. In 2007, Mr. Sommers
  was appointed to serve as the chairman of the Investor Rights Committee of the Corporation, Finance
  and Securities Law Section of the District of Columbia Bar, and currently serves as vice-chair of that
  committee. In addition, he is a member of the Securities Litigation Committee of the American Bar
  Association, the Council of Institutional Investors, and the National Association of Public Pension
  Attorneys.

  He is a 1983 graduate of Union College, earning a B.A. in Political Science (magna cum laude), and a
  1986 graduate of the George Washington University Law School. Mr. Sommers is admitted to
  practice in federal courts including the United States District Courts for the Districts of New Jersey,
  Maryland, Eastern District of Michigan and the District of Columbia, as well as the United States
  Courts of Appeals for the District of Columbia, Fourth, Ninth, Tenth and Eleventh Circuits. Mr.
  Sommers is also admitted to practice before the Supreme Court of the United States.

  Mr. Sommers is a member of the bar of the states of New Jersey and New York as well as the District
  of Columbia. Mr. Sommers works in the Firm's Washington, D.C. office.

  Daniel A. Small

  Dan Small has been a partner at Cohen Milstein for over 14 years and has chaired the firm's antitrust
  practice group since 2008.

  Mr. Small has represented plaintiff classes, often as lead counsel, in numerous antitrust cases over the
  last 21 years, and has recovered hundreds of millions of dollars. He has tried cases to verdict before
  juries and has argued cases in several appellate courts including the United States Supreme Court.

  Among the cases on which Mr. Small has worked are: In re Intel Corp. Microprocessor Antitrust
  Litig. (D. Del.), where he serves as co-lead counsel on behalf of a putative class of purchasers of Intel-
  powered PCs asserting monopolization claims; Meyer, Inc, v. 3M (E.D. Pa.), a monopolization case in
  which Mr. Small, as lead counsel, negotiated a $30 million settlement on behalf of direct purchasers of
  transparent tape; In re Buspirone Antitrust Litig. (S.D.N.Y.), in which the plaintiff class alleged that
  Bristol Myers-Squibb Co. unlawfully excluded generic drug competition, and Mr. Small, as co-lead
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  counsel, helped negotiate a $90 million settlement; and Pease v. Jasper Wyman & Son, et al., (Super.
  Ct., Knox Cty., Maine), a price-fixing class action on behalf of Maine wild blueberry growers in which
  Mr. Small successfully tried the case to a jury, obtaining a judgment of nearly $60 million.
  Mr. Small has substantial appellate experience, including briefing and arguing Free v. Abbott
  Laboratories, No. 99-391, in the United States Supreme Court. That case presented the issue of
  whether a supplemental jurisdiction statute overruled Zahn v. International Paper Co. The Court split
  4-4, with Justice O'Connor recusing herself. Additionally, Mr. Small successfully briefed and argued
  appeals before the Seventh Circuit Court of Appeals in In re Brand Name Prescription Drug Antitrust
  Litig., 123 F.3d 599 (7th Cir. 1997), regarding whether the district court had subject matter
  jurisdiction, and in Paper Systems, Inc. v. Nippon Paper Industries Co., Ltd. (7th Cir. 2002), arguing
  that the federal direct purchaser rule does not immunize a defendant from liability for the direct sales
  of its co-conspirators. Finally, he briefed and argued the appeal in Mack v. Bristol-Myers Squibb Co.,
   1996-1 Trade Cas. (CCH) ¶¶ 71,401 (Fla. 1st DCA 1996), obtaining the first opinion construing the
  Florida Deceptive and Unfair Trade Practices Act to permit indirect purchasers to sue for damages for
  antitrust violations.

  Mr. Small is a member of the Advisory Board of the American Antitrust Institute and he chairs the
  committee that selects the annual winner of the Jerry S. Cohen Memorial Writing Award for the best
  antitrust scholarship. He has been invited to speak on antitrust and class action topics at events
  organized by the American Bar Association, the District of Columbia Bar, the Conference Board, and
  the American Antitrust Institute, among others.

  Mr. Small is a 1981 graduate of Colgate University, receiving a B.A. (cum laude) in History. He
  graduated from American University's Washington College of Law in 1986, and joined Cohen
  Milstein after serving as a law clerk to the Honorable Roger Vinson, United States District Court for
  the Northern District of Florida (1986-1988). Mr. Small is admitted to practice in Maryland and the
  District of Columbia.

  Christine E. Webber

  Christine Webber, a Partner at the Firm and a member of the Civil Rights & Employment practice
  group, joined Cohen Milstein in 1997. Ms. Webber represents plaintiffs in class action employment
  discrimination and Fair Labor Standards Act cases. Ms. Webber's current docket includes Dukes v.
  Wal-Mart Stores, Inc. (N.D. Cal.), challenging Wal-Mart's treatment of women employees with
  complaints of discrimination in pay and promotion; and In re Tyson Foods FLSA MDL, (M.D. Ga.), a
  collective action involving FLSA claims at over 40 Tyson chicken processing plants. Ms. Webber was
  also counsel to the plaintiff class in Keepseagle v. Vilsack, and is currently administering the claims
  process through which $760 million of relief will be awarded to Native American farmers and ranchers
  who were denied loans or loan servicing by the USDA. Ms. Webber was part of the team recognized
  by Public Justice as finalists for their Trial Lawyer of the Year award in 2011 for the work done in
  Keepseagle.

  She represented plaintiffs in Beck v. The Boeing Co. (W.D. Wash.), a class action alleging sex
  discrimination in compensation and promotions which settled in 2004 for $72.5 million. She was also
  lead counsel in Hnot v. Willis (S.D.N.Y.), representing a class of women at the vice-president level and
  above whose challenge to sex discrimination in compensation resulted in a settlement averaging
  $50,000 per class member in 2008. She was counsel in Trotter v. Perdue (D. Del.), representing
  plaintiffs who were wrongly denied payment of overtime wages, and obtaining a $10 million
  settlement.
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   In 2004 and 2007, Ms. Webber was named one of the Top Lawyers in Washington, D.C. by
   Washingtonian Magazine and was named one of the 2007 Washington, D.C. Superlawyers in the Civil
   Rights category. In 2011, Ms. Webber was recognized as one of the Top Women Lawyers in the
   Northeast in the labor and employment category by Arrive magazine.

   Prior to joining Cohen Milstein, Ms. Webber received a Women's Law and Public Policy fellowship
   and worked for four years at the Washington Lawyers' Committee for Civil Rights and Urban Affairs
   in their Equal Employment Opportunity Project. She worked on a variety of employment
   discrimination cases, and focused in particular on the sexual harassment class action Neal v. Director,
   D.C. Department of Corrections, et al. Ms. Webber participated in the trial of this ground-breaking
   sexual harassment class action in 1995. Ms. Webber also tried the race discrimination case Cooper v.
   Paychex (E.D. Va.), and successfully defended the plaintiffs' verdict before the Fourth Circuit.

   Ms. Webber is a member of the National Employment Lawyers' Association (NELA) and co-chair of
   their Class Action Committee. She is also co-chair of the Class Action Sub-committee of the D.C. Bar
   Labor and Employment Law Section. She speaks regularly at CLE programs on employment
   discrimination and class actions, including presentations for NELA.

   She graduated from Harvard University with a B.A. in Government (magna cum laude, 1988) and the
   University of Michigan Law School (J.D., magna cum laude, 1991, Order of the Coif). Following law
   school, Ms. Webber clerked for the Honorable Hubert L. Will, United States District Judge for the
   Northern District of Illinois.

   Ms. Webber is admitted to practice in Illinois and the District of Columbia.

   Richard A. Koffman
   Richard Koffman, a Partner at the Firm, joined Cohen Milstein in 2003 and is a member of the
   Antitrust Practice Group. In both 2011 and 2012, the U.S. Legal 500 listed Mr. Koffman as one of the
   nation's "leading lawyers" in the field of antitrust class actions.Mr. Koffman is co-lead counsel for
   plaintiffs in In re Urethane Antitrust Litigation (D. Kan.), in which a Kansas jury returned a verdict for
   plaintiffs against The Dow Chemical Company in excess of $400 million. The district court trebled the
   damage award as required under the federal antitrust laws and entered judgment against Dow for more
   than $1.2 billion on May 15, 2013. Four other defendants had previously settled for a total of $139.5
   million.

  Mr. Koffman is also co-lead counsel for plaintiffs in In re Plasma-Derivative Protein Therapies
  Antitrust Litigation (N.D. Ill.), in which plaintiffs allege price-fixing and collusion to reduce the supply
  of potentially life-saving therapies derived from blood plasma; and Wallach, et al. v. Eaton Corp., et
  al. (D. Del.), in which plaintiffs allege a conspiracy to monopolize the market for heavy-duty truck
  transmissions. Mr. Koffman also served as co-lead counsel for plaintiffs in In re Rubber Chemicals
  Antitrust Litigation (N.D. Cal.), which settled for a total of approximately $320 million; In re Polyester
  Staple Antitrust Litigation (W.D.N.C.), which settled for a total of $46 million; In re Endosurgical
  Products Antitrust Litigation (C.D. Cal.), which settled for $13 million in cash, plus structural relief
  worth more than $26 million; and Coalition for Elders' Independence, Inc., et al. v. Biovail Corp., et
  al. (Cal. Super. Ct.), which settled for $8.2 million.

  Mr. Koffman came to Cohen Milstein after four years with the Antitrust and Civil Rights Divisions of
  the United States Department of Justice. In the Antitrust Division, Mr. Koffman served as a Senior
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   Trial Attorney with the Computers and Finance Section (now Networks and Technology), which is
   responsible for antitrust enforcement and competition policy in the areas of information technology,
   Internet-related businesses, financial services, and the securities industry. In the Civil Rights Division,
   he served as a Senior Trial Attorney with the Housing and Civil Enforcement Section, where he
   worked to enforce the Fair Housing Act, the Equal Credit Opportunity Act, the Religious Land Use
   and Institutionalized Persons Act, and Title II of the Civil Rights Act of 1964.

  Prior to joining the Department of Justice, Mr. Koffman spent seven years in private practice, first with
  Fine, Kaplan and Black in Philadelphia (working primarily on antitrust class actions and other complex
  commercial litigation) and then with Bernabei & Katz in Washington, D.C. (handling employment
  discrimination cases). While at Fine Kaplan, Mr. Koffman was actively involved in litigating several
  successful antitrust class actions on behalf of plaintiffs and classes, including In re Nasdaq Market-
  Makers Antitrust Litigation (S.D.N.Y.) (settled for more than $1 billion); In re Polypropylene Carpet
  Antitrust Litigation (N.D. Ga.); In re Commercial Explosives Antitrust Litigation (D. Utah); and In re
  Drill Bits Antitrust Litigation (S.D. Tex.). He was also co-counsel, along with John G. Roberts, Jr.,
  who was then a Partner at Hogan & Hartson and is now Chief Justice of the United States Supreme
  Court, for Respondents in First Options of Chicago, Inc. v. Kaplan, 514 U.S. 938 (1995). In that case,
  argued by Mr. Roberts with Mr. Koffman assisting on the briefs, Mr. Koffman's clients won a
  unanimous ruling by the United States Supreme Court.

  Immediately after law school, Mr. Koffman served as a judicial clerk for Judge James B. McMillan of
  the Western District of North Carolina, and for Judge Anthony J. Scirica of the United States Court of
  Appeals for the Third Circuit.

  Mr. Koffman is a graduate of Yale Law School (J.D., 1990), where he was a Senior Editor of the Yale
  Law Journal, and Wesleyan University, from which he received a B.A., with honors, in English (1986).

  Mr. Koffman is admitted to practice in the District of Columbia, the United States Supreme Court, and
  the United States Courts of Appeals for the Eighth, Ninth, and Tenth Circuits.

  Agnieszka M. Fryszman

  Agnieszka Fryszman, a Partner at Cohen Milstein, joined the Firm in 1998. She heads Cohen
  Milstein's International Human Rights and Pro Bono practice.

  Ms. Fryszman regularly litigates complex cases against corporate giants. She was a member of the
  legal team that successfully represented survivors of Nazi-era forced and slave labor against the
  German and Austrian companies that allegedly profited from their labor. These cases were resolved by
  international negotiations that resulted in multi-billion dollar settlements. She also represented, pro
  bono, Holocaust survivors suing Swiss banks that collaborated with the Nazi regime during World War
  II. This litigation led academics to revise their assessment of Switzerland's relationship with Nazi
  Germany and exposed the extent of business participation in the Holocaust.

  Ms. Fryszman and colleague Matthew Handley earned the National Law Journal's 2011 Pro Bono
  Award for their efforts on behalf of Nepali laborers injured or killed at U.S. military bases in Iraq and
  Afghanistan. They obtained several judgments and significant settlements on behalf of the families.
  She currently represents victims of a human trafficking ring that lured men from Nepal with the
  promise of employment at luxury hotels, but instead took them against their will to work at a U.S.
  military facility in Iraq. Ms. Fryszman investigated and initiated suit against military contractors KBR
  and Daoud & Partners, filing one of the first complaints under the recently passed Trafficking Victims
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   Protection Act. Her work on behalf of the former "comfort women," women and girls trafficked into
   sexual slavery by the government of Japan during World War II, was recognized with the "Fierce
   Sister" award from the National Asian Pacific American Women's Forum. She also represents
   Indonesian villagers in a lawsuit against Exxon Mobil over abuses allegedly committed by the
   defendant's security force.

   In 2010, Ms. Fryszman was recognized as a "Leading Lawyer in America" by Lawdragon and was a
   finalist for the 2010 Trial Lawyer of the Year Award by the Public Justice Foundation for her work on
   Wiwa v. Royal Dutch Shell. Ms. Fryszman joined the legal team in that long-running case to prepare it
   for trial, resulting in a multi-million dollar settlement on the morning of jury selection.

  Ms. Fryszman represented, pro bono, a number of victims of the September 11 attack on the Pentagon
  and obtained one of the highest awards for an injured survivor from the Victim's Compensation Fund.
  Ms. Fryszman also represented, pro bono, two individuals indefinitely detained without charge by the
  United States at Guantanamo Bay, work that was recognized with the Frederick Douglass Award from
  the Southern Center for Human Rights.

   In the Antitrust practice group, Ms. Fryszman represents small businesses that have been victims of
   alleged price-fixing.

   Before joining Cohen Milstein, Ms. Fryszman was counsel to the United States House of
   Representatives Committee on the Judiciary, Subcommittee on Commercial and Administrative Law.
   She also served as counsel to Representative Henry Waxman, Ranking Member on the House
   Government Reform and Oversight Committee.

   Ms. Fryszman graduated from Brown University with a B.A. in International Relations. She graduated
   (magna cum laude and Order of the Coif) from Georgetown University Law Center, where she was a
   Public Interest Law Scholar.

   Ms. Fryszman is admitted to practice in the District of Columbia and New Jersey.

  Julie Goldsmith Reiser

  Julie Goldsmith Reiser joined Cohen Milstein in 1999. Ms. Reiser is a member of the Securities
  Fraud/Investor Protection practice group. She has extensive experience with motion practice,
  developing and implementing discovery strategies, depositions, expert discovery and case resolution.
  Ms. Reiser focuses much of her practice on enforcement of the federal securities laws on behalf of
  sophisticated domestic and international institutional investors. She has represented these investors in
  class action and individual "opt-out" actions as well as in transaction-related litigation in Delaware
  Chancery Court.

   Ms. Reiser currently works on several securities fraud actions seeking to return assets lost due to
   corporate fraud. She represents the New York State Common Retirement Fund in a securities class
   action against BP Plc and certain of its former officers and directors. She also represents Iowa, Oregon
   and Orange County public retirement systems in a class action litigation against Countrywide related to
   its issuance of mortgage-backed securities. Ms. Reiser acted as co-lead counsel representing investors
   in the largest fraud in European corporate history, In re Parmalat Sec. Litig. (S.D.N.Y.). She was co-
   lead counsel in In re SCOR Holding (Switzerland) Securities Litigation (S.D.N.Y.) and was a member
   of the team representing Pacific Life Insurance Company in an opt-out action against WorldCom.

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   In the employment area, Ms. Reiser was a member of the legal team working on Dukes v. Wal-Mart
   Stores, Inc. (N.D. Cal.), representing current and former female employees of Wal-Mart with
   complaints of discrimination in pay and promotion. Ms. Reiser also represented and settled claims on
   behalf of African American employees who claimed that Kroger discriminated against them in pay and
   promotions in Wade v. Kroger (W.D. Ky.). She was involved in the litigation and successful
   settlement of Beck v. The Boeing Co. (W. D. Wash.), which alleged sex discrimination in
   compensation and promotions and was resolved for $72.5 million.

   Ms. Reiser is the author of "Why Courts Should Favor Certification of MBS Actions," ABA Securities
   Litigation Journal, Volume 22, Number 1, Fall 2011, and she is the co-author of "The Misapplication
   of American Pipe Tolling Principles," ABA Securities Litigation Journal, Volume 21, Number 2,
   Winter 2011. She also co-authored Opt-Outs: Making Private Enforcement of the Securities Laws
   Even Better, featured in the Winter/Spring 2008 edition of the ABA's Class Action and Derivative Suit
   Committee Newsletter and Companies in the Cross Hairs: When Plaintiffs Lawyers Choose Their
   Targets, They Look for These Employment Practices, The Legal Times, February 21, 2005. In 1999,
   she co-authored Antitrust Introduction for the General Practitioner, a chapter in the Washington
   Lawyer's Practice Manual.

  Ms. Reiser was President of the Board of Directors of Seattle Works and on the Executive Committee
  for the Board of Directors of the Eastside Domestic Violence Program. She also served a term as a
  Trustee for the Pacific Northwest Ballet. Ms. Reiser worked as a Legal Intern for U.S. Senator Patty
  Murray.

  Ms. Reiser graduated from Vassar College (B.A. with honors) and the University of Virginia School of
  Law (J.D.).

  Ms. Reiser is admitted to practice in Washington State and the District of Columbia.

  Victoria S. Nugent

  Victoria Nugent, a Partner at the Firm, joined Cohen Milstein in 2000 and is a member of the
  Consumer Protection & Unsafe Products practice group.

  Ms. Nugent has focused on consumer protection and public health litigation throughout her career.
  Past cases include In re StarLink Product Liability Litigation, in which she represented farmers suing
  Aventis Cropscience after an unapproved variety of genetically modified corn was detected in the U.S.
  corn supply and drove down prices for all U.S. corn exports. More than $100 million was recovered for
  the class in a landmark settlement. She also represented car owners seeking to enforce product
  warranties for an extended life coolant in In re General Motors Dex-Cool Products Liability
  Litigation. The Dex-Cool litigation ended with a settlement under which General Motors reimbursed
  its customers for repairs. Ms. Nugent has argued cases before the high courts of Georgia, Nebraska
  and the District of Columbia, as well as the federal D.C. Circuit Court of Appeals.

  Ms. Nugent is currently working on cases against Sallie Mae, alleging excessive interest and late fee
  charges on student loans, and Vonage, alleging deceptive business practices in advertising and
  administering promotional offers.


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  Before joining Cohen Milstein, Ms. Nugent worked for seven years at Public Citizen, a national
  consumer advocacy organization. During that time, she worked on many legislative and regulatory
  campaigns addressing issues that ranged from automobile safety to international trade policy. In 1998,
  Ms. Nugent received a two-year fellowship sponsored by the National Association for Public Interest
  Law (NAPIL). As a NAPIL Fellow, she worked at Trial Lawyers for Public Justice (TLPJ), where she
  helped develop and prosecute impact litigation in the areas of arbitration, banking, credit and
  insurance.

  Ms. Nugent received her undergraduate degree in History from Wesleyan University in 1991 and
  graduated from Georgetown University Law Center in 1998.

  Ms. Nugent is admitted to practice in the District of Columbia and Maryland.

  Benjamin D. Brown

  Benjamin Brown, a Partner at Cohen Milstein, joined the firm in 2005 and is a member of the Antitrust
  practice group. He has extensive experience leading complex litigation, particularly class actions.

  The Legal 500 has recognized Mr. Brown as one of the nation's leading class action antitrust attorneys
  and he has been listed as one of Washington D.C.'s "Leading Star" Plaintiffs' Litigators by Benchmark
  Litigation. He has served as class counsel in numerous successful cases litigated across the country
  and at all levels of federal appeals, helping to achieve over one hundred million dollars worth of
  recoveries on behalf of clients.

  Mr. Brown is a contributing author of the ABA's Antitrust Class Actions Handbook, and, since 2005,
  has served as a state editor for the ABA's Survey of State Class Action Law. He has also authored
  chapters on private antitrust recovery actions for the Global Competition Review's Antitrust Review of
  the Americas. Most recently, Mr. Brown co-authored with fellow partner Douglas Richards
  "Predominance of Common Questions — Common Mistakes in Applying the Class Action Standard,"
  41 Rutgers L.J. 163 (2009). He discussed joint civil and criminal investigations and litigation as a
  featured panelist on both the National Association of Criminal Defense Lawyers (NACDL) 2009
  Summer CLE Program and the 2010 University of Texas Law School's Review of Litigation
  Symposium. Mr. Brown has been honored by the United States District Court for the District of
  Columbia for outstanding commitment in pro bono litigation. He has been a repeated guest on CNBC
  and other networks discussing antitrust news and developments.

  Mr. Brown currently serves as co-lead counsel or on steering committees for plaintiffs in, among other
  cases, In re Plasma-Derivative Protein Therapies Antitrust Litigation (N.D. Ill.); Allen, et al. v. Dairy
  Farmers of America, Inc. (D. Vt.); In Re Puerto Rican Cabotage Antitrust Litigation. (S.D. Fla.); and
  Carlin, et al. v. DairyAmerica, Inc. (E.D. Ca.).

  Mr. Brown came to Cohen Milstein after four years as a trial attorney with the Antitrust Division of the
  United States Department of Justice. While there, Mr. Brown led and assisted in numerous
  investigations, litigations and trials involving anticompetitive conduct and mergers. Mr. Brown also
  prosecuted criminal cases as a Special Assistant United States Attorney in the Eastern District of
  Virginia. Prior to joining the Department of Justice, he was in private practice with Covington &
  Burling in Washington, D.C., handling insurance coverage and antitrust litigation. Prior to entering
  private practice, Mr. Brown served as a judicial law clerk for Chief Judge Juan R. Torruella of the U.S.
  Court of Appeals for the First Circuit.
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   Mr. Brown graduated cum laude from Harvard Law School and Phi Beta Kappa from the University of
   Wisconsin — Madison.

   Mr. Brown is admitted to practice in California and the District of Columbia.

   Carol V. Gilden

   Carol Gilden is a Partner at Cohen Milstein Sellers & Toll, PLLC, and a member of the Securities
   Fraud/Investor Protection practice group. Ms. Gilden represents public pension funds, Taft-Hartley
   Benefit Funds, private pension funds and high net worth individuals. She is the Resident Partner of the
   firm's Chicago office.

   Ms Gilden has extensive experience in protecting the rights of investors, including five years of
   experience as an enforcement attorney in the Securities and Exchange Commission, Midwest Regional
   Office. Prior to joining Cohen Milstein, Ms. Gilden was the head of the securities class action practice
   at Much Shelist, a Chicago law firm, and the Vice Chair of its Class Action Department.

   Ms. Gilden has been co-lead counsel, a member of the Executive Committee and on the litigation
   teams of many high profile cases. Most recently, Ms. Gilden served as co-lead counsel in the MF
   Global Securities case, which settled for $90 million. Her work in the case, which included winning
   an appeal before the Second Circuit Court of Appeals of the lower court's dismissal of the case, was
   singled out for recognition by the National Law Journal in connection with its selection of Hot
   Plaintiffs' Firms for 2011. Other recent significant cases in which she has served as co-lead counsel
   include the Huron Consulting Inc. Securities Litigation, which settled for $40 million (cash plus stock)
   and the RehabCare merger case (settled for significant deal term changes, disclosure changes and a
   cash settlement fund). She is currently lead counsel in the City of Chicago's case against on-line travel
   companies, among other matters which she is handling, including the securities class action against
   IntraLinks Corporation.

  Ms. Gilden actively litigated and was on the Executive Committees of the Global Crossing Securities
  Litigation (settlements of $448 million) and the Merrill Lynch & Co. Research Reports case ($125
  million settlement). Among other notable cases, Ms. Gilden has served as co-lead counsel in the
  Sears/Sears Acceptance Corp. Securities Litigation, Sara Lee Securities Litigation, 99 Cents Only
  Stores Securities Litigation, Quokka Sports Securities Litigation, ML Lee Securities Litigation and
  Smith Kline Litigation, as well as lead counsel in Pacha, et al. v. McKesson Corporation, et al., an
  opt-out securities action on behalf of a group of investors that settled for a substantial, confidential
  sum. In addition, she was liaison counsel and an active litigation team member in the Waste
  Management Litigation, which settled for $220 million. Under her leadership, her former firm was an
  active member of the litigation teams in the AOL Time Warner Securities Litigation ($2.5 billion
  settlement), Salomon Analyst Litigation/In re AT&T ($75 million settlement), and CMS Securities
  Litigation ($200 million settlement).

  Ms. Gilden lectures at legal conferences around the country on securities litigation and class action
  law. She has spoken on such topics as corporate ethics, financial reporting, officer and director
  liability, securities fraud class actions, the Sarbanes-Oxley Act of 2002, the Private Securities Reform
  Act of 1995, class certification standards and trends, Illinois class actions, deferred prosecution
  agreements, directors and officers insurance risks, advising companies in crisis, settlements and claims
  administration. Ms. Gilden also served as a panelist and Advisory Committee member for the Francis
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  McGovern Conferences on "Distribution of Securities Litigation Settlements: Improving the Process",
  at which regulators, judges, custodians, academics, practitioners and claims administrators
  participated. In May, 2012, she spoke about "Settlements Objections" at a "Recent Developments in
  Class Actions" seminar, sponsored by the Chicago Bar Association. More recently, in October and
  November 2012, Ms. Gilden gave presentations regarding the recent LIBOR scandal and ensuing
  litigation for LEXIS/NEXIS and the Practising Law Institute. Further, at Loyola University Chicago
  School of Law's Second Annual Institute for Investor Protection in October 2012, Ms. Gilden
  moderated a panel including Judge Rakoff and leading academics on the topic "Behavioral Economics
  and State of Mind: Pleading and Proving Scienter in Securities Fraud Cases.

  In addition, Ms. Gilden regularly speaks at investor conferences and symposiums regarding
  shareholder rights and regulatory reform. In May 2012, Ms. Gilden discussed the Morrison decision in
  a speech entitled "Pension Funds and Foreign Investments" at the Illinois Public Employee Retirement
  Systems Summit (ILPERS). In 2011, Ms. Gilden gave a presentation at the ILPERS conference on the
  "Dodd-Frank Wall Street Reform and Consumer Protection Act - The Implications for Institutional
  Investors." She also spoke at the National Summit on the Future of Fiduciary Responsibility on the
  impact of the Morrison decision on investor rights. At previous ILPERS conferences she has given
  speeches titled "The Power of Your Pension Plan Assets", the "Overhaul of the U.S. Financial
  Regulatory System" and "What's Ahead in Regulatory Reform: Storm Clouds on the Horizon?" In
  March 2009, she was a panelist at Vanderbilt Law School's symposium on the "Future of Federal
  Regulation of Financial Markets, Corporate Governance and Shareholder Litigation." In December
  2008, Ms. Gilden spoke at the Pension Group East Conference on "A New Era Of Regulation: The
  Three Legged Stool". In October 2008, she gave a presentation regarding the Emergency Economic
  Stabilization Act at the Illinois Public Retirement Systems Conference, and also led a roundtable
  discussion regarding the Bailout Bill and potential regulatory reform at the Made in America
  Conference. Ms. Gilden also has spoken at the International Foundation on shareholder rights and
  proxy voting.

  Ms. Gilden has published a variety of scholarly articles and course materials. She has co-authored a
  law review article which will be published later this year in the Loyola University Chicago Law
  Journal titled: "The Dangers of Missing the Forrest: The Harm caused by Verifone Holdings In a
  Tellabs World". She is an author and co-author of articles published by the National Law Journal,
  Courts Grapple with Lead-Counsel Auctions; IICLE on Illinois Causes of Action, Shareholder
  Derivative Suits; the American Bar Association, The Impact of Central Bank on Securities Fraud
  Litigation: The Plaintiffs' Perspective; Illinois Bar Journal, Proposed Rule 225: A Death Warrant for
  Class Actions in Illinois; and Practising Law Institute on Class Actions Litigation (2006 and 2007): A
  Hybrid 23(B)(2) Rule For Hybrid Class Actions? New Developments In The Use Of Rule 23(b)(2) In
  Class Certification; and The Evolving Use of Rule 23(b)(2) in Hybrid Class Actions Seeking Monetary
  Damages: A Hybrid Approach. In January 2005, Ms. Gilden testified against Proposed Rule 225
  before the Illinois Supreme Court's Rules Committee.

  Ms. Gilden is a frequent commentator in the national media on market scandals, recent developments
  and trends in securities law and high profile securities fraud cases. She has frequently appeared on
  CNBC, including an appearance on a special segment titled I Want My Money Back where she was
  described as "one of the top investor advocacy attorneys in the country." She also has been featured on
  the ABC news programs World News Tonight, World News Now and Good Morning America, as well
  as numerous appearances on First Business and an appearance on BBC World News. In addition to
  television appearances, Ms. Gilden has been quoted by prominent publications such as the Associated
  Press, Bloomberg News, BBC, Crain's, CFO.Com , Fortune magazine, the National Law Journal, USA
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  Today, London Mail, Chicago Tribune, Dow Jones, Business Insurance and Corporate Legal Times.
  Ms. Gilden appeared on the cover of Chicago Lawyer in connection with a feature article on The Ebb
  and Flow of Securities Class Actions.
  Ms. Gilden was the President of the National Association of Shareholder and Consumer Attorneys
  (NASCAT), the preeminent trade association for securities class action attorneys, from April 2007-
  April 2009. As President of NASCAT, Ms. Gilden actively worked to promote the interests of
  investors. She made repeated visits to Capitol Hill and met with Members, and their staffs, of the
  Senate Banking Committee, House Financial Services Committee and the Senate Judiciary Committee
  where she advocated the need for strong investor protection. She also engaged in outreach to the
  institutional investor community on needed reforms to reverse the erosion of investor rights. Under
  Ms. Gilden's leadership, NASCAT also filed amicus briefs in connection with major securities cases
  before the Supreme Court and other courts. Prior to becoming President, Ms. Gilden served as the
  President-Elect and Treasurer for NASCAT. Ms. Gilden continues to be actively involved in
  NASCAT and serves on its Executive Committee.

  Ms. Gilden is a Vice President of the Institute for Law and Economic Policy (ILEP). ILEP is a
  preeminent think tank with leading academics, and was established to preserve and enhance access to
  the civil justice system by investors and consumers.

  Most recently, Ms. Gilden was selected by the Council for Institutional Investors (CII) to serve on its
  Advisory Council to CII's Board of Directors. CII is a nonprofit association of pension and other
  employee benefits funds, endowments and foundations and a voice for effective corporate governance
  and strong shareholder rights.

  Ms. Gilden has been repeatedly selected as an "Illinois Super Lawyer" (2005-2013) by Law & Politics,
  which published its selections in Chicago magazine. Only 5 percent of Illinois attorneys are awarded
  this honor. Ms. Gilden also has achieved the "AV" Peer Review Rating by Martindale-Hubbell.

  Ms. Gilden is a graduate of the University of Illinois (B.S., Business Administration, 1979). She
  graduated with honors from Chicago-Kent College of Law (J.D. 1983) where she was a member of the
  Chicago-Kent Law Review. Ms. Gilden is admitted to practice in Illinois, the federal district court for
  the Northern District of Illinois, the United States Circuit Court of Appeals for the Seventh Circuit and
  the United States Supreme Court, as well as pro hac before other federal and state courts throughout
  the country.

  Kit A. Pierson

  Kit Pierson, a Partner, joined the Firm in 2009 and is co-Chair of Cohen Milstein's Antitrust Practice
  Group.

  Mr. Pierson has spent the last two decades handling civil litigation matters in antitrust cases and other
  complex litigation. As a Shareholder at Heller Ehrman from 1997-2008, Mr. Pierson represented
  clients in large antitrust class action litigation and False Claims Act litigation, including significant
  jury trials. Mr. Pierson also has a longstanding commitment to civil rights matters and pro bono
  representation and recently was lead counsel for one of the Guantanamo detainees in a successful
  habeas corpus challenge to the legality of his confinement.

  Mr. Pierson has represented clients in class actions and other antitrust cases of national significance.
  Mr. Pierson represented Microsoft Corporation in antitrust class action litigation and other matters and
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   was one of the trial attorneys representing Microsoft in jury trials in Gordon v. Microsoft (Minnesota)
   and Comes v. Microsoft (Iowa). Mr. Pierson represented 3M Company in antitrust class actions
   challenging bundled discounted in federal and state court. He represented the American Booksellers
   Association in antitrust litigation on behalf of its members (independent bookstores across the country)
   in American Booksellers Association v. Houghton Mifflin (S.D.N.Y.). These cases resulted in the entry
   of consent decrees against several of the leading publishers in the United States, and were followed by
   successful litigation against one of the publishers based on violations of the consent decrees. Mr.
   Pierson represented dock and trucking companies in Erie Port Authority v. Chesapeake & Ohio
   Railroad (E.D. Pa.), an antitrust case challenging a conspiracy by large railroad companies to restrain
   trade in the shipment of iron ore and resulted in a substantial jury verdict for the plaintiffs.

   Mr. Pierson has represented parties in a broad range of other complex civil litigation matters,
   including:

          Representation of a putative class of electronic book purchasers nationwide in litigation
          challenging a conspiracy involving Apple, Inc. and major book publishers to establish a new
          pricing model for the industry and substantially raise the price of electronic books in response
          to the low price point used by Amazon after release of the Kindle.
          Representation of individual farmers and a putative class of thousands of dairy farmers in the
          Northeast in antitrust litigation challenging a conspiracy to restrain competition and reduce the
          prices paid to farmers for supplying milk.
          Representation of Greenpeace, Inc. in Greenpeace, Inc. v. Dow Chemical Company, et al.
          (D.C. Super.), litigation against two large chemical companies, public relations companies and
          a private investigation firm based on their involvement in a scheme that is alleged to have
          included surveillance, dumpster diving, trespass and other actions on more than one hundred
          occasions over a two-year period to secure information about Greenpeace's organization,
          environmental activities and financial support.
          Representation of the plaintiff in United States ex rel. Loughren v. UnumProvident (D. Mass.),
          a qui tam action against the largest disability carrier in the United States, alleging that it
          violated the False Claims Act by causing the submission of false claims for social security
          disability benefits to the United States.
          Representation of a whistleblower in Funk v. MEP (E.D. Va.), a case alleging that a defense
          contractor engaged in fraud in providing translators to support the United States' troops in
          Afghanistan and engaged in retaliation based on the whistleblower's protected activities under
          the False Claims Act.
          Representation of a hospital and surgeon in their successful defense of claims brought by a
          physician alleging that they had infringed his patent by performing eye surgery in a method
          allegedly subject to the patent. Pallin v. Singer (D. Vt.). This case received national media
          attention, including two pieces on the McNeil-Lehrer News Hour, and — following successful
          defense of the litigation — the United States Congress enacted legislation to protect physicians
          from patent infringement claims based on their method of providing care.
          Representation of health policy researchers at the Urban Institute, a non-profit think tank, after
          they were sued in Minntech v. Held (D. Minn.), for allegedly defaming the plaintiff-corporation
          by publishing research relating to the safety of dialysis products used by thousands of dialysis
          patients nationwide.
          Representation of the nation's leading association of psychologists in various litigation matters,
          including cases successfully defending the association's decisions to discipline members for
          unethical conduct.

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      • Representation of parties in numerous cases involving constitutional issues, including the
         National Association of Broadcaster's successful defense of the "must carry" provisions in
         Turner Broadcasting Systems v. FCC (S. Ct).
      • Representation of non-profit organizations and individuals in litigation that exposed illegal
         spying activities by the Maryland state policy against more than thirty organizations and
         numerous individuals based on lawful and constitutionally protected activities such as
         opposition to the death penalty or anti-war activities. The exposure of these activities resulted
         in legislative hearings, appointment of a former Maryland Attorney General to conduct an
         independent investigation, and implementation of remedial actions by the State of Maryland.

  Mr. Pierson is chair of Cohen Milstein's pro bono committee. From 2006-2008, he was the chair of
  Heller Ehrman's pro bono and community service program for the firm's thirteen offices. Mr. Pierson
  has been actively involved in pro bono representation, including representation of a habeas corpus
  petitioner in Ahmed v. Obama (D.D.C.), where a federal court determined that the petitioner was being
  unlawfully detained at Guantanamo and ordered his release. Mr. Pierson is a Member of the ACLU of
  Maryland's Committee on Litigation and Legal Priorities and a Member of the Board of Trustees for
  the Lawyers' Committee for Civil Rights Under Law. Mr. Pierson has also represented the District of
  Columbia Bar Association in litigation and served on a Committee established by the District of
  Columbia Bar and the Access to Justice Commission to expand pro bono representation by law firms
  in the District of Columbia.

  Mr. Pierson has been named as a Washington, D.C. "Super Lawyer" in the antitrust field. These
  designations are based on a high degree of peer recognition and professional achievement.

  Mr. Pierson is a 1979 graduate of Macalester College, where he received a B.A. (magna cum laude) in
  Economics and Political Science. He graduated from the University of Michigan Law School (magna
  cum lazdde) in 1983, where he was a Note Editor of the Michigan Law Review and a member of the
  Order of the Coif. Mr. Pierson served as a Law Clerk for the Honorable Harry T. Edwards, United
  States Court of Appeals for the District of Columbia Circuit, from 1983-1984 and a law clerk for the
  Honorable Chief Judge John Feikens, United States District Court for the Eastern District of Michigan,
  from 1984-1985.

  J. Douglas Richards

  J. Douglas Richards is Managing Partner of Cohen Milstein's New York office and a partner in its
  antitrust practice group. Mr. Richards has extensive expertise in class action practice and commercial
  litigation relating to diverse trade regulation issues, including antitrust and commodity regulation as
  well as related issues of patent law. Prior to joining Cohen Milstein in 2009, Mr. Richards served as
  head of the antitrust practice groups at two other leading class action law firms, and prior to that as
  Deputy General Counsel of the Commodity Futures Trading Commission, where he received a Special
  Service Award for exemplary accomplishment. His general preeminence in legal practice has been
  recognized by the leading peer review organizations, including by being named one of 22 Antitrust
  "Litigation Stars" nationally by Benchmark Plaintiff Litigation, by New York Super Lawyers (2012,
  2011) and by receiving the highest available peer ranking from Martindale-Hubbell. He has written
  extensively about class actions, having twice authored chapters for books edited by the American
  Antitrust Institute covering complex issues of class action practice, as well as various law reviews and
  other publications. Leading antitrust organizations frequently recognize his expertise by inviting him
  to speak on wide-ranging issues of substantive antitrust law, civil procedure and class actions.

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   Education

          A.B. University of Chicago, 1977 (economics major)
          J.D. Harvard Law School, 1981

   Lead Counsel Positions In Antitrust Class Actions

      • In re Buspirone Antitrust Litig., MDL 1413 (S.D.N.Y.)
      • In re Ciprofloxacin Hydrochloride Antitrust Litig., MDL 1383 (E.D.N.Y.)
      • Cox v. Microsoft Corp. (Sup. Ct. N.Y. County)
      • In re G-Fees Antitrust Litig., No. 05114 (RWR) (D.D.C.)
      • In re IPO Antitrust Litig., 01 Civ. 2014 (WHP) (S.D.N.Y.)
      • In re K-Dur Antitrust Litig., MDL 1419( D.N.J.)
      • Kruman v. Christie's Intl PLC (international case in In re Auction Houses Antitrust Litig.), 00
          Civ. 0648 (LAK) (S.D.N.Y.)
      • In re New Motor Vehicles Antitrust Litig. MDL 1532 (D. Me.)(co-chair, executive committee)
      • In re Parcel Tanker Shipping Servs. Antitrust Litig., MDL 1568 (D. Ct.)
      • In re Fresh Del Monte Pineapples Antitrust Litig., MDL 04-md-1628 (RMB) (S.D.N.Y.)
      • In re Plastics Additives Antitrust Litig., MDL 1684 (E.D. Pa.)
      • In re Relafen Antitrust Litig., 01- 12239-WG4 (D. Mass.)
      • Sperry v. Crompton Corp. (Sup. Ct. Nassau County)
      • In re Tamoxifen Citrate Antitrust Litig., MDL 1408 (E.D.N.Y.)
      • Twombly v. Bell Atlantic Corp., 02 Civ. 10220 (GEL) (S.D.N.Y.)
      • In re Reformulated Gasoline Antitrust Litig., MDL 1671 (M.D. Ca.)
      • In re Wellbutrin Antitrust Litig., MDL 04-5525 (E.D. Pa.)

          Appeals Argued in Antitrust Class Actions
   Leading_

      • Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007).
      • Twombly v. Bell Atlantic Corp., 425 F.3d 99 (2d Cir. 2007).
      • Uniondale Beer Co. v. Anheuser Busch, Inc., Nos. 95-7321, 7371 (2d Cir. 1995).
      • Kruman v. Christie's Int'l PLC, 284 F.3d 384 (2d Cir. 2002).
      • In re Ciprofloxacin Hydrochloride Antitrust Litig., 544 F.3d 1323 (Fed. Cir. 2008), cert.
          denied, 77 U.S.L.W. 3690 (June 22, 2009).
      • In re Tamoxifen Citrate Antitrust Litig., 429 F.3d 370 (2d Cir. 2005), cert. denied, 127 S.Ct.
          3001 (2007).
      • JLMIndustries, Inc. v. Stolt-Nielsen SA, 387 F.3d 163 (2d Cir. 2004).
      • American Banana, Inc. v. Del Monte Fresh Produce Co., 09-4561-cv (2d Cir. 2010).
      • Sperry v. Crompton Corp., 8 N.Y. 3d 204 (2007).
      • Cox v. Microsoft Corp., 8 A.D. 3d 39, 778 N.Y.S. 2d 147 (1st Dep't 2004).
      • Cox v. Microsoft Corp., 290 A.D. 2d 206, 737 N.Y.S. 2d 1 (1st Dep't 2002).
      • Sperry v. Crompton Corp., A.D. 3d 488, 810 N.Y.S. 2d 498 (2d Dep't 2006).

   Recent Publications

          Class Action Issues, Ch. 5 of Private Antitrust Enforcement of Antitrust Law in the United
          States: A Handbook (Edward Algar, Cheltenham, UK)(co-authored with Cohen Milstein
          associates Michael B. Eisenkraft and Abigail Shafroth) (forthcoming in 2012).

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     • Heart of Darkness -- A Satirical Commentary, 66 N.Y.U. Annual Survey of Am. Law 569
         (2011).
     • Aggregation of Claims, Ch. 8 of The International Handbook on Private Enforcement of
         Competition Law (AAI, 2010).
     • Article contained in NYSBA 2010 Antitrust Law Section Symposium (transcript of oral
        remarks), titled "Section 2 and the EU, Too: Developments in the Analysis of Dominant Firms."
     • Predominance of Common Questions -- Common Mistakes in Applying the Class Action
        Standard, 41 Rutgers L.J. 163 (2009) (co-authored with partner Benjamin Brown).
     • Co-author, with John Vail of the Center for Constitutional Litigation, of A Misguided Mission
        to Revamp the Rules, TRIAL MAGAZINE, Nov. 2009.
     • Class Action Standards in Crisis: Whether Common Merits Questions Predominate Does Not
        Depend on the Questions' Answers, Global Competition Policy (May 2009).
     • Three Limitations of Twombly: Antitrust Conspiracy Inferences in a Context of Historical
        Monopoly, 82 St. John's L. Rev. 849 (2008).
     • What Makes An Antitrust Class Action Remedy Successful?: A Tale of Two Settlements, 80
        Tulane L. Rev. 621 (2005).

  Recent Speaking Engagements

     • June 2012 - Speaker at Federal Bar Council/Antitrust Section presentation entitled "Antitrust
         Conspiracies, Class Actions and Refusals to Deal: Parallels, Signals, Plus Factors and
         Agreements."
     • April 2012 - Speaker at 12th Annual Loyola Law School Antitrust Colloquium on the subject
         of "Exclusion as a Core Principle of Antitrust."
     • February 2012 - Testified before United States House Judiciary Committee's Subcommittee on
         Intellectual Property, Competition and the Internet, at a hearing titled "Litigation as a Predatory
         Practice" concerning whether antitrust immunity under the Noerr-Pennington doctrine should
         be curtailed.
     • January 2012 - Moderator at Next Generation of Antitrust Scholarship Conference, held at
         NYU Law School.
     • December 2011 - Speaker at American Antitrust Institute, 5th Annual Future of Private
         Antitrust Enforcement Conference.
     • October 2011 - Plaintiffs' bar commentator at Antitrust Forum organized by Antitrust Law
         Section of NYSBA entitled "Upward Price Pressure, Market Definition, and Supply Mobility."
     • January 2011 - Speaker at NYS Bar Association Antitrust Law Section annual meeting
         concerning recent developments in case law under Daubert, on panel titled "Fifty Miles from
         Home with a Briefcase: Expert Hot Topics."
     • December 2010 - Speaker at Private Enforcement Conference of the American Antitrust
         Institute at National Press Club in Washington, D.C., regarding recent developments involving
         motions to dismiss in antitrust cases.
     • July 2010 - Speaker at Pound Civil Justice Institute 2010 Forum for State Appellate Court
         Judges (before approximately 100 state court judges) in Vancouver, B.C. regarding application
         of Twombly in state courts.
     • June 2010 - One of approximately thirty class action practitioners interviewed by Prof. Francis
         McGovern of Duke Law School in preparation for his report commissioned by the United
         States Judicial Conference regarding Multi-District Litigation procedures under 28 U.S.C. §
         1407 and ways they might be improved.


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     • May 2010 - One of approximately 180 judges, law professors and practitioners participating in
         a conference at Duke Law School sponsored by the Standing Committee on the Federal Rules
         of Civil Procedure concerning possible rule revisions.
     • April 2010 - Participant in mock argument before the Hon. Sidney H. Stein of the United States
         District Court for the Southern District of New York, opposite Paul Saunders of Cravath
         Swaine & Moore, entitled "Twombly v. Conley—The fight of the Century."
     • March 2010 - Presentation to Rutgers–Camden Law School Faculty and Students regarding
         Twombly.
     • February 2010 - Speaker on Private Enforcement panel at a symposium at NYU Law School
         entitled "Critical Directions in Antitrust," sponsored by the NYU Annual Survey of American
         Law and organized by Profs. Harry First and Eleanor Fox.
     • January 2010 - Speaker at annual meeting of the NYS Bar Antitrust Section, along with leading
         attorneys from the Intel and Microsoft cases from Europe and America, in program titled
         "Section 2: Is It Really Coming Back?"
     • December 2009 - Speaker at Private Enforcement Conference of the American Antitrust
         Institute at National Press Club in Washington, D.C., regarding issues of class certification.
     • November 2009 - Panelist at Federal Bar Council presentation to Second Circuit law clerks,
         moderated by United States District Judge Lewis A. Kaplan, titled "Issues That Arise in
         Antitrust Cases That You Don't Learn About in Law School."
     • October 2009 - Panelist at Federal Bar Council program, moderated by the Hon. Mark R.
         Kravitz of the United States District Court for the District of Connecticut, entitled "Motions to
         Dismiss in Federal Court After the Supreme Court's Decisions in Twombly and Iqbal."
     • October 2009 - Panelist, along with former Assistant Attorney General Thomas O. Barnett and
         FTC Commissioner J. Thomas Rosch, with regard to "Monopolization in the New
         Administration," at the Newport Summit on Antitrust Law and Economics.
     • September 2009 - Speaker for AAJ Teleseminar entitled "Iqbal/Twombly: The Death of Notice
         Pleading?"
     • September 2009 - Panelist on issues of class certification at University of San Francisco
         symposium entitled "A Prescription for Antitrust Enforcement in the Pharmaceutical Industry."
     • January 2009 - Represented plaintiff's bar at a meeting of the Standing Committee on the
         Federal Rules of Civil Procedure, held in San Antonio, Texas, for a presentation concerning the
         extent of recent increased discovery burdens in federal litigation and possible revisions to rules
         to address them.
     • September 2008 - Panelist at the annual meeting of the National Association of Attorneys
         General, held in Salt Lake City, Utah, for presentation entitled "Recent Developments in
         Intellectual Property," along with Columbia Law School Prof. Scott Hemphill and Cheryl
         Johnson, Assistant Attorney General, California.
     • April 2008 - Speaker at conference held at N.Y.U. Law School, organized by N.Y.U. antitrust
         Profs. Harry First and Eleanor Fox, commenting on Report and Recommendations of the
         Antitrust Modernization Commission, dated April 2, 2007.
     • November 2007 - Panelist at the ABA Fall Forum in Washington, D.C.for presentation entitled
         "Litigation an Antitrust Case After Twombly."
     • October 2007 - Panelist at the 2007 Fall Bench and Bar Retreat of the Federal Bar Council, in
         Lenox, Massachusetts, titled "Rule 23 in the Second Circuit: Post-CAFA and Post-IPO."

  Legal and Policy Advisory Positions

     • American Antitrust Institute
         Member, Board of Advisors
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       • Institute for Consumer Antitrust Studies
            Member, Board of Advisors
       • Antitrust Section, New York State Bar Association
            Member, Executive Committee

   Linda Singer
   Linda Singer, a Partner, joined Cohen Milstein Sellers & Toll, PLLC in 2009 as head of the Public
   Client practice group. Ms. Singer is the former Attorney General for the District of Columbia. Ms.
   Singer has represented clients in approximately 350 matters during her legal career. Ms. Singer brings
   her extensive experience to lead the practice in supporting state Attorneys General, who serve as the
   critical front line in litigation protecting consumers, workers, and public resources.

   Ms. Singer currently represents Attorneys General in high stakes and high profile investigations and
   litigation involving consumer and Medicaid fraud, including in mortgage lending and servicing and
   other financial services and the marketing of prescription drugs, and misclassification of independent
   workers in violation of state tax and employment laws. The Public Client Practice focuses on cases
   with a strong policy dimension that are likely to result in litigation, are especially resource-intensive,
   or require specialized expertise.

   Among other cases, Ms. Singer has:

      • Represented a state Attorney General in the landmark proceedings against Countrywide
         Financial (and its parent, Bank of America), which resulted in mortgage modifications and
         other relief valued at approximately $8.6 billion. As a result of the settlement, Countrywide
         agreed to provide loan modifications to 400,000 borrowers nationwide and financial relief to
         the states and borrowers.
      • Represented the States of Arizona and Nevada in consumer fraud lawsuits against Bank of
         America over the servicing of nearly one half million mortgages. Those cases were settled as a
         part of the national mortgage settlement with significant additional recoveries for the states and
         consumers.
      • Represented attorneys generals in a multi-billion dollar settlement with a major lender over the
         deceptive marketing of payment option adjustable rate mortgages.
      • Represents an attorney general in investigations relating to the securitization of subprime
         mortgages.
      • Represents the State of Mississippi in litigation against credit rating agencies Moody's and
          Standard & Poor's for consumer fraud. Since Mississippi filed its case, more than two years
         ago, the Department of Justice and 11 other states have filed similar cases.
      • Represents the State of Nevada in multi-forum litigation against Lender Processing Services, a
         mortgage servicer, for its role in fraudulently executing tens of thousands of mortgage- and
         foreclosure-related documents.
      • Represents the Indiana Attorney General in litigation against McKesson, one of the three
         largest wholesalers of prescription drugs, and First DataBank, which publishes prescription
         drug pricing information, for conspiring to fraudulently inflate the average wholesale price of
         drug prescriptions, causing the Indiana Medicaid program to overpay by tens of millions of
         dollars.
      • Represents attorneys general in various antitrust investigations relating to the financial crisis
         and technology issues.
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      • Represented an attorney general in a multi-million dollar misclassification case against Fortune
          100 company.
      • Represented an attorney general in the investigation of a high profile consumer prescription
         drug case.
      • Represents cities in prescription drug and other consumer fraud investigations.
      • Represents two states in investigations of failures of care and Medicaid and consumer fraud by
         several national health care providers.

  Because many of these matters remain non-public investigations, the specific attorney general's office
  and target are not always listed.

  Before entering the private sector, Ms. Singer led the seventh-largest state Attorney General's office in
  the nation, overseeing the litigation and policy initiatives carried out by her staff of more than 350
  lawyers. As the chief law enforcement office for the District of Columbia, she was responsible for
  overseeing all of the District's litigation, providing legal advice to the Mayor and the Directors of other
  District agencies, and for representing the interests of District residents through enforcement initiatives
  focused on consumer protection, public safety, and the environment. During her tenure as Attorney
  General, Ms. Singer successfully petitioned the Supreme Court to hear its first Second Amendment
  case in more than 70 years; developed new initiatives to combat gun violence; and expanded
  enforcement litigation aimed at protecting consumers, children, tenants, and victims of domestic
  violence.

  Prior to serving as Attorney General, Ms. Singer was the Executive Director of the Appleseed
  Foundation, a national network of public interest law centers. Earlier in her career, Ms. Singer served
  as a staff attorney in the Criminal Defense Division of the Legal Aid Society of New York City. She
  has spoken extensively before legal and other audiences and is a frequent contributor to numerous
  legal trade publications.

  In 2010, Ms. Singer was selected one of "Washington's Most Influential Women Lawyers" by The
  National Law Journal.

  Ms. Singer is a graduate of the Harvard College (B.A., magna cum laude, 1988) and of Harvard Law
  School (J.D., magna cum laude, 1991).

  Ms. Singer is admitted to practice in the District of Columbia and New York.

  R. Joseph Barton

  Joseph Barton, a Partner at the Firm, joined Cohen Milstein in 2001 and is a member of the Employee
  Benefits practice group.

  Prior to joining the firm, Mr. Barton served as a judicial law clerk to the Honorable Lenore C. Nesbitt,
  United States District Judge for Southern District of Florida (2000-2001). Since joining the firm, Mr.
  Barton has been actively involved in a variety of class action cases involving employee benefits as well
  as antitrust and securities cases.

  Mr. Barton has been actively involved in a diverse number of employee benefit cases. He has litigated
  and is litigating a number of private ESOP cases. In litigation challenging the sale of stock for $25
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  million by the family shareholders to the Azon Corporation ESOP, Mr. Barton defeated defendants'
  summary judgment motions and obtained partial summary judgment and obtained a settlement of
  $9.25 million for the ESOP participants. In litigation challenging a sale of stock to the Tharaldson
  Motels Inc. ESOP (one of the largest ESOP's in the country) for $500 million, Mr. Barton obtained a
  determination that former employees had standing to sue as participants of the plan. Mr. Barton has
  also been involved in a number of cases alleging breach of fiduciary duty by investing the 401k plan in
  company stock of publicly traded companies. In Simpson v. Fireman's Fund Insurance Company
  (N.D. Cal.), Mr. Barton represented a class of active and terminated employees alleging that FFIC's
  policy of terminated persons on disability violated the discrimination provisions of ERISA, and
  obtained a settlement restoring their right to benefits for a period of years and also reimbursement of
  past expenses. Mr. Barton has been lead trial counsel in two complex class action ERISA cases,
  obtaining favorable results at the trial level, most recently a trial challenging a transaction involving
  the Trachte ESOP and the Alliance ESOP on behalf of a class of employees of Trachte.

  In addition to private ESOP cases, Mr. Barton has litigated a number of cases involving allegations of
  fiduciary misconduct involving the purchase or holding of publicly-traded employer stock in 401k or
  other retirement plans. Mr. Barton was also involved in one of the earliest cases challenging the
  prudence of investment and fees of the pension and 401k plans sponsored by New York Life Insurance
  Company. Mr. Barton is currently involved in the litigation against the Weyerhaeuser Company in
  alleging that the plan's investment of defined benefit pension plan assets in an array of hedge fund and
  private equity was imprudent.

  Mr. Barton has also provided advice to independent fiduciaries and is currently representing the
  fiduciaries in litigation against their investment manager.

  Mr. Barton has been active in a number of securities fraud lawsuits including In re Physician
  Corporation of America Securities Litigation (S.D. Fla.) (settlement of $10.2 million), and In re MCI
  Securities Litigation (D.D.C.) (settlement of $4.5 million) and also represented a small class of former
  Sterling shareholders who received Uniroyal stock in a merger in Avery v. Uniroyal Technology Corp.,
  (M.D. Fla.) (settlement of $2.3 million). Mr. Barton represented a limited partners of Lipper
  Convertibles, a defunct hedge fund, in an arbitration against the fund's former general partners, Levitt
  v. Lipper Holdings et al. (AAA), and in litigation against the outside auditor in federal district court,
  Levitt v. PricewaterhouseCoopers (S.D.N.Y.) in connection with their investments in the Partnership
  which were allegedly overvalued for over 5 years.

  Mr. Barton has also worked on a number of antitrust actions. Mr. Barton was a part of the team that
  engaged in intensive trial preparations in In re High Fructose Corn Syrup Antitrust Litigation, (C.D.
  I11.), a class action alleging price-fixing by the manufacturers of high fructose corn syrup, which settled
  for more than $500 million shortly before trial. Mr. Barton litigated In re Mercedes-Benz Antitrust
  Litigation (D.N.J.), a class action alleging price-fixing of new Mercedes -Benz vehicles in the New
  York Region, that settled for $17.5 million or 50% of Plaintiffs' calculation of actual damages. In
  connection with the Mercedes-Benz litigation, Mr. Barton briefed and argued and obtained summary
  judgment on an issue of first impression that established that lessee-plaintiffs had standing to sue as
  direct purchasers under the federal antitrust laws.

  Mr. Barton considers pro bono representation an important component of his practice and usually has
  at least one pro bono representation. He has represented a number of clients involving actions
  concerning their employer's failure to pay wages and/or overtime. In one such action, the Judge in

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   D.C. Superior Court described Mr. Barton's representation as follows: "everything done on behalf of
   the Plaintiff has been professional, timely and thorough."

   Along with the non-profit law firm Midwest Environmental Advocates, Mr. Barton provided pro bono
   representation to the grassroots citizens action group Clean Water Action Council of Northeastern
   Wisconsin, in objecting to a settlement by the United States Department of Justice and the State of
   Wisconsin concerning natural resource damages in the Fox River area of Wisconsin.

  Mr. Barton received his undergraduate degree from the College of William & Mary (B.A. 1991) where
  he majored in History and minored in Classical Studies, and graduated Order of the Coif from the
  College of William & Mary, Marshall-Wythe School of Law (J.D. 2000). At law school, he received
  the Lawrence W. I'Anson Award for outstanding student scholarship, character and leadership, the
  William B. Spong Award for professionalism and ethics, the Robert R. Kaplan Award for excellence in
  legal writing and Order of the Barristers. He served on the editorial board of the William & Mary Law
  Review and was a staff member of the William & Mary Bill of Rights Journal. Mr. Barton was a
  member of the William & Mary National Trial Team and served as Vice-President of the William &
  Mary Chapter of the Association of Trial Lawyers of America.

  Mr. Barton is the author of a number of articles including Determining the Meaning of "Direct
  Evidence " in Discrimination Cases Within the Eleventh Circuit: Why Judge Tjoflat was (W)right, 77
  Fla. B.J. 42 (2003), Drowning in a Sea of Contract: Application of the Economic Loss Rule to Fraud
  and Negligent Misrepresentation Claims, 41 Wm. & Mary L. Rev. 1789 (2000), and Utilizing
  Statistics and Bellwether Plaintiff Trials: What do the Constitution and the Federal Rules of Civil
  Procedure Permit?, 8 Wm. & Mary Bill Rts. J. 199 (1999). Each of these published articles has been
  cited by courts and commentators.

  Mr. Barton has been invited to speak on ERISA and Class Actions including at the ABA Employee
  Benefits Mid-Winter meetings, the ABA Joint Committee on Employee Benefits. Mr. Barton is the
  Plaintiffs' Co-Chair of the Civil Procedure Subcommittee for the ABA Employee Benefits Committee.
  Mr. Barton is also the current Vice-Chair of the Employment Rights Section of the American
  Association of Justice (AAJ) which focuses on all aspects of employment and labor law including Title
  VII, ADA, ADEA, FMLA, wrongful discharge, and employee benefits cases.

  Mr. Barton is admitted to practice in the State of California and the District of Columbia and is listed
  in the Marquis' Who's Who in American and Who's Who in American Law.

  Joshua S. Devore

  Joshua Devore, a Partner at the Firm, joined Cohen Milstein in 2000 as a member of the Securities
  Fraud/Investor Protection practice group.

  He is currently working on several securities fraud class actions (including the litigation on the
  collapse of the Italian dairy conglomerate Parmalat), and has been heavily involved in litigation
  regarding Wall Street research analysts. He has actively participated in a number of cases that resulted
  in substantial recoveries for investors, including In re Lucent Technologies, Inc. Securities Litigation
  (settlement of approximately $575 million); In re Merrill Lynch Research Reports Securities Litigation
  (settlement of $125 million); In re VeriSign Corp. Securities Litigation (settlement of $78 million); and
  Norman v. Salomon Smith Barney (settlement of $51 million on behalf of Guided Portfolio
  Management Account holders).
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   Mr. Devore has been the primary author of numerous briefs addressing complex and novel issues of
   the federal securities laws, leading to notable reported decisions such as In re Parmalat Securities
   Litigation, 376 F.Supp.2d 472 (S.D.N.Y. 2003), that affirmed claims of "scheme" liability against a
   corporation's outside investment banks, and Lentell v. Merrill Lynch & Co., 396 F.3d 161 (2d Cir.
   2005), that reversed a dismissal on statute of limitations grounds and reset the standards for pleading
   loss causation. He was also a member of the trial team in In re Globalstar Securities Litigation, which
   settled for $20 million during trial after Plaintiffs had fully presented their case.

  Mr. Devore is actively involved in the representation of the firm's institutional investor clients and
  personally developed and oversees the analysis of the firm's clients' investments in securities that may
  have been affected by fraud.

  Mr. Devore graduated from Rice University in 1997 with a B.A. in Chemistry, and obtained his law
  degree from Georgetown University Law Center in 2000. While at Georgetown, Mr. Devore served as
  an Executive Editor of the Georgetown International Environmental Law Review. Mr. Devore is co-
  author of State Court Class Actions: Trends and Issues, in National Institute on Class-Actions, C-1
  (ABA CLE 1999).

  Mr. Devore is admitted to practice in the District of Columbia and the Commonwealth of Virginia.

   Christopher J. Cormier

  Christopher J. Cormier, a Partner at the Firm, joined Cohen Milstein in 2003 and is a member of the
  Antitrust Practice Group. He has gained considerable experience at the pre-trial, trial and appellate
  levels in various types of large and complex antitrust cases. And he has helped obtain recoveries for
  clients in these matters totalling in the hundreds of millions of dollars.

  Chris has been named a Washington, D.C. "Litigation Star" in Antitrust in Benchmark Plaintiff The
  Definitive Guide to America's Leading Plaintiff Firms and Attorneys (2013 edition).

  He works or has worked on the following representative matters:

          In re Plasma-Derivative Protein Therapies Antitrust Litigation (N.D. Ill.), where he serves on
          the plaintiffs' steering committee on behalf of a proposed class of direct purchasers alleging a
          nationwide output restriction and price-fixing conspiracy. He plays a leading role in managing
          all day-to-day as well as strategic aspects of the plaintiffs' litigation efforts.
          In re Urethane Antitrust Litigation (D. Kan.), where he serves as co-lead counsel on behalf of a
          certified class of direct purchasers of several types of chemicals that were overcharged as a
          result of a nationwide price-fixing and market allocation conspiracy. He plays a leading role in
          litigating major aspects of the case, and he has helped obtain class settlements with Bayer
          ($55.3 million), BASF ($51 million), and Huntsman ($33 million). He was a member of the
          trial team who obtained a $400 million (pre-trebling) jury verdict against the sole remaining
          defendant, Dow Chemical.
          In re Endosurgical Products Direct Purchaser Antitrust Litigation(C.D. Cal.), where he served
          as co-lead counsel on behalf of a proposed class of direct purchasers of medical instruments
          used in laparoscopic surgery that were overcharged pursuant to alleged monopolistic conduct.
          In 2009, the Court approved class settlements valued at more than $39 million.


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      • In re Parcel Tanker Shipping Services Antitrust Litigation (D. Conn.), where he served as co-
          lead counsel in an arbitration on behalf of direct purchasers of shipping services who allegedly
          were overcharged pursuant to the defendants' international customer allocation and price-fixing
          conspiracy. He was a primary author of the brief opposing defendants' request for Supreme
          Court review of the lower court's order holding that the relevant arbitration clauses did not
          preclude class-wide arbitration.
      • McIntosh, et al. v. Monsanto Co., et al. (E.D. Mo.), where he served as co-lead counsel on
          behalf of farmers alleging a price-fixing conspiracy concerning genetically modified soybean
           seeds. Following the Court's denial of the remaining defendant's motion for summary
          judgment, the plaintiffs settled with that defendant on confidential terms.
      • Nate Pease, et al. v. Jasper Wyman & Son, Inc., et al. (Knox County Superior Court, Me.),
          where he served as co-lead counsel on behalf of a class of Maine wild blueberry growers. In
          2004, a Maine state court jury found the processing companies liable for participating in a four-
          year price-fixing and non-solicitation conspiracy, and ordered the defendants to pay over $56
          million in damages.

  Chris also has written about developments in the antitrust field. He is one of the authors of
  "Perspectives on the Future Direction of Antitrust," Antitrust, Vol. 22, No. 3, Summer 2008, © 2008
  by the American Bar Association. He also is a co-author of "Private Recovery Actions in the United
  States," The Antitrust Review of the Americas 2010, Global Competition Review, September 2009.

  Prior to joining Cohen Milstein, Chris practiced at a large Baltimore-based law firm, where he focused
  on commercial and antitrust litigation. After his first year of law school, he served as a judicial intern
  to the Honorable Deborah K. Chasanow, United States District Court for the District of Maryland.
  During his second year of law school, he served as a legal intern in the National Criminal Enforcement
  Section of the United States Department of Justice's Antitrust Division.

  He graduated from the University of Virginia with a B.A. in Government in 1999 and from the
  American University's Washington College of Law (magna cum laude) in 2002.

  He is admitted to practice in Maryland, the District of Columbia, the U.S. District Court for the District
  of Maryland, the U.S. Court of Appeals for the 9th Circuit; the U.S. Court of Appeals for the 10th
  Circuit; and the U.S. Supreme Court. His work in Florida is supervised by partners of the firm who are
  State Bar of Florida members, pending his admission to the Florida bar.

  Betsy A. Miller

  Betsy A. Miller, a Partner at the Firm, joined Cohen Milstein in 2009 and is a member of the Public
  Client practice group.

  Named one of Washington's Top 40 Under 40 Rising Legal Stars by the National Law Journal, Ms.
  Miller is an experienced labor, employment and commercial litigator. Currently, Ms. Miller represents
  state Attorneys General in investigations, litigation and enforcement actions involving fraudulent
  mortgage lending, unsafe and deceptive practices in the sale of prescription drugs, and
  misclassification of independent contractors in violation of state tax and labor laws. In addition to
  government clients, Ms. Miller represents other public-sector clients, including non-profit
  organizations and labor unions, in their efforts to ensure enforcement of laws protecting workers and
  consumers.

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  Since 2001, Ms. Miller has served on the adjunct faculty of Georgetown University Law Center, where
  she teaches courses on mediation strategy and negotiation skills. Ms. Miller's dispute resolution
  experience also includes serving as a mediator, arbitrator, mediation coach and negotiation skills
  trainer. She has taught negotiation skills courses at Harvard Law School and for a variety of federal
  and state government clients, law firms, corporations and non-profit organizations. As a consultant for
  the Kennedy School of Government, Ms. Miller traveled to Central America to evaluate mediation and
  arbitration programs in Guatemala, Costa Rica, El Salvador and Nicaragua.

  Prior to joining Cohen Milstein, Ms. Miller served as the Chief of Staff and Senior Counsel to Linda
  Singer, the former Attorney General for the District of Columbia. In that capacity, Ms. Miller
  managed high-profile legal issues and policy initiatives for the Attorney General and was the Mayor's
  lead labor and employment lawyer overseeing the transition of the D.C. Public Schools to mayoral
  control. Ms. Miller also supervised the General Counsels' offices of three District agencies, including
  the D.C. Public Schools and the Office of the State Superintendent for Education. Her other
  government experience includes serving as Counsel to the U.S. Senate Committee on the Judiciary,
  where she worked for Chairman Patrick J. Leahy (VT), and clerking for the Honorable Thomas
  Penfield Jackson in the U.S. District Court for the District of Columbia. In addition, Ms. Miller spent
  seven years as a litigator in the private sector, working for Jones Day and Crowell & Moring, LLP.

  Ms. Miller's recent publications include "Untapped Potential: Creating a Systematic Model for
  Mediation Preparation," Dispute Resolution Journal (May-August, 2009) and "WARNings for Firms
  Facing Layoffs or Bankruptcy," Law360 (January, 2009).

  Ms. Miller received her undergraduate degree in Comparative Literature from Dartmouth College,
  magna cum laude and Phi Beta Kappa (A.B., 1996). She received her law degree from Harvard Law
  School, where she was an editor on the Harvard Human Rights Journal and the Harvard Latino Law
  Review (J.D., 1999). After graduating, Harvard awarded Ms. Miller the Heyman Fellowship for
  government service and academic excellence and the Kaufman Fellowship for public service.

  Ms. Miller is admitted to practice in Massachusetts and the District of Columbia.

  Manuel J. Dominguez

  A partner in Cohen Milstein's Florida office, Manuel J. ("John") Dominguez focuses his practice on
  antitrust and consumer protection litigation. Mr. Dominguez plays a leading role in the firm's antitrust
  group identifying and investigating potential antitrust violations.

  Mr. Dominguez is also involved in and helps to manage many of the firm's pending antitrust cases. He
  is currently representing plaintiffs in antitrust litigation involving alleged price-fixing and other anti-
  competitive conduct in various industries including truck transmissions, high tech, medical products,
  building materials, agricultural, entertainment and finance, among others. He recently litigated and
  resolved cutting-edge litigation against a major internet service provider for allegedly unlawfully
  collecting the internet search data of millions of users and making their private information available
  for downloading by the general public.




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   Mr. Dominguez has been litigating complex antitrust and consumer cases for more than 15 years, and
   has served as lead counsel and handled numerous high-profile, high-stakes cases during that time. His
   efforts have enabled aggrieved businesses and consumers to recover hundreds of millions of dollars.

   Mr. Dominguez is also nationally recognized for his knowledge of managing the discovery process in
   today's increasingly technologically complex business environment. He has made presentations on
   topics such as the impact of the new e-discovery amendments to the Federal Rules of Civil Procedure,
   and has also participated in The Sedona Conference® Working Group 1 — an organization at the
   vanguard of developing standards for electronic discovery.

   Mr. Dominguez currently serves as the Chair for the Antitrust, Franchise & Trade Regulation
   Committee of the Florida Bar's Business Law Section. Mr. Dominguez previously served as the Vice
   Chair of this committee and is also a member of the Executive Council of Florida Bar's Business Law
   Section. Mr Dominguez also co-authored an article for the Florida Bar Journal, "The Plausibility
   Standard as a Double Edge Sword: The application of Twombly and Iqbal to Affirmative Defenses"
   (Volume 84, No 6, June 2010).

  Mr. Dominguez began his career as an Assistant Attorney General serving in the Attorney General of
  the State of Florida's Department of Economic Crimes. As an AAG, he represented the state of
  Florida in prosecuting corporations and business entities for alleged violations of Florida's RICO,
  antitrust, and Unfair and Deceptive Trade Practices Act statutes. Following his service as an AAG,
  Mr. Dominguez entered private practice, litigating and trying numerous cases involving unfair trade
  practices and other alleged violations of state and federal consumer protection statutes. In 2000 he
  joined Berman DeValerio as an associate and when he left the firm in 2011 he was one of the partners
  leading the firm's antitrust and consumer practice groups.

  Mr. Dominguez graduated with honors from the Florida State University Law School in 1995, where
  was a member of the Transnational Journal of Law and Policy. He received his undergraduate degree
  from Florida International University in 1991.

  Mr. Dominguez is admitted to practice law in the State of Florida as well as U.S. District Courts for the
  Northern, Middle and Southern Districts of Florida. Mr. Dominguez is also admitted to practice in the
  United States District Court for Northern District of Illinois.

  Brent W. Johnson

  Brent W. Johnson, a Partner at the Firm, joined Cohen Milstein in 2009 and is a member of the
  Antitrust Practice Group. Mr. Johnson has considerable expertise in complex antitrust litigation and
  class actions.

  Mr. Johnson represents businesses and individuals as plaintiffs in federal and state civil actions with a
  focus on multi-district class actions. His class action experience spans across multiple industries, such
  as dairy, processed foods, automotive parts, private equity, adhesives, chemicals and others. His
  practice encompasses a broad variety of antitrust claims, including Sherman Act Section 2 monopoly
  and monopsony claims as well as Section 1 restraints of trade. Mr. Johnson also represents state
  Attorneys General in litigation involving deceptive practices in the sale of prescription drugs.

  Mr. Johnson's recent matters include, among others:

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     • Allen vs. Dairy Farmers of America (D. Vt.), in which he represents Northeast dairy farmers
         against Dairy Farmers of America and Dairy Marketing Services who fixed prices, allocated
         markets and monopolized a level of distribution of raw milk in the Northeast and in which
         defendant Dean Foods Company settled for $30 million;
     • In re Automotive Parts Antitrust Litigation (E.D. Mich.), in which he represents direct
         purchasers of wire harnesses, bearings and other automotive parts who were overcharged as a
         result of price-fixing and bid-rigging conspiracies by various sets of defendants throughout the
         automotive parts industry;
     • In re Urethane Antitrust Litigation (D. Kan.), in which he serves as co-lead counsel on behalf
         of a certified class of direct purchasers of several types of chemicals who were overcharged as
         a result of a nationwide price-fixing and market allocation conspiracy and in which multiple
         defendants have collectively settled for over $130 million;
     • In re Online DVD Rental Antitrust Litigation (N.D. Cal.), in which he represents direct
         purchasers of online DVD rentals who were overcharged as a result of a market allocation
         conspiracy by defendants and in which defendant Wal-Mart settled for more than $27 million;
         and
     • Carlin v. Dairy America, Inc. (E.D. Cal.), in which he serves as co-lead counsel on behalf of a
         proposed class of dairy farmers paid artificially deflated prices for raw milk due to the
         negligence of defendants;

  Prior to joining Cohen Milstein, Mr. Johnson practiced at Latham & Watkins LLP in its Washington,
  D.C. and New Jersey offices for six years, where he focused on antitrust litigation. Some of Mr.
  Johnson's matters included:

     • Feesers, Inc. v. Michael Foods, Inc. and Sodexho, Inc. (M.D. Pa.), in which he was a member
         of the successful trial team that represented Michael Foods, a manufacturer of processed egg
         products and refrigerated potato products, in a three week trial of a Robinson-Patman Act
         action brought by a broad-line distributor of food products;
     • National Laser Technology, Inc. v. Biolase Technology, Inc. (S.D. Indiana), in which he
         represented Biolase, the country's largest manufacturer of lasers for dental applications, in a
         civil action brought by an after-market dental laser support company resulting in a favorable
         settlement for the client. The plaintiff alleged that Biolase had monopoly power over the hard
         tissue dental laser market and used that power to coerce dentists into purchasing products from
         it in violation of Sections 1 and 2 of the Sherman Act;
     • Dahl, et al. v. Bain Capital, et al. (D. Mass.), in which he represented The Carlyle Group in a
         class action where plaintiffs alleged collusion among certain private equity firms and
         investment banks in specific going-private transactions in violation of Section 1 of the Sherman
         Act; and
     • In re Aftermarket Filters Antitrust Litigation (N.D. Ill.), in which he represented Champion
         Laboratories, a manufacturer of aftermarket automotive filters, in a class action where plaintiffs
         alleged a conspiracy among manufacturers to fix prices in violation of Section 1 of the
         Sherman Act.

  Mr. Johnson also advised clients in the insurance, commodities exchange, chemical and energy
  industries in obtaining clearance of mergers, acquisitions and joint ventures from the Federal Trade
  Commission and the Antitrust Division of the Department of Justice in connection with pre-merger
  notification proceedings under the Hart-Scott-Rodino Antitrust Improvements Act.


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   Mr. Johnson also has significant experience in other complex civil and criminal litigation and
   investigations. He has substantial mass torts experience and represented the City of New York and
  others in multiple federal actions related to the September 11th attacks. He has litigated government
  contracts matters and was a member of a team handling a GAO administrative hearing concerning a
  $1.1 billion Air Force procurement contract. He has conducted internal investigations in response to
  criminal investigations and inquiries by the Department of Justice and U.S. Attorney's office. He has
  argued before state trial and appellate courts. He has first-chaired hearings before administrative law
  judges for the Department of Health and Human Services and the District of Columbia.

  Mr. Johnson graduated magna cum laude from Duke University in 2000 with a B.A. in Political
  Science and Spanish. He obtained his law degree from Stanford Law School in 2003.

  Mr. Johnson is admitted to practice in the District of Columbia, New York and New Jersey, as well as
  the U.S. District Courts for the Districts of the District of Columbia and New Jersey. He is a member
  of the ABA Section of Antitrust Law.

  Mr. Johnson currently serves on the Antitrust Practice Group's New Case Committee.

  Gary L. Azorsky

  Gary Azorsky, a Partner at Cohen Milstein, is Co-chair of the Firm's Whistleblower/False Claims Act
  Practice. In his nation-wide practice, Mr. Azorsky has helped to recover more than $1.5 billion for
  federal and state governments, including hundreds of millions of dollars for whistleblower clients.

  Mr. Azorsky is currently co-lead counsel in the qui tam action against the pharmaceutical company
  Wyeth pending in the District of Massachusetts, in which more states have joined to intervene along
  with the government of the United States than have ever intervened in a qui tam action in history.
  (United States of America et al., ex rel. Lauren Kieff, v. Wyeth, No.1:03-CV-12366-DPW (D.Mass.)).
  He has also represented whistleblowers in False Claims Act cases involving defense contractors, off-
  label marketing and misbranding by pharmaceutical companies, and fraud in connection with for-profit
  colleges and student loan programs. In addition, Mr. Azorsky represents whistleblowers in tax fraud
  claims against large and small corporations through the IRS Whistleblower Office, as well as
  whistleblowers alleging violations of the Foreign Corrupt Practices Act filed with the SEC
  Whistleblower Office.

  Mr. Azorsky served as co-counsel for the whistleblower on the following representative matters:

     • United States of America ex rel. Ven-a-Care of the Florida Keys Inc. v. Dey Laboratories, et
         al., Civil Action No. 05-11084 (D. Mass) ($280 Million settlement in December 2010)
     • United States of America ex rel. Ven-A-Care of the Florida Keys Inc. v. Boehringer Ingelheim
         Corp, et al., Civil Action No. 07-10248 (D. Mass.) ($280 Million settlement in December,
         2010)
     • Florida ex rel. Ven-A-Care of the Florida Keys Inc. v. Boehringer Ingelheim Corp, et al., Civil
         Action No. 98-3-32A (Leon Cty., Fla.) ($6.5 Million settlement with Dey Laboratories, Inc. in
         March 2010)
     • Florida ex rel. Ven-A-Care of the Florida Keys Inc. v. Boehringer Ingelheim Corp, et al., Civil
         Action No. 98-3-32A (Leon Cty., Fla.) ($9.57 Million settlement with Schering-Plough in
         December 2009)

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      • Florida ex rel. Ven-A-Care of the Florida Keys Inc. v. Boehringer Ingelheim Corp, et al., Civil
          Action No. 98-3-32A (Leon Cty., Fla.) ($8.5 Million settlement with Boehringer Ingelheim in
          December 2009)
      • Texas ex rel. Ven A-Care of the Florida Keys Inc. v. Roxane Laboratories, Inc., Boehringer
          Ingelheim Pharmaceuticals, Inc., Ben Venue Laboratories, Inc. and Boehringer Ingelheim
          Corporation, Civil Action No. GV3-03079 (Travis Cty., Tex.) ($10 Million settlement with
          Boehringer Ingelheim in November 2005)
      • Texas ex rel. Ven-A-Care of the Florida Keys Inc. v. Warrick Pharmaceuticals Corporation,
          Schering Plough Corporation, Schering Corporation, Civil Action No. GV002327 (Travis
          Cty., Tex.) ($27 Million settlement with Schering-Plough in May 2004)
      • Texas ex rel. Ven-A-Care of the Florida Keys Inc. v. Dey, Inc., Dey, L.P., Civil Action No.
          GV002327 (Travis Cty., Tex.) ($18.5 Million settlement with Dey Laboratories, Inc. in June
          2003)

   Mr. Azorsky regularly speaks before professional audiences regarding the federal and state False
   Claims Acts. He is a member of Taxpayers Against Fraud,,a nonprofit, public interest organization
   dedicated to combating fraud against the Federal Government through the promotion and use of the
   Federal False Claims Act and its qui tam provisions.

   Prior to joining Cohen Milstein, in addition to his Whistleblower/False Claims Act practice, Mr.
   Azorsky was actively involved in groundbreaking civil rights, commercial and intellectual property
   litigation, including Internet and software industry-related litigation.

  Mr. Azorsky is a member of the bars of the Commonwealth of Pennsylvania and the State of New
  Jersey and is admitted to the United States Supreme Court, Third Circuit Court of Appeals, Eastern
  District of Pennsylvania and the District of New Jersey. He received a B.A. degree from the
  University of Pennsylvania and his J.D. from Cornell University Law School. He is rated AV®
  PreeminentTM 5.0 out of 5 in Martindale-Hubbell Peer Review, representing the highest rating for
  professional excellence.

  Jeanne A. Markey

  Jeanne Markey, a Partner at Cohen Milstein, is Co-chair of the Firm's Whistleblower/False Claims Act
  Practice. She has successfully represented whistleblowers in federal and state cases across the
  country. Ms. Markey has extensive experience in Qui Tam litigation in the health care, defense and
  education industries, and has represented whistleblower clients in the public housing sector.

  Ms. Markey is co-lead counsel in United States of America et al., ex rel. Lauren Kieff, v. Wyeth, the
  whistleblower case against pharmaceutical giant Wyeth (recently acquired by Pfizer). The lawsuit
  alleges that Medicaid, the healthcare program for the poor which is jointly funded by the federal and
  state governments, was defrauded when Wyeth falsely inflated the price of the acid suppression drug
  Protonix Oral from 2001 through 2006. Thirty-six states and the District of Columbia have joined with
  the United States to intervene in the Wyeth case -- more states than have ever intervened in any U.S.
  Qui Tam case.

   She also served as the primary attorney representing the putative class in Benzman v. Whitman, a class
   action in Manhattan and Brooklyn against the U.S. Environmental Protection Agency. The claims were




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   based on class members' exposure to contaminants contained in World Trade Center interior dust
   resulting from the 9/11 attacks.

   Ms. Markey is admitted to practice law in the Commonwealth of Pennsylvania, the State of New
   Jersey, the Eastern District of Pennsylvania and to the First Circuit Court of Appeals, Second Circuit
   Court of Appeals, and Eleventh Circuit Court of Appeals. She is a member of Taxpayers Against
   Fraud, a nonprofit, public interest organization dedicated to combating fraud against the Federal
   Government through the promotion and use of the Federal False Claims Act and its qui tam provisions,
   the Association of Qui Tam Attorneys, and frequently speaks about developments in the Qui Tam
   field. She received her B.A. (cum laude) from Colgate University and her J.D. from Cornell University
   Law School.

   Michael Eisenkraft

   Michael Eisenkraft, a Partner at the Firm, joined Cohen Milstein in 2009 and is a member of its
   Securities Fraud/Investor Protection and Small Business practice groups. Mr. Eisenkraft currently
   represents investors in many of the firm's ongoing mortgage backed securities cases, including HEMT
   (Credit Suisse), Harborview (RBS Greenwich Capital), RALI, and NovaStar as well as the firm's
   ongoing litigation in the ChinaMediaExpress, CEDC, and Silver cases. In addition, since joining the
   firm Mr. Eisenkraft has represented investors in the Dynex case, which settled for $7.5 million on the
   eve of trial, and in the Lehman mortgage-backed securities case, which recently settled for $40 million.

   Prior to joining the firm, Mr. Eisenkraft was associated with Kramer Levin Naftalis & Frankel LLP
   and, before that, with the firm now known as Milberg LLP.

   Mr. Eisenkraft served as a law clerk to the Honorable Barrington D. Parker of the United States Court
   of Appeals for the Second Circuit.

  While associated with Milberg, Mr. Eisenkraft represented a lead plaintiff in a number of securities
  fraud class actions, including In re CVS Securities Litigation (D. Mass.), which settled on the eve of
  trial for $110 million; In re Novastar Financial Securities Litigation (W.D. Mo.), which eventually
  settled for $7.25 million; In re McLeodUSA Inc. Securities Litigation (N.D. Iowa), which settled for
  $30 million; In re Regeneron Pharmaceuticals Inc. (S.D.N.Y.), which settled for $4.7 million; and In
  re ARMFinancial (W.D. Ky.), which settled for $4.1 million.

  When associated with Kramer Levin Naftalis & Frankel, Mr. Eisenkraft represented individuals and
  large corporations in complex civil, criminal, and regulatory matters. Matters included the
  representation of the former CEO of a publicly traded company charged with a multi-billion dollar
  securities fraud; the defense of the former director and chair of the compensation committee of the
  New York Stock Exchange in an action brought by the New York Attorney General relating to
  executive compensation; and the representation of publicly traded corporations in complex civil suits.

  Publications:

  Carol V. Gilden, Michael B. Eisenkraft, and Josh Segal, The Dangers of Missing the Forest: The
  Harm Caused by Verifone Holdings in a Tellabs World, Loyola University Chicago Law Journal Vol.
  44: No. 5 (Summer 2013)

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   Reiser, Julie Goldsmith and Eisenkraft, Michael B. (2013) "Dodd-Frank's Protections for Senior
   Citizens: An Important, Yet Insufficient Step," University of Cincinnati Law Review: Vol. 81: Iss. 2,
   Article 5.

   J. Douglas Richards & Michael B. Eisenkraft, Pro-Business and Anti -Efficiency: How Conservative
   Procedural "Innovations" Have Made Litigation Slower, More Expensive, and Less Efficient, CPI
   Antitrust Chronicle, May 2013 (1).

   J. Douglas Richards & Michael B. Eisenkraft, Restraint of Trade: Does Manipulation of LIBOR Fall
   Within the Sherman Act's Definition of "Trade "? A Question of First Principles, CPI Antitrust
   Chronicle, Nov. 2012 (2).

  Class Action Issues, Ch. 5 of Private Antitrust Enforcement of Antitrust Law in the United States: A
  Handbook (Edward Algar, Cheltenham, UK) (co-authored with J. Douglas Richards and Abigail
  Shafroth) (2012).

   Eric Tirschwell & Michael Eisenkraft, "Repugnant" and "Malevolent": The Use ofAcquitted Conduct
   in Federal Sentencing, New York Law Journal, Sept. 9, 2009 at 4.

   Robert A. Wallner & Michael Eisenkraft, The Pleading Standard for Scienter Under the PSLRA: Is It
   Constitutional?, Securities Litigation Report, Feb. 2005, at 1.

   Education:

  Mr. Eisenkraft graduated Magna Cum Laude and Phi Beta Kappa from Brown University (2001) and
  Cum Laude from the Harvard Law School (2004).

  Admissions:

  Mr. Eisenkraft is admitted in New York, New Jersey, the S.D.N.Y., the E.D.N.Y., the D.N.J., the U.S.
  Court of Appeals for the Federal Circuit, and the U.S. Court of Appeals for the Second Circuit.

  Karen L. Handorf

  Karen Handorf, a Partner at the Firm, joined Cohen Milstein in 2007. Ms. Handorf is head of the
  Employee Benefits (ERISA) practice group.

  Ms. Handorf is currently involved in litigation and appeals involving a broad range of employee
  benefits issues including church plans, ESOPs, employer stock, COBRA, mismanagement of plan
  investments and benefit terminations. She represented a class of 30,000 Goodyear union retirees in
  litigation in which Cohen Milstein obtained approval of a class action settlement between the retirees,
  Goodyear and the United Steel Workers, resulting in the establishment of a $1 billion trust through
  which retiree healthcare benefits will be provided in the future. Redington v. Goodyear (N.D. Ohio).
  She has co- authored amicus briefs filed by the firm on behalf of the Pension Rights Center in the U.S.
  Supreme Court (LaRue v. De Wolff, Boberg & Associates) and in the Third Circuit (In re Schering-
  Plough Corporation ERISA Litigation). She also played a primary role in drafting the appellate brief
  in In re Citigroup ERISA Litigation (2d Cir.) (challenging the dismissal of a complaint alleging the
  imprudent purchase of employer stock) and in Boos v. AT&T (5th Cir.) (involving the issue of whether

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   a program providing cash payments to certain "pension eligible" retirees to reimburse them for their
   personal telephone expenses during retirement is a pension plan).

   Prior to joining the firm, Ms. Handorf was an attorney for the U.S. Department of Labor (the "DOL")
   where she litigated ERISA cases in federal appellate and district courts for twenty five years. She
   began her ERISA career in 1982 as a trial attorney in the Plan Benefits Security Division (PBSD)
   where she litigated actions brought by the Secretary of Labor for violations of the fiduciary standards
   of ERISA and handled a number of appellate matters.

  In 1989, she was appointed Counsel for Decentralized and Special Litigation responsible for
  supervising the DOL's ERISA appellate litigation, district court litigation brought by regional offices
  of the Solicitor of Labor and administrative litigation involving the civil penalty provisions of ERISA.
  In that position at the DOL, Ms. Handorf was responsible for establishing and supervising PBSD's
  amicus brief writing program which addressed a wide range of novel and difficult ERISA issues in
  both state and federal court. While at the DOL, she also played a major role in formulating the
  Government's position on ERISA issues expressed in amicus briefs filed by the Solicitor General in
  the United States Supreme Court.

  In 2001, she was appointed Deputy Associate Solicitor of PBSD. As the Deputy Associate Solicitor,
  she was responsible for overseeing litigation brought by the Secretary of Labor and legal advice
  provided to the Employee Benefit Security Administration, which administers Title I of ERISA. In
  2005, she returned to her position as supervisor of the ERISA appellate and amicus brief writing
  program, serving as Counsel for Appellate and Special Litigation.

  Ms. Handorf is a recipient of the Department of Labor Distinguished Career Service Award, and
  received Exceptional Achievement Awards for her work on ERISA 401(k) plan remedies, the amicus
  brief in the Enron litigation, retiree health care, the amicus program in general, the appellate brief in
  the Department's Tower litigation, termination annuities litigation and multiple employer welfare
  arrangement (MEWAs) litigation.

  Ms. Handorf has been recognized for her expertise by her colleagues in the ERISA bar, who made her
  a Fellow of the American College of Employee Benefits Counsel. She is a frequent speaker on ERISA
  issues for the ABA, various bar associations and private seminars, and serves as plaintiffs' co-chair of
  preemption subcommittee of the Employees Benefits Committee of the ABA's Labor Section.

  Ms. Handorf received her law degree from the University of Wisconsin Law School in 1975. Prior to
  law school, she attended the University of Wisconsin-River Falls where she received a B.S. in Speech
  and History.

  Ms. Handorf is a member of the bars of Wisconsin and the District of Columbia, and is admitted to
  practice before the United States Court of Appeals for the Second Circuit, Third Circuit, Fifth Circuit,
  Seventh Circuit, Ninth Circuit and Tenth Circuit.

  Joel P. Laitman

  Joel Laitman is a lead partner in a number of the firm's mortgage backed securities cases pending
  throughout the country including, HEMT (Credit Suisse); Harborview (RBS Greenwich Capital); Rali
  and Novastar. Joel Laitman was elected to the 2011, 2012 and 2013 New York Super Lawyers. Super

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  Lawyers is a rating service of outstanding lawyers who have attained a high-degree of peer recognition
  and professional achievement.

  Prior to joining Cohen Milstein, Mr. Laitman was a partner at Schoengold Sporn Laitman & Lometti.
  At his former firm, Mr. Laitman litigated numerous national securities and consumer class actions
  including many securities class action cases where the firm served as sole lead counsel, including
  Westar Energy Securities Litigation (D. Kansas) ($30 million recovery); Nicor, Inc. Securities
  Litigation (N.D. Ill.) ($39 million recovery); SPX Corporation Securities Litigation (W.D.N.C.) ($20
  million recovery); Maley v. Del Global ($11.5 million recovery) and Tidel Technologies (S.D. Tex)
  ($4.05 million recovery in cash and stock). In Del Global Judge McMahon commended him as an
  attorney who she "respected" and in approving the settlement stated that plaintiffs' counsel "had gone
  the extra mile" for the class.

  Education: Columbia University B.A. 1981 magna cum laude (member Phi Beta Kappa); Georgetown
  University Law Center J.D. 1986.

  Christopher Lometti

  Chris Lometti, a Partner at the Firm, joined Cohen Milstein in 2009. Since joining the firm, he helped
  litigate the Countrywide MBS Litigation ($500 mil settlement pending court approval); the Lehman
  MBS Litigation ($40 million recovery); the WaMu MBS Litigation ($26 million recovery); and the
  Leap Wireless case (S.D. Cal) ($13.75 million recovery). He is also one of the lead attorneys in many
  of the firm's ongoing mortgage-backed securities cases, including Bear Stearns; HEMT (Credit
  Suisse); Harborview (RBS Greenwich Capital); Rali and Novastar.

  Prior to joining Cohen Milstein, he was a founding member of Schoengold Sporn Laitman & Lometti,
  P.C. ("SSLL"), where he practiced for more than thirteen years in the area of securities class action
  litigation.

  While at SSLL, Mr. Lometti oversaw the firm's institutional client development efforts. Under his
  supervision, the firm established relationships with dozens of Taft-Hartley pension and benefit funds
  which the firm represented in numerous securities class action lawsuits over the years. In addition, Mr.
  Lometti participated in the successful litigation of these and other cases, including WorldCom ($6.15
  billion recovery), Bank One ($50 million), USN Communications ($45 million), Nicor ($39 million),
  PNC ($47 million), Westar ($30 million), SpectraVision ($28 million) and SPX ($10 million).

  In In re WorldCom, Inc. Securities Litigation, 02-CV-3288 (S.D.N.Y.), Mr. Lometti represented a
  named plaintiff and certified class representative with a significant financial interest in WorldCom
  bonds. That case was settled in 2005 for over $6.15 billion, the second-largest securities fraud
  settlement of all time. A majority of the settlement proceeds in the WorldCom case was allocated to
  the bond claims of Mr. Lometti's client and the class they represented. In addition, in In re Nicor
  Securities Litigation, 02-CV-5168 (N.D. Ill.), Mr. Lometti represented a Taft-Hartley pension and
  benefit fund in their capacity as sole lead plaintiff. Despite the fact that the case asserted claims under
  Section 10b of the Securities Exchange Act of 1934 which centered on complex accounting rules
  governing the financial reporting of natural gas leases, the case was eventually settled for $39 million.

  Prior to SSLL, Mr. Lometti was associated with Shea & Gould, a large New York City-based
  commercial litigation firm, where he practiced in the Litigation Department. While there, he
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   represented an array of clients, including Fortune 500 companies, in a wide variety of commercial
   litigation disputes, including SEC investigations and enforcement proceedings, securities class actions
   and ERISA matters.

   In addition to serving as a commercial mediator for the New York State Unified Court system for
   many years, Mr. Lometti has served as an arbitrator for the New York Stock Exchange and the
   National Association of Securities Dealers since approximately 1991. In 2011, Mr. Lometti was
   elected to Super Lawyers. Super Lawyers is a rating service of outstanding lawyers from more than 70
   practice areas who have attained a high-degree of peer recognition and professional achievement. The
   selection process is multi-phased and includes independent research, peer nominations and peer
   evaluations.

   Mr. Lometti received a Bachelor of Arts from Fordham College in 1983, and his J.D. from Fordham
   Law School in 1986. He is a member of the New York State Bar Association, the New York County
   Lawyers Association and the Association of the Bar of the City of New York.

   Michelle C. Yau

   Michelle Yau, a Partner at the Firm, joined Cohen Milstein in 2007. Ms. Yau is a member of the
   Employee Benefits practice group.

   Ms. Yau specializes in ERISA fiduciary breach cases involving complex financial transactions or
   investments. She successfully represented a multi-plan class of participants, beneficiaries and
   fiduciaries as ERISA counsel in In re Beacon Assoc. Litig., 09 Civ. 0777 (S.D.N.Y.), which, along
   with other consolidated case, settled for $219 million. The settlement provides approximately 70% of
   the Class Members damages. Several notable decisions were reached during the course of the
   litigation, including Judge Sand's holding that the Ivy Defendants were fiduciaries under the
   investment advisor for a fee regulation and the successful certification of multi-plan class. Ms. Yau
   was part of a team that achieved a $75 million settlement in In re: Merrill Lynch, an employer stock
   based on allegations that fiduciaries of the Merrill Lynch retirement plans imprudently purchased and
   held inflated Merrill employer stock for the retirement accounts of the Companies' employees.

   Ms. Yau currently leads an action against Weyerhaeuser Company and Morgan Stanley alleging the
   the Plan's fiduciaries violated ERISA by investing 80-95% of the Plan's assets in risky and illiquid
   alternative investments (hedge funds, private equity funds and derivatives). The Weyerhaeuser
   Plaintiffs recently won a motion to dismiss filed by Morgan Stanley. Ms. Yau also currently represents
   a multi-plan case against Austin Capital and its parent corporation Key Corp based on their investment
   of plan assets in a Madoff feeder fund.

   Prior to joining Cohen Milstein, Ms. Yau was an Honor Program Attorney at the Department of Labor
   where she enforced and administered of a variety of labor statutes. Before law school, Ms. Yau
   worked as a financial analyst at Goldman, Sachs & Co. in the Financial Institutions Group of the
   Investment Banking Division.

  Ms. Yau received her law degree from Harvard Law School in 2003, where she was awarded several
  public interest fellowships, including the Heyman Fellowship for academic excellence and a
  demonstrated commitment to federal public service. Ms. Yau graduated Phi Beta Kappa with a B.A. in
  Mathematics from the University of Virginia. Ms. Yau was also selected as an Echols Scholar and

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   awarded the Student Council Scholarship for leadership, academic achievement and community
   service. Ms. Yau was named a Rising Star Under 40.

   Ms. Yau is admitted to practice in the District of Columbia, Massachusetts, the United States Supreme
   Court and the United States Court of Appeals for the Fourth Circuit.




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                                    Attorney Profiles — Retired Partner

   Herbert E. Milstein


   Herbert E. Milstein began practicing law with Jerry S. Cohen in 1970 — the birth of the Firm. Mr.
   Milstein has been lead or principal counsel in many of the best known securities class actions litigated
   during the past 40 years. He retired from the Firm in 2012.

   Mr. Milstein is the author of numerous articles on topics involving class action litigations and the
   Federal securities laws. He recently authored an article on current issues involving federal securities
   laws. He also wrote a separate article in the book entitled The Burger Years. He is the author of a
   monograph on the attorney-client privilege.

   As an adjunct Professor of Law at Georgetown University Law Center from 1980-1987, he taught
   complex litigation and continues to lecture on securities litigation and class actions at law schools and
   seminars sponsored by the American Bar Association, state bar associations, and continuing legal
   education organizations. In 1985, he received a Silver Gavel award from the American Bar
   Association for his distinguished example of public service.

  Mr. Milstein formerly served on the staff of the Securities and Exchange Commission for five and one-
  half years, and last held the position of Chief Enforcement Attorney, Division of Corporate
  Regulation. From 1976-1980, Mr. Milstein served as Equity Receiver for National American Life
  Insurance Company, appointed by Judge Charles R. Richey, in SEC v. National Pacific Corp. For that
  work, the Chairman of the SEC said Mr. Milstein and the Firm served "with distinction."

   Formerly the President of the National Association of Securities and Commercial Law Attorneys
   (NASCAT), he also served as Treasurer of that organization for six years. He is a member of the
   American Law Institute, and a member and former Chairman of the Executive Council of the
   Securities Law Committee of the Federal Bar Association.

   Mr. Milstein is currently on the Board of Directors of several organizations, including The Studio
   Theatre of Washington, DC.

  Mr. Milstein graduated from Harvard College (cum laude, 1958) and Columbia University School of
  Law (LL.B., 1961).

  Mr. Milstein is admitted to practice in the District of Columbia and Massachusetts.




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                               Attorney Profiles — Of Counsel & Associates

   Laura Alexander

   Laura Alexander joined Cohen Milstein in 2012 and is a member of the Antitrust Practice Group. Ms.
   Alexander has extensive experience in complex antitrust litigation, class actions, and appeals.

   Ms. Alexander represents businesses and individuals in federal and state civil actions with a focus on
   multi-district class actions. She has worked on antitrust issues in many industries, including
   pharmaceuticals, telecommunications, cable television, wireless networking, welding, industrial fans,
   automotive parts, air transport, finance, enterprise software, and consumer credit, among others. Her
   practice encompasses a broad variety of antitrust claims, including monopoly, monopsony, and
   restraint of trade claims, as well as sham litigation and pay-for-delay claims related to patents and
   other intellectual property.

   Prior to joining Cohen Milstein, Ms. Alexander practiced at Kirkland & Ellis LLP in its Washington,
   D.C. office, where she focused on antitrust litigation.

   Ms. Alexander also has significant experience in other complex civil and criminal litigation. She has
   successfully represented several clients before the United States Supreme Court, including the House
   of Representatives of the State of Arizona in a federal action related to Arizona's administration of
   ESL education and securing the reversal of a conviction of a criminal defendant for violation of his
   rights under the Speedy Trial Act. Ms. Alexander was part of the team litigating what was, at the time,
   the largest bankruptcy ever filed, at both the trial and appellate levels. She has also successfully
   represented clients in employment discrimination lawsuits, under federal and state law, and in federal
   disability lawsuits. Ms. Alexander has argued before federal appellate courts and agencies.

   Ms. Alexander obtained a B.A. in Mathematics from Reed College in 2002. She graduated magna cum
   laude from Georgetown University Law Center in 2007. After law school, Ms. Alexander served as a
   law clerk to the Honorable M. Margaret McKeown on the United States Court of Appeals for the Ninth
   Circuit.

   Ms. Alexander is admitted to practice in the District of Columbia and California, as well as the U.S.
   District Court for the District of Columbia. She is a member of the ABA Section on Antitrust Law.

   Brook Andrews

   Brook Andrews, an Associate at the Firm, joined Cohen Milstein in 2013 and is a member of the
   Public Client practice group. Mr. Andrews represents state Attorneys General and other public-sector
   clients as outside counsel in investigations and lawsuits involving fraudulent and deceptive trade
   practices.

  Prior to his employment with Cohen Milstein, Mr. Andrews served as an Honors Trial Attorney in the
  Environment and Natural Resources Division at the United States Department of Justice, where he
  managed as lead counsel a nationwide trial practice defending challenges to natural resource
  management decisions and constitutional claims for regulatory and physical takings. He received the
  Department of Justice Outstanding Performance Award in 2011 and 2012.




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  Before joining the Department of Justice, Mr. Andrews served as a judicial law clerk to Chief Justice
  Jean H. Toal of the South Carolina Supreme Court and Judge Margaret B. Seymour of the United
  States District Court for the District of South Carolina. While at the Supreme Court, he also served as a
  Staff Attorney on the South Carolina Sentencing Reform Commission.

  Mr. Andrews is a 2007 graduate of the University of South Carolina School of Law, where he served
  as an Editor of the South Carolina Law Review, member of the Moot Court Bar National Team, Chair
  of the Honor Council, and President of the Public Interest Law Society. During law school, he was
  selected to argue a moot court case before visiting Chief Justice John Roberts of the United States
  Supreme Court. Upon graduation, Mr. Andrews was honored with the Compleat Lawyer Award. In
  addition to his law degree, Mr. Andrews holds an M.A. from the George Washington University and a
  B.A. from Davidson College. He is an elected member of the South Carolina Bar House of Delegates.

  Mr. Andrews is admitted to practice in South Carolina and is currently practicing under the supervision
  of Linda Singer, a member of the District of Columbia Bar.

  Elizabeth Aniskevich

  Elizabeth Aniskevich, an Associate at the Firm, joined Cohen Milstein in 2012 and is a member of the
  Securities Fraud/Investor Protection practice group.

  Prior to joining the firm, Ms. Aniskevich served as the Pro Se Clerk at the United States District Court
  for the Eastern District of Virginia in Alexandria, where she managed the pro se prisoner dockets of
  the seven district court judges. She also previously worked at Cohen Milstein as a law clerk from May
  2010 to April 2011.

  Ms. Aniskevich graduated from the University of Florida in 2008 with a Bachelor of Arts and_ double
  major in Sociology and Criminology, where she was the Valedictorian for the College of Liberal Arts
  and Sciences. Ms. Aniskevich received her J.D., magna cum laude, Order of the Coif, from American
  University's Washington College of Law in 2011. During law school, Ms. Aniskevich was a Senior
  Staff Member of the American University Law Review and served as a Research Assistant to her
  criminal law professor, Professor Ira P. Robbins. She was also the recipient of the Clair A. Cripe
  award for outstanding performance in correctional law.

  Ms. Aniskevich is admitted to practice in Virginia.

  Luke Bierman

  Luke Bierman joined Cohen Milstein in 2011 as Of Counsel in the Securities Fraud/Investor Protection
  Practice Group, where he counsels pension funds on fiduciary, ethics, governance and compliance
  issues. Mr. Bierman's role is to assist public pension funds at critical and challenging times for those
  funds, and to provide collaborative and creative solutions.

  Mr. Bierman is also the Associate Dean for Experiential Education and Distinguished Professor of
  Practice of Law at Northeastern University School of Law in Boston. Mr. Bierman oversees the
  School of Law's innovative and unique curriculum that combines theory and practice, including the
  school's distinctive Cooperative Legal Education Program, Clinics and the Legal Skills in Social
  Context first-year course, ensuring students are ready to practice with the full complement of




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   knowledge, skills and ethical and social values necessary to serve clients and the public interest, now
   and in the future.

   Previously, Mr. Bierman served for almost four years as General Counsel for the Office of the New
   York State Comptroller, the sole trustee of the state's $140 billion pension fund and the state's chief
   fiscal officer for the state of New York's $130 billion budget. In this role, Mr. Bierman managed a
   legal staff that included 55 attorneys, and was responsible for legal advice and counsel on all matters
   relating to the comptroller's constitutional and statutory responsibilities, including fiduciary,
   governance, ethics, litigation, investment, pension benefits, state and municipal finance and legislative
   matters. He also managed the 35 outside law firms that represented the Comptroller in litigation and
   transactional matters.

   Earlier in his career, Mr. Bierman served as a Fellow in Government Law and Policy at Albany Law
   School. He also has served as Director of the Institute for Emerging Issues at North Carolina State
   University, where he held the rank of Associate Professor of Political Science; as Founding Director of
   the Justice Center and Special Assistant to the President of the American Bar Association; as Visiting
   Specialist in Constitutional Law with the rank of Associate Professor at The Richard Stockton College
   of New Jersey; and as law clerk to Justices and as Chief Attorney of the New York Supreme Court,
   Appellate Division, Third Department. Mr. Bierman also has taught at Albany Law School,
   Northwestern University School of Law, the University at Albany and Trinity College in Hartford.

   Mr. Bierman is a frequent lecturer and commentator about corporate governance reform, fiduciary
   responsibility and ethics, and justice reform. He was a member of the board of directors of the Council
   of Institutional Investors, where he co-chaired the policies committee. He is an elected member of the
   American Law Institute. Mr. Bierman's most recent speaking engagements include:

      • Moderator, "Corporate Governance Roundtable", Active-Passive Investor Summit, New York
          City, April 2012
      • Panelist, "Corporate Governance, Due Diligence and Securities Litigation", Public Funds
          Summit, San Diego, CA, March 2012
      • Panelist, "Legal Developments," Public Funds Summit, Scottsdale, AZ, January 2012
      • Panelist, "Dodd-Frank: Panacea or Poison?", American Bar Association Annual Meeting,
          August 2011
      • Panelist, "What Morrison Means," National Summit on the Future of Fiduciary Responsibility,
          June 2011
      • Panelist, "Fiduciary Update—Scandals", Stanford Law School Fiduciary College, March 2011
      • Panelist, "The Rights and Responsibilities of Institutional Investors", Institutional Investor
          Conference, March 2011
      • Moderator, "Fiduciary Duty", Council of Institutional Investors Annual Meeting, September
          2010
      • Speaker, "SEC Pay to Play Reforms," American Bar Association Business Law Section Fall
          Meeting, November, 2010
      • Panelist, "Access to Justice: Morrison v. National Australia Bank," American Constitution
          Society, October 2010
      • Keynote, "Politics and the Market: How Policy Affects Investment Decisions," De-Risking
          Strategies for Pension Funds, Foundations and Endowments, International Quality and
          Productivity Center, October 2010


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      • Panelist, "Challenges Facing Public Pension Funds," Governance for Owners Conference,
          October 2010
      • Speaker, "Public Pension Reform in a Time of Turmoil," Emerging Issues Forum,
          Massachusetts Public Employee Retirement Administration Commission, September 2010
      • Moderator, "Fiduciary Duty," Council of Institutional Investors Annual Meeting, September
          2010
      • Speaker, "Morrison v. National Australia Bank: Implications for Investors," Council of
          Institutional Investors teleconference, August 2010
      • Panelist, "Regulation of Placement Agents for Public Pension Funds," National Association of
          Pension Plan Attorneys, June 2010
      • Panelist, "The SEC's Investor Protection Mission," DC Bar Association, April 2010
      • Speaker, "Dealing With Placement Agents," Stanford Law School Fiduciary College, March
          2010
      • Panelist, "Credit Rating Agencies' Liability," DC Bar Association, February 2010
      • Speaker, "Evolving Fiduciary Obligations of Pension Plans," Institutional Investor Conference,
          February 2010
      • Speaker, "Updates on Pension Fund Reform in New York State — Views from the General
          Counsel," National Association of Pension Plan Attorneys, June 2009
      • Panelist, "Governance Changes as Part of Class Action Settlements," Institutional Investor
          Educational Foundation's Global Shareholder Activism Conference, December, 2008
      • Moderator, Panels on Pension Plan Fiduciary Responsibility, Governance, and Ethics, U.S.
          Pensions Summit, October 2008
      • Keynote Speaker, Jefferson B. Fordham Awards Luncheon, Annual Meeting of ABA Section
          of State and Local Government Law, August 2008
      • Panelist, "Governance and Pension Plans," U.S. Pensions Summit, April 2008
      • Panelist, "Fiduciary and Accounting Responsibilities in Non Profit Management," New York
          State Bar Association, November 2007
      • Panelist, "Governance - Best Practices for Fiduciary," U.S. Pensions Summit, September 2007

   Mr. Bierman earned his Ph.D. and M.A. in Political Science from the University at Albany; his J.D.
   from the Marshall Wythe School of Law of the College of William and Mary, where he was a member
   of the Law Review; and his B.A. in American Political History magna cum laude with High Honors
   from Colgate University, where he was elected to Phi Beta Kappa.

   Meghan Boone

   Meghan Boone, an Associate at the Firm, joined Cohen Milstein in 2011 as a member of the Antitrust
   Practice Group.

   Ms. Boone was a summer associate and law clerk at Cohen Milstein from June 2009 - May 2010, and
   clerked for the Honorable Martha Craig Daughtrey of the United States Court of Appeals for the Sixth
   Circuit before joining Cohen Milstein.

  Ms. Boone graduated, Phi Beta Kappa, from Trinity College in 2006, with a Bachelor of Arts with
  Honors in Women, Gender, and Sexuality Studies. Ms. Boone received her J.D., summa cum laude,
  Order of the Coif, from American University's Washington College of Law in May 2010. During law
  school, she was the Associate Symposium Editor of the American University Law Review, a Dean's
  Fellow in the Legal Rhetoric Department, a P.E.O. Scholar, a Myers Law Society Scholar, a

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  Centennial Scholar, and Vice President of the Women's Law Association. She was also selected to be
  the student speaker at the 2010 Washington College of Law Commencement. Prior to joining Cohen
  Milstein, Ms. Boone interned with the U.S. Equal Employment Opportunity Commission in the Office
  of Federal Operations, as well as with the National Women's Law Center in the Health &
  Reproductive Rights Group.

  Ms. Boone was named one of Ms. Magazine's "Women Who Make a Difference" in 2004, for her role
  in founding the country's first feminist sorority, Zeta Omega Eta.

  Ms. Boone is admitted to practice in Florida and the District of Columbia.

  Mary J. Bortscheller

  Mary Bortscheller, an Associate at the Firm, joined Cohen Milstein in 2013 and is a member of the
  Consumer Protection and Unsafe Products practice group.

  Prior to joining Cohen Milstein, Ms. Bortscheller practiced at Williams Montgomery & John in
  Chicago, IL. Ms. Bortscheller also was a volunteer for the Chicago Legal Clinic, Inc.'s Foreclosure
  Defense Project. Before attending law school, Ms. Bortscheller served in the United States Peace
  Corps as a TEFL Volunteer in Sichuan Province, China.

  Ms. Bortscheller graduated from Gustavus Adolphus College in 2004 with a B.A., cum laude, in
  Political Science and received her J.D., cum laude, from American University, Washington College of
  Law in 2010. During law school, she served as Features Editor and Senior Editor of Sustainable
  Development Law & Policy and was a staff member of the American University International Law
  Review. Ms. Bortscheller interned with the United States District Court for the District of Minnesota.

  Ms. Bortscheller is admitted to practice in Illinois and her application to the DC Bar is pending.

  S. Douglas Bunch

  S. Douglas Bunch, an Associate at the Firm, joined Cohen Milstein in 2006 and is a member of the
  Securities Fraud/Investor Protection practice group.
  Mr. Bunch is currently litigating multiple securities class actions, including cases on behalf of
  investors in funds which served as so-called "feeder funds" for Bernard L. Madoff's Ponzi scheme;
  class actions on behalf of investors in residential mortgage-backed securities, including Maine State
  Ret. Sys. v. Countrywide Fin. Corp., No. 2:10-CV-00302 MRP (C.D. Cal.); In re Lehman Bros.
  Mortgage-Backed Sec. Litig., No. 08 Civ. 6762 (LAK) (S.D.N.Y.); New Jersey Carpenters Health
  Fund v. Residential Capital, LLC, No. 08 Civ. 8781 (HB) (S.D.N.Y.); New Jersey Carpenters
  Vacation Fund v. Harborview Mortgage Loan Trust 2006-4, No. 08 Civ. 5093 (HB) (S.D.N.Y.); and In
  re Bear Stearns Mortgage Pass-Through Certificates Litig., No. 08 Civ. 8093 (LTS) (S.D.N.Y.); and
  In re Oppenheimer Rochester Funds Group Sec. Litig., No. 09-md-02063-JLK (D. Colo.), a class
  action on behalf of investors in various Oppenheimer mutual funds which alleges defendants' failure to
  disclose the risks of investing in those funds. Mr. Bunch was also instrumental in achieving the
  successful appeal and recent settlement, for $90 million, of Rubin v. MF Global Ltd., No. 08 Civ. 2233
  (VM) (S.D.N.Y.).
  Mr. Bunch is a graduate of the William & Mary School of Law (2006), where he was a recipient of the
  Benjamin Rush Medal. A member of Phi Beta Kappa, he graduated summa cum laude from the
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   College of William & Mary in 2002 with a Bachelor's degree in Government and Classical Studies.
   Mr. Bunch is also a 2003 graduate of Harvard University's Graduate School of Education, from which
   he holds a Master's degree in Administration, Planning, and Social Policy. At Harvard, he served as an
   intern in the Boston office of the U.S. Department of Education's Office for Civil Rights, where he
   worked closely with attorneys to enforce federal laws that protect students from discrimination on the
   basis of race, gender, age, and disability.
   Mr. Bunch is actively involved in several nonprofit endeavors. He is the Founder and Chairman of
   nonprofit Global Playground, which helps educate countless children worldwide; a member of the
   Board of Directors of Ascanius: The Youth Classics Institute, which promotes the study of Latin and
   the Classics in the elementary school; and a former member of the Board of Directors of the Northeast
   Conference on the Teaching of Foreign Languages, which promotes the study of world languages more
   broadly. Recently he received an award for service: in 2011, Mr. Bunch was the inaugural recipient of
   William & Mary School of Law's W. Taylor Reveley Award.
   Mr. Bunch is admitted to practice in New York, the District of Columbia, the U.S. Supreme Court, the
   Courts of Appeals for the Second and Tenth Circuits, and the U.S. District Courts for the District of
   Columbia, District of Colorado, and Southern and Eastern Districts of New York. Mr. Bunch works in
   the Firm's Washington D.C. office.

   Monya M. Bunch

  Monya M. Bunch joined Cohen Milstein as an Associate in 2009 and is a member of the Employee
  Benefits practice group.

  Prior to joining the firm, Ms. Bunch was an associate in the Litigation Department of Wilmer Cutler
  Pickering Hale and Dorr LLP, where she focused on litigation in federal court, and federal criminal
  and regulatory investigations. While there, Ms. Bunch successfully represented the relator in a rare and
  complex False Claims Act trial in the United States District Court for the District of Columbia, helping
  the United States to win a jury verdict of just over $103 million in damages against several defendants
  who had participated in a bid-rigging conspiracy. Ms. Bunch then clerked for the Honorable Damon J.
  Keith of the United States Court of Appeals for the Sixth Circuit.

  During law school, Ms. Bunch interned with the U.S. Attorney's Office for the Southern District of
  New York. Her work focused on white-collar matters within the Securities and Commodities Fraud
  and General Crimes units. Ms. Bunch also held a summer position with a large international law firm
  in New York City, where she gained experience in trade practices, intellectual property and antitrust
  matters.

  Prior to earning her law degree, Ms. Bunch dedicated her career to community activism and
  development as a local planner for the organization Agenda for Children Tomorrow (A.C.T.), in New
  York City. While working for A.C.T., she supported a neighborhood-planning coalition by linking
  community projects related to child welfare, family planning and youth services.

  Ms. Bunch received her undergraduate degree from Hampton University (B.S., 1991) and her graduate
  degree from the University of Hartford (M.P.A., 1994). She received her law degree from Howard
  University School of Law (J.D., 2004), where she served as editor-in-chief of the Howard Law Journal
  and authored a Comment, Juvenile Transfer Proceedings: A Place for Restorative Justice Values, 47
  How. L.J. 909 (2004), for which she received the 2005 Burton Award for Excellence in Legal Writing.

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   Ms. Bunch is admitted to practice in New York and the District of Columbia.

   Whitney R. Case

  Whitney R. Case joined Cohen Milstein as an Associate in 2005 and is a member of the Public Client
  practice group.

  Ms. Case has been actively involved in a number of class action cases, including a case against SBC
  Communications, Inc., Wagener, et al. v. SBC Pension Benefit Plan - Non-Bargained Program
  (D.D.C.), which alleged widespread miscalculation of pension benefits owed to its employees in
  violation of ERISA. That case resulted in a $16 million settlement for retirees. She has also
  represented Fiduciary Counselors, Inc. in their capacity as independent fiduciary for the Enron Savings
  Plan, including evaluating settlements reached in the Newby v. Enron Corp. (S.D. Tex.) securities class
  action case.

  Currently, Ms. Case represents the City of Chicago in a case against online travel companies, alleging
  a systematic failure to pay taxes owed under Chicago's Hotel Tax Ordinance. Ms. Case is also
  involved in cases against Sallie Mae related to excessive interest and late fee charges on student loans,
  and against Vonage related to deceptive business practices in advertising and administering
  promotional offers.

  Ms. Case is the author of "The Coupon Can Be the Ticket: The Use of `Coupon' and Other Non-
  Monetary Redress in Class Action Settlements," 18 Geo. J. Legal Ethics 1431 (2005) (co-authored
  with Lisa Mezzetti).

  Prior to joining Cohen Milstein, Ms. Case served as a law clerk at the District of Columbia Bar's
  Board on Professional Responsibility. She also studied International Law at University College in
  London, England and was a student attorney in the Domestic Violence Clinic at Georgetown
  University Law Center.

  Ms. Case received her law degree from Georgetown University Law Center in 2005. She received her
  undergraduate degree from Tulane University (B.A., Political Economy and French, cum laude, 2002)
  during which time she spent a year studying at Universite de Paris IV, La Sorbonne.

  Ms. Case is admitted to practice in New York, New Jersey and the District of Columbia.

  Shaylyn Cochran

  Shaylyn Cochran, an Associate at the Firm, joined Cohen Milstein in 2012 and is a member of the
  Civil Rights & Employment practice group.

  Prior to joining the firm, Ms. Cochran was a Civil Rights Fellow at Relman, Dane & Colfax, where she
  assisted in federal fair housing and employment discrimination litigation. Ms. Cochran previously
  served as a Litigation Intern at the NAACP Legal Defense and Educational Fund and a Litigation
  Intern in the Disability Rights Section of the United States Department of Justice Civil Rights
  Division.



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   Ms. Cochran graduated from Ohio University in 2007 with a B.S. in Journalism and a B.A. in Political
   Science (summa cum laude, Phi Beta Kappa). She received her J.D. from Harvard Law School in
   2011. During law school, Ms. Cochran was a Line Editor and member of the Article Selection
   Committee for the Journal on Legislation, and the President of the Harvard Black Law Students
   Association. She was also a Student Attorney and Communications Director for the Harvard Legal
   Aid Bureau. Ms. Cochran is a 2008 NAACP Legal Defense Fund/Shearman & Sterling Scholar and
   she is the recipient of the 2011 Dean's Award for Community Leadership.

   Ms. Cochran is admitted to practice in New York State and the District of Columbia.

   Jeffrey Dubner

  Jeffrey Dubner joined Cohen Milstein as an Associate in 2011 and is a member of the Antitrust
  practice group.

   Mr. Dubner represents individuals, businesses, and unions in federal civil actions, with a focus on
   multi-district class actions and antitrust litigation. He has represented both plaintiffs and defendants in
   antitrust litigation, dealing with the application of the Sherman Act in industries from health care and
   financial services to professional sports and publishing. He has also represented plaintiffs with claims
   under the Stored Communications Act, the Commodities Exchange Act, and other state and federal
   statutes.

   Prior to joining the firm, Mr. Dubner was a law clerk for the Honorable Guido Calabresi of the U.S.
   Court of Appeals for the Second Circuit and the Honorable John G. Koeltl of the U.S. District Court
   for the Southern District of New York.

  Mr. Dubner graduated from Harvard University with a B.A. in Psychology (2003, cum laude) and
  Harvard Law School (J.D., magna cum laude, 2009). During law school, Mr. Dubner served as a Notes
  Editor for the Harvard Law Review. He also worked as a research assistant for Professors Martha
  Minow and Sonja Starr. Mr. Dubner spent summers working with the U.S. Attorney's Office for the
  Southern District of New York. the Office of Consumer Litigation of the Department of Justice, and
  O'Melveny and Myers in Washington, D.C.

  Mr. Dubner is admitted to practice in New York and the District of Columbia.

   Suzanne Dugan

  Suzanne M. Dugan leads the firm's Ethics and Fiduciary Counseling practice, which provides
  guidance to pension funds and other public, private and nonprofit entities on ethics, fiduciary,
  governance and compliance issues. With more than 20 years of legal experience, including service as
  ethics counsel for the third largest public pension fund in the country and as general counsel for a state
  ethics commission, Ms. Dugan offers the broad perspective of a regulator and the understanding of an
  in house counsel.

  With this unique vantage, she employs a collaborative approach to advising on ethical duties, fiduciary
  responsibility, strategic governance, compliance and related organizational mandates. Ms. Dugan's•
  experience and knowledge also allow her to assist in conducting internal investigations and structuring
  recommendations for improved policies and procedures. She also draws on the expertise of Cohen


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   Milstei•'s other practice groups, such as ERISA ,Qui Tam, Antitrust and Consumer Protection, to
   counsel clients on the full range of matters implicated when considering ethics and fiduciary issues.

   At Cohen Milstein, Ms. Dugan provides ethics counsel to one of the largest public pension funds, and
   serves as compliance counsel to another major fund. She has also conducted ethics and fiduciary
   training for the boards of directors of some of the country's largest public pension funds. When
   counseling and training pension funds, she draws upon the experience gained from having served as in-
   house ethics counsel during an unprecedented time of challenge for pension funds.

   Ms. Dugan has also provided expert legal and consulting services on ethics issues to counsel retained
   to conduct an investigation, reviewing a draft report and providing input on proposed
   recommendations for remedial action. As outside experts, CMST's Ethics and Fiduciary Counseling
   practice provides an additional layer of oversight and accountability to the primary investigation,
   utilizing the unique expertise of Ms. Dugan and her colleagues to provide independent observations
   and expert opinion.

  In addition, Ms. Dugan also serves as the independent ethics officer for a large county, where she is
  responsible for evaluating and investigating complaints of unethical conduct, and providing objective
  and independent analysis to county leadership regarding the interpretation and application of the
  county's code of ethics. She works to help ensure that county officers and employees refrain from
  conduct that may even be perceived as unethical and adopt a culture of public servant leadership that
  earns and preserves trust and support from citizens.

  Ms. Dugan previously served as Special Counsel for Ethics for the Office of the New York State
  Comptroller, where she counseled the state's chief fiscal officer and sole trustee of the third largest
  public pension fund in the country on ethics and fiduciary issues. She provided fiduciary and ethics
  training to the State Comptroller, as well as senior management and the advisory committees appointed
  to assist the Comptroller in managing the pension fund. Ms. Dugan implemented a vigorous and
  dynamic ethics program for the agency's 2,500 employees, initiating and managing a program that
  provided specific ethics training to each division of the Agency, focusing on the particular challenges
  faced in the course of doing business. Ms. Dugan and her staff provided individual advice and counsel
  on all aspects of ethics and fiduciary issues. These programmatic initiatives were designed to promote
  a culture of ethics and public integrity with continual improvement at all levels of the agency.

  Ms. Dugan also served as the Acting Executive Director and General Counsel to the New York State
  Ethics Commission. During her tenure at the Commission, she oversaw the agency and its programs,
  including the issuance of formal and informal advisory opinions as well as investigative reports and
  notices of civil assessment in enforcement proceedings. She implemented the Commission's financial
  disclosure process and its regulations governing honoraria and travel reimbursement, and assisted the
  Office of the Attorney General in preparing the Commission's defense in litigation.

  A frequent lecturer at conferences and forums addressing ethics and fiduciary issues in the public and
  nonprofit sectors, including pension funds, Ms. Dugan's upcoming and most recent speaking
  engagements include:

      • Panelist, "Fiduciary and Ethics Issues for Public Pension Plans", Public Funds Summit,
         Huntington Beach, CA, March 201.3



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      • Moderator, "Creation, Composition and Operation of Audit Committees", Fiduciary & Plan
         Governance Section, National Association of Public Pension Attorneys,, Washington, DC,
         February 2013

      • Panelist, "Legal Issues Facing Public Pension Funds", Public Funds Summit, Scottsdale, AZ,
          January 2013

      • Panelist, "Keeping Public Safety Pensions Safe: Ethics & Fiduciary Issues", National
         Conference on Public Employee Retirement Systems, New Orleans, Louisiana, October 2012

      • Panelist, "Trustee Education: Fiduciary Responsibility", Public Funds Summit East, Newport,
          RI, July 2012.

      • Panelist, "Trustee Education: Fiduciary Responsibility", Public Funds Summit, Scottsdale, AZ,
          January 2012.

      • Panelist, "Are Pension Benefits Really Vested? Latest Developments in Fiduciary Duty",
         SACRS Fall Conference, Costa Mesa, CA, November 2011.

  Ms. Dugan previously was appointed to the adjunct faculty at Albany Law School, where she taught a
  class in government ethics.

  Ms. Dugan graduated magna cum laude from Siena College, and earned a Juris Doctor cum laude from
  Albany Law School. Ms. Dugan began her career as a judicial clerk with the Appellate Division, Third
  Department, of the New York State Supreme Court. She also served as an administrator at Albany
  Law School, as well as the pro bono Legal Director of an Albany, New York, area not-for-profit. She
  currently is a member of the Board of Directors of her local Planned Parenthood affiliate. She is an
  elected member of the American Law Institute.

  George F. Farah

  George F. Farah joined the Firm as an Associate in September, 2005 and is a member of the Antitrust
  and Human Rights practice groups.

  Since joining the firm, Mr. Farah has represented classes of direct purchasers who were allegedly
  injured by price-fixing conspiracies, including in In re Hydrogen Peroxide Antitrust Litigation (E.D.
  Pa.) and In re OSB Antitrust Litigation (E.D. Pa.), both of which obtained total settlements exceeding
  $100 million. He has also represented victims of other tortious conduct, including the City of
  Milwaukee in a lawsuit against lead paint manufacturers for widespread childhood lead poisoning as
  well as survivors of Nazi-era slave labor against German companies that profited from that labor.

  Mr. Farah is currently involved in several antitrust class action cases alleging concerted or unilateral
  anticompetitive conduct. In In re Publication Paper Antitrust Litigation (D. Ct.), he serves on the
  executive committee representing direct purchasers who allege that publication paper manufacturers
  conspired to reduce capacity and fix prices. In Allen, et al. v. Dairy Farmers of America, et al. (D.
  Vt.), he serves as co-lead counsel representing farmers who allege that cooperatives and processors in
  the Northeast conspired to monopolize the raw milk market and depress prices. In Carlin, et al. v.
  DairyAmerica, et al. (E.D. Ca.), he serves as co-lead counsel representing farmers who allege that a
  marketing company misrepresented data to the USDA and artificially depressed milk prices.

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   Mr. Farah is also currently litigating other cases on behalf of victims of alleged tortious conduct. In In
   re Google Inc. Street View Electronic Communications Litigation (N.D. Ca.), he serves as co-lead
   counsel representing a proposed class of nationwide computer users whose private data was
   intercepted and retained by Google's Street View vehicles. In Greenpeace, Inc. v. Dow Chemical
   Company, et al. (D.D.C.), he represents Greenpeace in a lawsuit against chemical and public relations
   companies that allegedly engaged in surveillance, trespass and other actions to secure information
   about Greenpeace's environmental activities. In political asylum proceedings before a United States
   Immigration Court, he represents a Nepali nurse who was tortured on the basis of her religion and
   social group.

   Prior to joining the Firm, Mr. Farah focused on electoral reform and income inequality issues. He is
   the founder of Open Debates, a nonprofit organization working to reform the presidential debate
   process. Before attending law school, Mr. Farah worked to expose the harms of media concentration
   and the IMF's structural adjustment programs at The Center for the Study of Responsive Law.

   Mr. Farah is the author of the book No Debate: How the Republican and Democratic Parties Secretly
   Control the Presidential Debates from Seven Stories Press. His articles addressing legal and electoral
   issues have been published in The Washington Post, The Boston Globe, The Philadelphia Inquirer, The
   Denver Post, The Christian Science Monitor, Fort Lauderdale Sun-Sentinel, Extra! Magazine, and
   other publications.

   Mr. Farah has appeared on dozens of television programs, including "Nightline," "NOW with Bill
   Moyers," "20/20," "CBS Evening News," "NBC Nightly News," "CNN Lou Dobbs Tonight," "CNN's
   Market Call," "FOX and Friends," and "Countdown with Keith Olbermann." Mr. Farah has been
   interviewed on over 100 radio shows, including NPR's "To the Point," "Keep Hope Alive With Jesse
   Jackson," "Democracy Now!," "CounterSpin," and "Judicial Watch Report."

   Mr. Farah has given several talks on the political process and electoral reform issues at colleges and
   universities, has hosted numerous televised press conferences, and was a Newsmaker at the National
   Press Club.

   Mr. Farah is a graduate of Harvard Law School (J.D., 2005), and Princeton University (B.A.,
   Woodrow Wilson School of Public and International Affairs, 2000). Mr. Farah was the recipient of a
   Paul and Daisy Soros Fellowship, and was a delegate to the 2005 International Achievement Summit.

   Mr. Farah is admitted to practice in New York and the District of Columbia.

   Genevieve Odile Fontan

   Genevieve Fontan, an Associate at the Firm, joined Cohen Milstein in 2012 and is a member of the
   Securities Fraud/Investor Protection practice group.

   Prior to joining the firm, Ms. Fontan was a litigation fellow for two years at the American Civil
   Liberties Union of Northern California, where she worked on First Amendment litigation and
   educational equity matters.

  Ms. Fontan received her undergraduate degree from the University of California, Berkeley in
  Interdisciplinary Field Studies and French Literature, with highest honors and high honors,
  respectively (B.A., 2003). She also completed a two-year master's program at the University Paris-
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   Sorbonne where she received a degree in geography, Mention Culture, Politique, Patrimoine, after
   defending her thesis on socio-geographic trends in legalized household winemaking during Prohibition
   years in California (M. 2, 2010). Ms. Fontan received her law degree from Stanford Law School (J.D.,
   2010). While there, she provided supervised representation through the Stanford Community Law
   Clinic in the successful defense against an eviction lawsuit. She received an Equal Justice America
   fellowship for public interest work involving the Violence Against Women Act and also Stanford Law
   School's pro bono distinction for externships at Housing and Economic Rights Advocates, Public
   Advocates, and the ACLU of Northern California.

   Ms. Fontan is admitted to practice in New York State.

   Johanna M. Hickman

   Johanna M. Hickman, a Litigation Fellow at the Firm, joined Cohen Milstein in 2013 and is a member
   of the Public Client practice group. In this position, Ms. Hickman represents state Attorneys General
   and other public-sector clients in investigations and lawsuits involving healthcare fraud, consumer
   fraud in the mortgage industry, and other fraudulent and deceptive trade practices.

  Ms. Hickman serves on the adjunct faculty of the Georgetown University Law Center, where she
  teaches a course in advanced legal writing and practice.

  Before joining Cohen Milstein, Ms. Hickman was an Associate at Willkie Farr & Gallagher LLP,
  where she advised clients regarding environmental and toxic tort liability, negotiated the
  environmental aspects of corporate transactions, and represented clients in complex insurance coverage
  litigation. Prior to that, Ms. Hickman clerked for two years for the Honorable James I. Cohn of the
  United States District Court for the Southern District of Florida.

  Ms. Hickman graduated with Highest Honors from the University of North Carolina at Chapel Hill in
  2003, with a Bachelor of Arts in Journalism and Mass Communication. Ms. Hickman received her
  J.D., cum laude, from the Georgetown University Law Center in 2006. During law school, she served
  as a Staff Member and Symposium Editor of the Georgetown Journal of Legal Ethics and was a finalist
  in Georgetown's 35th Annual Leahy Moot Court Competition.

  Ms. Hickman is admitted to practice in the District of Columbia and Florida, and in the United States
  District Court for the District of Columbia.

  Anita F. Hill

  Anita F. Hill joined Cohen Milstein in 2011 as Of Counsel in the Civil Rights and Employment
  Practice Group.

  Ms. Hill brings three decades of legal and academic experience to the Civil Rights practice. She began
  her career as an associate with the Washington, D.C. law firm Wald, Harkrader & Ross. Ms. Hill then
  served as special counsel to the assistant secretary of the Department of Education's Office for Civil
  Rights and later as advisor to the chair of the Equal Employment Opportunity Commission (EEOC).
  She began her teaching career as an assistant professor at Oral Roberts University and later joined the
  faculty at the University of Oklahoma College of Law. She has also visited at the University of


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  California, Berkeley. Ms. Hill is currently a professor of social policy, law and women's studies at
  The Heller School for Public Policy and Management at Brandeis University.

  Ms. Hill is the author of numerous articles on international, commercial law, bankruptcy, and civil
  rights -- all areas in which she has taught. She has given numerous presentations on commercial law as
  well as race and gender equality. In addition, she has appeared on several television programs, such as
  Face the Nation and Meet the Press, and her commentary has been published by Newsweek, the New
  York Times, and the Boston Globe. Ms. Hill is the author of Speaking Truth to Power and served as
  the co-editor of Race, Gender, and Power in America: The Legacy of the Hill-Thomas Hearings. She
  is also the author of Reimagining Equality: Stories of Gender, Race and Finding Home, which will be
  released in October 2011.

  Ms. Hill is a graduate of Oklahoma State University (B.A., 1977) and of the Yale University Law
  School (J.D., 1980).

  Joshua Kolsky

  Joshua Kolsky joined Cohen Milstein in 2009 as an Associate and is a member of the Securities
  Fraud/Investor Protection practice group.

  Prior to joining the firm, Mr. Kolsky served as a law clerk to the Honorable Barry G. Silverman of the
  U.S. Court of Appeals for the Ninth Circuit. He previously practiced at Gibson, Dunn, & Crutcher in
  Los Angeles and, immediately following law school, Mr. Kolsky served as a special assignment law
  clerk to the Honorable David O. Carter and the Honorable George H. King of the U.S. District Court
  for the Central District of California.

  Mr. Kolsky graduated from the University of Virginia with a B.S. in Engineering Science (2001) and
  from Columbia Law School (J.D., 2006), where he was a Harlan Fiske Stone Scholar. While at
  Columbia, Mr. Kolsky served as the production editor of the Columbia Human Rights Law Review.
  He also interned at the American Civil Liberties Union's National Legal Department and Public
  Citizen's Global Trade Watch, and participated in the Morningside Heights Environmental Law Clinic.

  Mr. Kolsky is admitted to practice in California, D.C., and Maryland.

  Kalpana Kotagal

  Kalpana Kotagal joined the Cohen Milstein as an Associate in November 2006 and is a member of the
  Civil Rights & Employment practice group. She also chairs the Firm's Hiring and Diversity
  Committee.

  Ms. Kotagal represents female employees alleging sexual discrimination against one of the nation's
  largest jewelry chains in Jock, et al. v Sterling Jewelers Inc. (AAA Case No.11 160 00655 08). The
  plaintiffs successfully sought review of the district court's decision reversing the arbitrator's clause
  construction award before the Second Circuit Court of Appeals, and prevailed against the defendant's
  motion to seek review of that decision by the United States Supreme Court. Ms. Kotagal is also
  currently involved in Dukes v. Wal-Mart Stores, Inc. (N.D. Cal.) and other cases challenging Wal-
  Mart's treatment of women employees alleging discrimination in pay and promotion.

  Ms. Kotagal has represented a class of disabled veteran applicants alleging illegal pre-offer medical
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   inquiries during the application process against the United States Postal Service, in Hill, et. al v.
   Donohue, United States Postal Service, which has been successfully resolved. Ms. Kotagal was also
   involved in Aaron v. Pilgrim's Pride Corp., Civ. No. 06-1082 (W.D. Ark.), representing workers
   seeking redress for unpaid overtime, a case that was successfully resolved in 2009.

   Ms. Kotagal is the co-author of "Innovation, Economics and the Law: The Health Care Industry's
   Exposure to Antitrust Liability," published by the ABA Antitrust Law Section in 2007. She is a
   member of the National Employment Lawyers Association (NELA).

   Before attending law school, Ms. Kotagal worked in the environmental community as Assistant
   National Field Director of the United States Public Interest Research Group, running national
   legislative campaigns on renewable energy and environmental issues, and as an organizer with Green
   Corps. In 2006, she served as an advisor to a Congressional candidate. Ms. Kotagal served as an
   honorary chair of the National Finance Committee of Young Lawyers for Obama in 2008.

   While in law school, Ms. Kotagal was a summer associate at Cohen Milstein and served as law clerk in
   the Chambers of the Honorable J. Curtis Joyner, Eastern District of Pennsylvania. She was also
   involved in litigation under the Alien Tort Claims Act and RICO on behalf of Haider Mushin Saleh
   against contractors CACI and Titan for human rights abuses in Abu Ghraib prison. She served on the
   Editorial Board of the University of Pennsylvania Law Review as an Articles Editor.

   Following law school, Ms. Kotagal clerked for the Honorable Betty Binns Fletcher, United States
   Court of Appeals for the Ninth Circuit.

   Ms. Kotagal received her undergraduate degree with honors from Stanford University (A.B.,
   economics, B.S., earth systems, 1999) and was a Morris K. Udall Scholar. She received her law degree
   cum laude from the University of Pennsylvania (2005), where she was a James Wilson Fellow.

   Ms. Kotagal is admitted to practice in New York and the District of Columbia.

   Emmy Levens

   Emmy Levens joined Cohen Milstein as an Associate in 2009. She is a member of the Antitrust
   practice group.

   Prior to joining the firm, Ms. Levens was a staff law clerk at the U.S. Court of Appeals for the Seventh
   Circuit, where she handled a variety of cases including employment discrimination, bankruptcy,
   immigration, criminal appeals, civil rights, and habeas corpus.

   Ms. Levens graduated from the University of Kansas with a B.A. in Political Science (2004, with
   honors) and UCLA Law School (J.D., order of the coif, 2007). During law school, Ms. Levens served
   as the Managing Editor for the UCLA Journal of Environmental Law and Policy, the Director of the
   Downtown Legal Housing Clinic, and the president of Moot Court. She also worked as a summer
   associate for Morrison & Foerster, LLP in San Francisco.

   Ms. Levens' admission to the Illinois Bar is pending and she is practicing under the supervision of
   Daniel S. Small, a member of the D.C. Bar.


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  Minii Liu

  Mimi Liu joined Cohen Milstein as Of Counsel in April 2012. She is a member of the Public Client
  practice group. Ms. Liu was formerly a senior lawyer at Planned Parenthood Federation of America,
  where for almost eight years she represented clients in a variety of high-profile constitutional civil
  rights matters. She successfully briefed and argued cases before numerous federal district and
  appellate courts and state appellate courts. Ms. Liu brings her robust experience as a civil rights
  litigator to this practice, where she represents state Attorneys General in investigations, litigation, and
  enforcement actions aimed at protecting consumers and public resources. Currently, Ms. Liu
  represents state Attorneys General in actions involving Medicaid fraud, and unfair and deceptive
  practices in debt collection.

  Prior to joining Planned Parenthood, Ms. Liu was a litigator at Wilmer, Cutler & Pickering (now
  WilmerHale), where she represented clients in civil rights, intellectual property, bankruptcy, and
  federal securities litigations. In addition, during her time at Wilmer, Cutler, Ms. Liu was part of the
  trial team that successfully challenged a federal law restricting access to reproductive health services in
  the Southern District of New York and served as appellate counsel for a brutalized Congolese woman,
  whose asylum she ultimately secured.

  Ms. Liu graduated from Harvard Law School (J.D., cum laude, 1999), where she served as Executive
  Editor of the Human Rights Journal and co-authored the treatise Gender Asylum Law, which examines
  decisions and guidelines for filing asylum applications in a variety of international jurisdictions. She
  received her Bachelor of Commerce from the University of Alberta (1996). Following law school, Ms.
  Liu, a Canadian, clerked for the Court of Appeals of Alberta and for the Honorable Justice Claire
  L'Heureux-Dube of the Supreme Court of Canada.

  Ms. Liu is admitted to practice in the .District of Columbia and New York, the United States Courts of
  Appeals for the Sixth, Eighth, and Ninth Circuits, and the United States District Court for the District
  of Columbia.

  Douglas J. McNamara

  Douglas McNamara, Of Counsel at the Firm, joined Cohen Milstein in 2001 as a member of the
  Antitrust and Consumer Protection & Unsafe Products practice groups.

  Mr. McNamara has worked on numerous cases involving dangerous pharmaceuticals and medical
  devices, light cigarettes, defective consumer products, and environmental torts.

  Prior to joining Cohen Milstein, Mr. McNamara was a litigation associate at Arnold & Porter,
  specializing in pharmaceutical and product liability cases. He started his career at New York City's
  Legal Aid Society, defending indigent criminal defendants at trial and on appeal.

  He has authored two law review articles: Buckley, Imbler and Stare Decisis: The Present Predicament
  of Prosecutorial Immunity and An End to Its Absolute Means, 59 Alb. L. Rev. 1135 (1996); and Sexual
  Discrimination and Sexual Misconduct: Applying New York's Gender-Specific Sexual Misconduct Law
  to Minors, 14 Touro L. Rev. 477 (Winter 1998). He is presently teaching a course on environmental
  and toxic torts as an adjunct at George Washington University School of Law.


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   Mr. McNamara graduated from SUNY Albany with a B.A. in Political Science (summa cum laude,
   1992) and New York University School of Law (J.D., 1995).

   Mr. McNamara is admitted to practice in New York and the District of Columbia.

   Casey M. Preston

   Casey Preston, an Associate at Cohen Milstein, is a member of the Firm's Whistleblower/False Claims
   Act Practice.

   Mr. Preston serves as counsel in United States of America et al. ex rel. Lauren Kieff v. Wyeth, the
   whistleblower case against pharmaceutical giant Wyeth (recently acquired by Pfizer). The lawsuit
   alleges that states were defrauded when Wyeth falsely inflated the price of the acid suppression drug
   Protonix Oral from 2001 through 2006. Thirty-six states and the District of Columbia have joined with
   the United States to intervene in the Wyeth case -- the most states that have ever intervened in any U.S.
   Qui Tam case.

   In addition to helping and serving as counsel for whistleblowers, Mr. Preston has also represented and
   advised clients in various complex litigations, securities class actions, and commercial disputes.

   Mr. Preston received his B.S. degree from The Citadel and his J.D. from Villanova University School
   of Law (J.D., 2000). He clerked for the Hon. William J. Nealon, U.S. District Court for the Middle
   District of Pennsylvania (2001-2002) and the Hon. Terrence R. Nealon, Court of Common Pleas
   Lackawanna County, Pennsylvania (2000-2001).

   Mr. Preston is admitted to the Pennsylvania Bar, and to the United States Supreme Court, Eastern
   District of Pennsylvania and Middle District of Pennsylvania.

   He is a member of Taxpayers Against Fraud (TAF) and the Villanova Law J. Willard O'Brien
   American Inn of Court. And he provides pro bono legal services to the Legal Clinic for the Disabled.

   Daniel B. Rehns

   Daniel B. Rehns joined Cohen Milstein as an Associate in 2009 and is a member of the Securities
   Fraud/Investor Protection practice group. Prior to that time, Mr. Rehns was an Associate at
   Schoengold Sporn Laitman & Lometti, P.C. ("SSLL"), where he practiced in the areas of securities
   fraud and consumer class action litigation since 2007.

  While at SSLL, Mr. Rehns devoted his practice to the representation of individual and institutional
  shareholders who had been injured as the result of corporate fraud or corporate malfeasance. Notably,
  Mr. Rehns represented numerous Taft-Hartley pension funds in securities class actions suits arising
  from material misstatements in Registration Statements and Prospectuses issued in connection with
  purchases of Mortgage-Backed Securities (MBS) collateralized by "toxic loans," including sub-prime,
  Alt-A and other fraudulently originated mortgages. In addition, Mr. Rehns represented a Taft-Hartley
  pension fund in a securities fraud class action against SPX Corporation arising from material
  misrepresentations about SPX's business segments, free cash flow, and $45 million of alleged insider
  sales in the weeks leading up to SPX's negative disclosure. This matter was successfully litigated and
  resulted in a $10 million cash settlement.

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   Mr. Rehns has also represented classes of consumers of both manufactured and banking products who
   had purchased defective products or had been defrauded by unfair business practices.

   Mr. Reins earned his Juris Doctorate from New York Law School in 2005 as a Dean's List recipient.
   While in law school, Mr. Rehns participated in Froessel Moot Court and was a member of the New
   York Law School Corporate & Business Law Society. Notably, Mr. Reims co-authored the first
   edition of West's Nutshell on Corporate Financial Law.

   Prior to law school, Mr. Reins received a Bachelor of Arts from Bucknell University in 2002, with a
   double major in Economics and Finance, and minors in Legal Studies and Philosophy. Mr. Rehns was
   involved in several school and philanthropic groups, including Sigma Alpha Epsilon Fraternity, Big
   Brothers/Big Sisters of America and the Dean's Student Alumni Association.

   Mr. Rehns is a resident of Cohen Milstein's New York office.

   Admissions and Affiliations

      • New York State
      • United States District Court for the Southern District of New York
      • United States District Court for the Eastern District of New York
      • United States District Court for the District of New Jersey
      • American Bar Association
      • New York State Bar Association

   Kenneth M. Rehns

  Kenneth M. Rehns joined Cohen Milstein as an Associate in April 2009 and is a member of the
  Securities Fraud/Investor Protection practice group. Prior to joining Cohen Milstein, Mr. Rehns was
  an Associate at Schoengold Sporn Laitman & Lometti, P.C. ("SSLL") where he practiced in the area of
  securities fraud.

  Mr. Reins earned his law degree from Syracuse University College of Law in 2008 graduating cum
  laude. While in law school, Mr. Rehns was an associate editor on two of the School's academic
  journals, The Syracuse Journal of International Law and Commerce and The Digest. Mr. Rehns was
  also a member of the Syracuse University Community Development Law Clinic where he assisted
  several not-for-profit organizations attain tax-exempt status and served as general counsel to both for-
  profit and not-for-profit businesses. During the summer of 2007, Mr. Rehns worked at Cohen Milstein
  in the firm's International Group.

  Before law school, Mr. Rehns received a Bachelor of Business Administration from The George
  Washington University in 2005, graduating cum laude, with a concentration in Business, Economics
  and Public Policy and a minor in Economics.

  Mr. Rehns is a resident of Cohen Milstein's New York office.




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  Admissions and Affiliations

      • State of New York
      • State of New Jersey
      • United States District Court for the Southern District of New York
      • United States District Court for the District of New Jersey
      • New York State Bar Association
      • New York County Lawyers Association

  Bruce F. Rinaldi

  Bruce Rinaldi, who has over 32 years of ERISA class action and fiduciary litigation experience, joined
  the Firm in 2004 as Of Counsel and is a member of the Employee Benefits practice group.

  While at the Firm, Mr. Rinaldi has been exclusively engaged in ERISA class action practice, during
  which time he has litigated several dozen fiduciary breach cases, including the following reported
  decisions: Hargrave v. TXU Corp., 392 F.Supp.2d 785 (N.D. Tex. 2005); In re Merck & Co., Inc.
  Securities, Derivative & ERISA Litigation, 2009 WL 331426 (D.N.J. 2009); In re Marsh ERISA
  Litigation, 2006 WL 3706169 (S.D.N.Y. 2006); In re Beacon Associates Litigation, 282 F.R.D. 315
  (S.D.N.Y. 2012); In re Pfizer Inc. ERISA Litigation, 2009 WL 749545 (S.D.N.Y. 2009); and Banyai v.
  Mazur, 205 F.R.D. 160 (S.D.N.Y. 2002). Mr. Rinaldi also participated in the litigation of the following
  ESOP class actions: Hans v. Tharaldson, 2011 WL 6937598 (D.N.D. 2011); Beam v. HSBC Bank, No.
  02-CV-0682E(SR) (E.D.N.Y. 2002); and Chesemore v. Alliance Holdings, Inc., 886 F.Supp.2d 1007
  (W.D. Wis. 2012).

  Prior to joining Cohen Milstein, Mr. Rinaldi worked for four years as the principal ERISA trial counsel
  for McTigue Law Firm, during which time he participated in the litigation of the following reported
  and unreported ERISA class actions: In re McKesson HBOC, Inc. ERISA Litigation, 2002 WL
  31431588 (N.D. Cal. 2002); In re CMS Energy ERISA Litig., 312 F. Supp. 2d 898 (E.D. Mich. 2004);
  Koch v. Dwyer, 2001 U.S. Dist. LEXIS 4085 (S.D.N.Y. 2001); Blyer v. Agee, CV -97-6332 BLW (D.
  Idaho 1999); Sherrill v. Federal-Mogul, Civ. No. 04-72949 (E.D. Mich. 2004); and In re Xerox Corp.
  ERISA Litigation, Civ. No. 3:02CV01138(AWT) (D. Conn. 2002).

  Before entering private practice, Mr. Rinaldi spent over 20 years in government conducting complex
  fiduciary litigation, first under ERISA and later under the Financial Institutions Reform, Recovery, and
  Enforcement Act ("FIRREA"). Beginning in 1980, Mr. Rinaldi worked for ten years in the Office of
  the Solicitor of Labor as the Supervisory Trial Attorney, where he litigated Donovan v. Fitzsimmons
  (N.D. Ill.), negotiating and drafting a consent decree governing the management of billions of dollars
  in assets of the Teamsters Central States Pension Fund, which remains in effect today. Mr. Rinaldi also
  conducted a four month trial of allegations of ERISA fiduciary breaches with respect to the Teamsters
  Central States Health and Welfare Fund in Brock v. Robbins (D.C. N.D. Ill.).

  Additionally, he managed the following reported ERISA cases for the Department of Labor: Martin v.
  Consultants & Administrators, Inc., 966 F.2d 1078 (C.A.7 (Ill.) 1992); Whitfield v. Cohen, 682 F.Supp.
  188 (S.D.N.Y. 1988); Brock v. Robbins, 830 F.2d 640 (C.A.7 (Ill.) 1987); and Reich v. Valley National
  Bank, 837 F. Supp. 1259 (S.D.N.Y. 1993) (one of the first actions by the Department challenging the
  valuation of sponsor shares purchased by an ESOP).



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   Mr. Rinaldi also worked for the Office of Thrift Supervision ("OTS") for ten years in the 1990s as the
   Associate Chief Counsel for Litigation, a position in which he directed investigations and enforcement
   actions under FIRREA for fiduciary breaches arising out of failures of thrifts and savings and loan
   organizations. He directed all of the enforcement actions taken by the OTS against officers, directors,
   accountants, and attorneys associated with Lincoln Savings and Loan Association and United Savings
   Association of Texas, the two largest thrift failures in history. See In re American Continental
   Corp./Lincoln Say. & Loan Securities Litigation (D. Ariz.).

   Before joining the government, Mr. Rinaldi clerked for United States District Judge James A. Walsh in
   Tucson, Arizona, and taught at the University of Arizona School of Law. After spending three years as
   a Peace Corps volunteer in Venezuela, Mr. Rinaldi earned a B.A. in Political Science from the
   University of California at Berkeley in 1969 and received a J.D. from the University of California at
   Davis (King Hall) in 1972.

   Sharon K. Robertson

  Sharon K. Robertson joined Cohen Milstein as an Associate in 2007 and is a member of the Antitrust
  practice group.

  Ms. Robertson currently represents Registered Nurses employed by hospitals in Albany, Detroit and
  Memphis in lawsuits alleging that their employers unlawfully fixed their wages in violation of federal
  antitrust laws. Ms. Robertson is also working on In re Urethane Antitrust Litigation (Polyether Polyol
  Cases) (D. Kan.), where she represents a class of direct purchasers of several types of chemicals who
  allegedly were overcharged as a result of a nationwide price-fixing and market allocation conspiracy.
  One defendant, Bayer, already has settled for $55.3 million and is providing cooperation pursuant to its
  obligations under the settlement agreement.

  Ms. Robertson also represents Indonesian villagers in a lawsuit against Exxon Mobil over torture and
  extrajudicial killings allegedly committed by the defendant's security forces (a unit of the Indonesian
  military).

  Before attending law school, Ms. Robertson worked on the campaign committee of Councilman John
  Liu, the first Asian-American to be elected to New York City's City Council.

  During law school, Ms. Robertson served as an Alexander Fellow. In that capacity, she spent a
  semester interning full-time for the Honorable Shira A. Scheindlin, United States District Court for the
  Southern District of New York. She was also an intern in the Litigation Bureau of the Office of the
  New York State Attorney General and the United States Court of Appeals for the Second Circuit.

  Ms. Robertson graduated from the State University of New York at Binghamton, where she received a
  B.A. in Philosophy, Politics and Law (magna cum laude, 2003). She received her law degree from the
  Benjamin N. Cardozo School of Law (J.D., 2006). She served as Notes Editor of the Cardozo Public
  Law, Policy and Ethics Journal.

  Ms. Robertson is admitted to practice in New York and New Jersey.




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  Peter Romer-Friedman

  Peter Romer-Friedman joined Cohen Milstein in 2009 as an Associate and is a member of the Civil
  Rights & Employment practice group.

  Since 2009, Mr. Romer-Friedman has served as a key member of lead or co-lead counsel in securing
  victories in several groundbreaking civil rights class actions, including: (1) Keepseagle v. Vilsack,
  where thousands of Native American farmers and ranchers nationwide obtained a settlement with the
  U.S. Department of Agriculture (USDA) that provides $760 million in damages to compensate the
  farmers for racial discrimination under the USDA's farm loan program since 1981 and reforms the
  USDA's programs; (2) Greater New Orleans Fair Housing Action Center v. U.S. Department of
  Housing & Urban Development (HUD) and the State of Louisiana, where two fair housing groups and
  20,000 African-American homeowners in New Orleans challenged Louisiana and HUD's $11 billion
  post-Katrina housing rebuilding program that discriminated against African Americans, and obtained
  over $470 million in voluntary reforms and $62 million in a settlement that primarily benefited
  African-American homeowners; (3) Hill v. U.S. Postal Service, where disabled veterans who were
  asked by the U.S. Postal Service to provide medical documentation prior to conditional offers of
  employment in violation of federal law, won an $11 million settlement that reforms the Postal
  Service's practices and protects disabled veteran applicants' rights. In addition, Mr. Romer-Friedman
  helped to defeat Wal-Mart's motion to dismiss in a class action lawsuit challenging Wal-Mart's sex
  discrimination in regions that include California, to defeat a decertification motion in the Tyson Foods
  Multi-District Litigation, which later resulted in a $32 million settlement in 2011 for poultry workers
  who were unlawfully denied overtime compensation, and helped to win a summary judgment order
  finding that the Equal Rights Center has organizational standing to challenge Equity Residential's
  nationwide pattern or practice of accessibility violations in multi-family housing units.

  In 2011, Mr. Romer-Friedman and other members of class counsel in Keepseagle v. Vilsack, were
  finalists for Public Justice's "2011 'Trial Lawyer of the Year Award." Furthermore, in 2011 the
  National Law Journal selected Cohen Milstein to its "2011 Plaintiffs' Hot List," and profiled the work
  of Mr. Romer-Friedman and his colleagues in Keepseagle v. Vilsack and GNOFHAC v. HUD.

  Prior to joining the firm, Mr. Romer-Friedman served as labor counsel for the U.S. Senate Committee
  on Health, Education, Labor and Pensions and its Chairman, Senator Edward M. Kennedy. Mr.
  Romer-Friedman assisted Chairman Kennedy and other Senators in drafting legislation, speeches, and
  regulatory comments, and holding hearings on a range of labor, employment, and civil rights issues.

  Prior to his work in the Senate, Mr. Romer-Friedman served as a law clerk to the Honorable Stephen
  Reinhardt of the U.S. Court of Appeals for the Ninth Circuit in Los Angeles.

  Mr. Romer-Friedman currently serves as an Associate Trustee of the Washington Lawyers' Committee
  for Civil Rights & Urban Affairs.

  Mr. Romer-Friedman graduated from the University of Michigan at Ann Arbor with a B.A. in Honors
  Economics and Social Science (cum laude and Phi Beta Kappa, 2001) and Columbia Law School
  (J.D., 2006), where he was a James Kent Scholar and a Harlan Fiske Stone Scholar. While at
  Columbia, Mr. Romer-Friedman served as managing editor of the Columbia Journal of Law & Social
  Problems, authored a Note, Eliot Spitzer Meets Mother Jones: How State Attorneys General Can
  Enforce State Wage and Hour Laws, 39 Colum. J.L. & Soc. Probs. 495 (2006), and was an extern to
  the Honorable Shira Scheindlin, U.S. District Court for the Southern District of New York. In

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   addition, he was the recipient of the Emil Schlesinger Labor Prize and the ABA-BNA Award for
   Excellence in the Study of Labor and Employment Law.

   While at Michigan, he received the national Harry S. Truman Scholarship for Public Service and co-
   founded the Worker Rights Consortium, a non-profit organization that monitors labor rights in apparel
   factories worldwide.

  Prior to law school, Mr. Romer-Friedman was a Legislative Representative for the United
  Steelworkers of America, and worked for several other labor organizations, including the AFL-CIO,
  UNITE!, and SEIU.

  Mr. Romer-Friedman is admitted to practice in New York and the District of Columbia.

  Mark Samburg

  Mark Samburg, an Associate at the Firm, joined Cohen Milstein in 2012 and is a member of the Public
  Client practice group.

  Prior to joining Cohen Milstein, Mr. Samburg clerked for the Honorable Leonard I. Garth of the
  United States Court of Appeals for the Third Circuit. He previously spent a year clerking for two
  Associate Justices of the Supreme Court of the State of Connecticut.

  Mr. Samburg graduated from Brandeis University in 2007 with a B.A., summa cum laude, in History
  and Politics, and received his J.D., cum laude, from Harvard Law School in May 2010. During law
  school, he served as President of the Harvard Defenders and worked with several defenders and capital
  defense organizations. As a student-attorney in the Harvard Criminal Justice Institute, Mr. Samburg
  carried a criminal defense caseload in the Boston court system. Mr. Samburg was also co-Editor-in-
  Chief and co-President of the Harvard Journal on Legislation, and a member of the General Board of
  the Harvard Civil Rights and Civil Liberties Law Review. He is the author of "Cruel and Unusual?
  The Bifurcation of Eighth Amendment Inquiries after Baze v. Rees," 44 HARV. C.R.-C.L. L. REV
  213. At the conclusion of law school, he received the Andrew L. Kaufman Pro Bono Service Award
  and the Dean's Award for Community Leadership.

  Mr. Samburg is admitted to practice in the Commonwealth of Massachusetts and the United States
  Court of Appeals for the Third Circuit. His admissions to practice in the District of Columbia and the
  State of New York are pending.

  Abby Shafroth

  Abby Shafroth joined Cohen Milstein as an Associate in 2010 and is a member of the Civil Rights &
  Employment practice group.

  Prior to joining the firm, Ms. Shafroth was a fellow and associate counsel for the Lawyers' Committee
  for Civil Rights Under Law in the Fair Housing and Employment Discrimination Projects, where she
  litigated complex civil rights cases challenging exclusionary zoning and employment discrimination.
  She also served as a law clerk for the Honorable Richard A. Paez of the United States Court of Appeals
  for the Ninth Circuit.

  Ms. Shafroth graduated from Harvard College with an A.B. in Psychology (cum laude, 2004) and
  Harvard Law School (cum laude, 2008). During law school, Ms. Shafroth served as Articles Editor for




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   the Harvard Law Review and as Editor for the Civil Rights - Civil Liberties Law Review. She also
   assisted in the employment civil rights group at the WilmerHale Legal Services Center and worked
   with Ghana Legal Services in studying local health care delivery in rural Ghana. In addition, Ms.
   Shafroth spent summers working with the Lawyers' Committee for Civil Rights Under Law,
   Covington & Burling, and the Civil Rights Bureau of the New York State Office of the Attorney
   General.

   Ms. Shafroth is admitted to practice in New York, the District of Columbia, and the United States
   Court of Appeals for the Second Circuit.

   Daniel Silverman

   Daniel Silverman, an Associate at the Firm, joined Cohen Milstein in 2012 as a member of the
   Antitrust Practice Group.

  Prior to joining the firm, Mr. Silverman was an Associate at Spiegel & McDiarmid where he
  represented public sector clients in energy-related fields before the Federal Energy Regulatory
  Commission, state public utility commissions, and federal appellate courts. Mr. Silverman also served
  as the Executive Director of Legal Economics, LLC, a firm specializing in the analysis of complex
  economic issues related to legal issues that is based in Harvard Square, Cambridge, Massachusetts. At
  Legal Economics, he supported expert economic testimony in a variety of antitrust matters involving
  horizontal price-fixing, mergers, and loyalty discounts in industries ranging from healthcare and
  computer hardware to live music promotion.

  Mr. Silverman graduated from Brown University in 2005 with a B.S. in Physics (magna cum laude,
  Phi Beta Kappa). Mr. Silverman received his J.D., magna cum laude, from Harvard Law School in
  June 2010. During law school, he served as a Managing Editor of the Harvard Environmental Law
  Review and the Alumni Chair of the Harvard Environmental Law Society. Mr. Silverman also served
  as a summer associate at the U.S. Department of Justice in the Environment and Natural Resources
  Division, Law and Policy Section.

  Mr. Silverman is admitted to practice in New York and is currently practicing under the supervision of
  Daniel A. Small, a member of the D.C. Bar.

  Matthew A. Smith

  Matthew Smith, an Associate at the Firm, joined Cohen Milstein in 2013 and is a member of the
  Employee Benefits practice group.

  Prior to his employment with Cohen Milstein, Mr. Smith practiced at Cleary Gottlieb Steen &
  Hamilton LLP, where he focused on securities enforcement and pro bono matters. Mr. Smith also
  served as a judicial law clerk under the Hon. Rosemary Barkett of the United States Court of Appeals
  for the Eleventh Circuit.

  Mr. Smith graduated from Columbia University in 2006 with a B.A., cum laude, in History and
  received his J.D., magna cum laude, Order of the Coif, and an L.L.M. in International and Comparative
  Law from Duke University School of Law in 2011. During law school, he served as Notes Editor of
  the Duke Law Journal, Campus President of the International Criminal Court Student Network, and
  Co-Chair of the Human Rights Law Society. Mr. Smith interned with the United States Department of

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   Justice, Civil Rights Division and the United States District Court for the Eastern District of North
   Carolina.

   Mr. Smith is admitted to practice in New York and his application to the District of Columbia Bar is
   pending.

   Richard A. Speirs

   Richard A. Speirs joined Cohen Milstein as Of Counsel in 2010 and is a member of the Securities
   Fraud/Investor Protection practice group. For the past ten years, Mr. Speirs was a partner at Zwerling,
   Schachter & Zwerling, LLP.

   At his former firm, Mr. Speirs served as lead or co-lead counsel in numerous securities fraud class
   actions throughout the United States. Mr. Speirs successfully litigated numerous national securities
   class actions as lead counsel, achieving significant recoveries for investors. Mr. Speirs was also lead
   or co-lead attorney in several cases where the court issued a seminal decision involving the following
   subjects: (i) the improper grouping of unaffiliated investors in a lead plaintiff motion; (ii)
   recommendation of default sanction against auditing firm for discovery misconduct involving
   electronic audit workpapers; and (iii) the liability under Section 10(b) of a non-issuer for disclosures
   made by the issuer. Among the successful cases litigated by Mr. Speirs are: In re BP Prudhoe Bay
   Royalty Trust Securities Litigation, (W.D. Wa.) ($43.5 million recovery); In re First BanCorp
   Securities Litigation, (D.P.R.) ($74.5 million recovery); In re Telxon Corp. Securities Litigation, (N.D.
   Ohio) ($40 million recovery); and Hayman v. PricewaterhouseCoopers, LLP, (N.D. Ohio) ($27.9
   million recovery). Mr. Speirs has over twenty years of experience representing investors in cases
   involving complex financial, accounting and auditing issues. He has also represented investors who
   were victims of fraudulent Ponzi schemes and the sale of unregistered securities. Mr. Speirs also has
   substantial experience in stockholder, litigation involving corporate takeovers and in derivative
   actions.

   Mr. Speirs was admitted to the bar of the State of New York in 1986; he is admitted to the following
   federal courts: the United States District Court for the Southern and Eastern Districts of New York,
   and the United States Court of Appeals for the Second, Ninth and Tenth Circuits. He is a member of
   the New York State Bar Association. In January 2007 Mr. Speirs was a panelist at the Public Funds
   Summit and spoke on the topic of Alternative Investments: Regulatory Landscape and Lessons from
   the Ashes.

   Education: Brooklyn College of the City University of New York in 1976 cum laude; Brooklyn Law
   School J.D. 1985 (Order of the Coif).

   Catherine A. Toren

   Catherine A. Torell is the Director of Securities Research And Analysis at Cohen Milstein. She joined
   the Firm in 2002 and is a member of the Securities Fraud/Investor Protection practice group.

   Currently, Ms. Torell is involved in the In re Parmalat Securities Litigation (S.D.N.Y.) in which
   Cohen Milstein serves as co-lead Counsel. She also conducts investigations of securities fraud cases
   for the practice group, working with all of its litigators.


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   Prior to joining Cohen Milstein, Ms. Torell was associated with the firm of Entwistle & Cappucci LLP,
   where she served as one of co-lead counsel in In re Providian Financial Securities Litigation ($38
   million settlement). In approving the settlement, the Court remarked on the "extremely high quality"
   and "skill and efficiency" of plaintiffs' counsel's work throughout the litigation. Ms. Torell also was
   previously associated with Goodkind Labaton Rudoff & Sucharow LLP, where she served as counsel
   to the New York City Pension Funds in In re Orbital Sciences Corp. Securities Litigation ($22.5
   million settlement), and was a key member of the litigation team that successfully resisted defendants'
   efforts to dismiss the case. Ms Torell also served as counsel to the Florida State Board of
   Administration in LaPerriere v. Vesta Insurance Group, et al., and as counsel to Amalgamated Bank
   of New York in In re Bristol-Myers-Squibb Securities Litigation ($61 million settlement).

   Ms. Torell received a B.A. in Political Science from Stony Brook University (1984) and her law
   degree from St. John's University School of Law (1990) where she was the recipient of the Federal
   Jurisprudence Award.

   Ms. Torell is admitted to practice in New York.

   David Young

   David Young joined Cohen Milstein as an Associate in 2010. He is a member of the Antitrust practice
   group. Mr. Young has extensive experience in complex antitrust litigation, class actions, federal False
   Claims Act litigation, and appeals.

   Mr. Young represents businesses and individuals in federal and state civil actions, with a focus on
   multi-district class actions and federal False Claims Act litigation. He has worked on antitrust issues
   in numerous industries, including pharmaceuticals, financial services, financial derivatives, and PC
   microprocessors. Mr. Young also represents qui tam relators in federal False Claims Act litigation.

   Prior to joining Cohen Milstein, Mr. Young practiced at Arnold & Porter LLP's and Heller Ehrman
   LLP's Washington, D.C. offices. His litigation practice focused on antitrust, trademark, business, and
   False Claims Act litigation. He represented the relator in U.S. ex rel. Loughren v. UnumProvident
   Corp. (D. Mass), where a jury found that UnumProvident violated the False Claims Act by causing the
   submission of false claims for social security disability benefits. He also represented U.S. trademark
   holders suing to prevent the illegal importation of products bearing their marks in federal court and
   administrative actions. Mr. Young has represented pro bono clients in discrimination actions before
   the D.C. Circuit and D.C. District courts, including successfully arguing for reversal of the district
   court's dismissal of his client's case in Miller v. Hersman, 594 F.3d 8 (D.C. Cir. 2010).

   Mr. Young graduated from Bridgewater College with a B.A. in Physics (2001) and from Harvard Law
   School (J.D., 2006), where he served as an Executive Editor for the Harvard Civil Rights-Civil
   Liberties Law Review. He also represented clients in disability and discrimination cases as a member
   of Harvard's clinical programs, worked as a research assistant for Professor Christine Jolls, and
   volunteered as a summer legal intern at the Whitman-Walker Clinic in Washington, D.C.

   Mr. Young is admitted to practice in Washington, D.C. and New York, as well as in the U.S. Court of
   Appeals for the D.C. Circuit, the U.S. Court of Appeals for the Federal Circuit, and the U.S. District
   Court for the District of Columbia. He is a member of the ABA Section of Antitrust Law.


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                             EXHIBIT 2




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    Cohen Milstein Sellers & Toll PLLC
    Countrywide (75260-001)
    ExpenseSummary By Type
    From Inception to 8/31/2013



    Exp Code                  Expense Type               Amount
               In-house Duplicating                      1,757.90
               Outside Duplicating                      13,480.21
               Duplication AudioNideo Tape               2,362.28
               Duplication Audio/Video Tape              2,704.42
               Long Distance Tele. (Internal)              816.05
               Long Distance (Third Party)               2,461.62
               Postage                                     591.54
               Local Courier                               718.66
               Air Courier                               7,305.14
               Complaint Filing Fee                        362.49
               Process Server Fee                        6,597.50
               Other Court Fees                          1,803.75
               Court Reporter Fees                      21,257.85
               Transcripts                                 562.80
               Lexis                                    18,336.33
               Other Computer Services                 499,980.75
               Travel Transportation
                      -                                 59,191.24
               Travel Hotel
                      -                                 22,523.20
               Travel Taxis, Tips
                      -                                  5,093.86
               Travel Meals
                      -                                  6,021.89
               Travel Long Dist. Telephone
                      -                                    842.61
               Travel Miscellaneous
                      -                                     92.00
               Travel Parking Charges
                      -                                    752.00
               Local Transportation                      4,745.34
               Expert Witness/Consultant                 7,000.00
               Professional Services                 1,103,082.21
               Supplies                                  1,366.14
               Business Meals                              643.53
               Conference Room Meetings Use                209.75
               Supplies (Extraordinary)                    399.00
               Grand Total                           1,793,062.06




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                             EXHIBIT 3




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    Cohen Milstein Sellers & Toll PLLC
    Countrywide (75260-001)
    Time Detail Valued At Current Rates
    From Inception to 8/31/2013
                                                      Current
                                           Total      Hourly    Current
       Tkr#        Timekeeper Name         Hours       Rate     Lodestar
    032       Kaplan, Matthew, B.            503.25    495.00     249,108.75
    099       Bunch, Stephen, D.             252.75    440.00     111,210.00
     1151     Saltzman, Jay                1,914.25    510.00     976,267.50
     1168     Fisher, Ben                    261.25    220.00      57,475.00
     1176     Wright, Tremaine             1,390.75    405.00     563,253.75
     1182     Showman, Wallace             2,497.25    490.00   1,223,652.50
    1183      Pollydore, Anwar               274.75    225.00      61,818.75
     1186     Butler, Michael              2,020.00    490.00     989,800.00
    1194      Elstein, Jason                  46.00    400.00      18,400.00
     1199     Morgan, Shawne                  30.00    430.00      12,900.00
    1218      Barevadia, Zarna                53.50    275.00      14,712.50
    1219      Anwar, Amer, J.                339.80    350.00     118,930.00
    1223      McBride, Michael               363.50    230.00      83,605.00
    1232      DiBari, Briana               1,019.75    310.00     316,122.50
    1234      Snyder, Matthew, G.          2,197.25    380.00     834,955.00
    1247      Passaretti, Katie            1,293.25    310.00     400,907.50
    1248      Hall, Elizabeth, M.             38.50    420.00      16,170.00
    1252      Rutherford, Christian, D.    1,784.00    375.00     669,000.00
    1257      Pearlman, Rhonda-Jo            377.00    385.00     145,145.00
    1258      Spiers, Brigitta             1,937.75    385.00     746,033.75
    1264      Collins, Tarique, N.           406.75    325.00     132,193.75
    1265      Drozd, Joanna                  861.50    325.00     279,987.50
    1266      Priveterre, Joyce Campbell     631.35    445.00     280,950.75
    1267      Ayarza, Seth                   887.50    290.00     257,375.00
    1268      Tesar, Ann-Marie               871.00    375.00     326,625.00
    1272      Doebele, Daniel, J.            785.50    450.00     353,475.00
    1273      Pietrofesa, Charles, L.        592.75    350.00     207,462.50
    1275      Chung, Evan, C.                988.75    290.00     286,737.50
    134       Gregory, ShellyAnn              20.00    225.00       4,500.00
    138       Gilden, Carol, C.               30.25    735.00      22,233.75
    150       Toll, Steven, J.             1,078.76    835.00     900,764.60
    326       Armstrong, Laura               201.00    225.00      45,225.00
    346       Edmonds, Lionel                145.00    220.00      31,900.00
    402       Lu, John                       278.50    245.00      68,232.50
    418       Kolsky, Joshua                  88.25    440.00      38,830.00
    442       Devore, Joshua, S.             835.06    570.00     475,984.20
    458       Reiser, Julie, G.            2,212.00    610.00   1,349,320.00
    466       Lometti, Christopher         1,129.75    760.00     858,610.00
    467       Laitman, Joel, P.              300.25    760.00     228,190.00
    469       Rehns, Kenneth                 891.50    415.00     369,972.50
    470       Rehns, Daniel                4,336.45    480.00   2,081,496.00
    477       Abetti, Jonathan                18.00    245.00       4,410.00
    481       Eisenkraft, Michael             36.25    515.00      18,668.75
    483       Lee, JiHoon                  1,071.25    255.00     273,168.75
    487       Conway, Charles                 10.00    245.00       2,450.00
    491       Sutter, Daniel                 112.25    245.00      27,501.25
    492       Cook-Mack, Abigail              88.75    230.00      20,412.50
    494       Piggot-Tooke, Katherine         37.20    230.00       8,556.00




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    Cohen Milstein Sellers & Toll PLLC
    Countrywide (75260-001)
    Time Detail Valued At Current Rates
    From Inception to 8/31/2013
                                                      Current
                                           Total      Hourly     Current
      Tkr#         Timekeeper Name         Hours       Rate      Lodestar
    495       Aniskevich, Elizabeth          18.00     235.00       4,230.00
    497       Wong, Debra                    64.00     240.00      15,360.00
    499       Speirs, Richard               666.00     760.00     506,160.00
    642       Wentworth, Ariel               40.50     245.00       9,922.50
    647       Gaffney, Tyler                364.75     245.00      89,363.75
    663       Clark, Cameron                 60.25     245.00      14,761.25
    668       Vance, Shayda                  83.25     240.00      19,980.00
    682       Lavie, Shay                    59.75     240.00      14,340.00
    693       McBride, Michael              520.25     255.00     132,663.75
    697       Bournazian, Thea              101.75     410.00      41,717.50
    698       Aniskevich, Elizabeth, A.     436.00     330.00     143,880.00
    906       Rama, Imelda, A.               47.00     250.00      11,750.00

              Total                       40,001.62             17,568,829.05




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                             EXHIBIT 4




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            Michael P. Butler
             Michael P. Butler is a graduate of New York University, where he graduated summa cum
     laude with a degree in Philosophy. He graduated cum laude from Tulane Law School and was
     the Associate Editor of the Tulane Maritime Law Journal. Upon graduation, Mr. Butler served
     as a law clerk in the Superior Court for the District of Columbia, responsible for a Civil Docket.
              In the subsequent twenty-plus years since his time clerking, Mr. Butler has obtained
     extensive complex litigation experience. Serving for almost a decade as an Appellate Attorney
     in the Office of the General Counsel for the Department of Veterans Affairs, Mr. Butler was
     responsible for all aspects of appellate representation, including brief writing and oral arguments
     before the Court of Veterans Appeals. He has spent his time since focused on complex litigation,
     including various high-profile securities cases—such as cases against Tyco and Merrill Lynch
     while at Boies, Schiller, Flexner and Skadden Arps, respectively. In Tyco, Mr. Butler reviewed
     all the financial documents related to the M&A policy of Tyco, in addition to the documents of
     Tyco's auditors. In the Merrill Lynch action, Mr. Butler participated in the review of Merrill's
     CDO/CLO/CDS investments in sub-primate mortgages. Gaining experience with investments in
     sub-prime mortgages in the Merrill Lynch case, and Mr. Butler's work on a separate action
     against Countrywide, allowed him to immediately begin substantively contributing when he
     began work on this action.
             Since 2010, Mr. Butler has litigated multiple MBS cases with Cohen Milstein working on
     the Residential  Capital, Harborview (Royal Bank of Scotland) and Washington Mutual MBS
     matters prior to joining the Countrywide MBS discovery team in March 2012. In this case, Mr.
     Butler was one of the discovery team leaders. He was charged with oversight of approximately
     three to four contract attorneys at any given time. Mr. Butler, worked on projects including:
     drafting memoranda that summarized Defendants' document productions and subsequently
     drafted production deficiency letters. Mr. Butler was also responsible for narrowing down the
     universe of the documents for review in the New York Funds based on search terms determined
     to be most relevant to issues in Maine State. Mr. Butler also prepared analyses and timelines
     designed to reveal Defendants' departures from stated underwriting guidelines in the Prospectus
     Supplements for the eight actionable tranches.
            Briana DiBari
             Briana DiBari received her B.S. in Political Science from Santa Clara University and her
     J.D. from The Catholic University of America, Columbus School of Law where she was the Note
     and Comment Editor of the Journal of Communications Law and Policy. After graduation, Ms.
     DeBari worked both as a Judicial Intern with the Superior Court of the District of Columbia and
     as a Law Clerk with the United States Attorney's Office for the District of Columbia.
            Prior to her involvement in this Litigation, Ms. DeBari gained relevant experience
     through her work on another mortgage-backed securities litigation matter. In this Litigation, Ms.
     DeBari reviewed due diligence and offering materials for adequacy of disclosures.
            Prior to being retained by Cohen Milstein, Ms. DeBari worked on several cases involving
     complex financial products—including participating in a commercial litigation document review
     for a major US financial institution, which involved analyzing documents to determine whether
     payment obligations were triggered, and reviewing collateral calls, balance sheets, interest rate
     swap spreads, technical research, and swap unwinds. During Ms. DiBari's time with the firm,




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     she supervised a team of document reviewers and developed search protocols and processes for
     locating relevant and useful documents from the New York Funds matter. Ms. DiBari was
     responsible for reviewing, coding and gathering particular deal-related documents and trustee-
     issued monthly financial reports where her expertise allowed her to monitor trigger events and
     analyze where payment obligations were not being met. In addition, Ms. DiBari digested
     numerous deposition transcripts. She subsequently drafted memoranda recommending whether
     to re-depose a particular witness in the Litigation.
            Daniel J. Doebele
             Daniel J. Doebele graduated from the University of Delaware with a B.S. in Economics,
     obtained his J.D. from Widener University School of Law and his M.B.A. from New York
     University Leonard N. Stern School of Business. Graduating cum laude from Widener, he
     participated in Law Review and was a member of the Moot Court Honor Society.
             Mr. Doebele is an experienced attorney and seasoned mortgage-backed securities and
     structured products finance professional. With six years of experience as a litigator and eight
     years of experience in trading and banking roles related to residential mortgage-backed securities
     and structured products, Mr. Doebele's skills were instrumental to the development of legal and
     factual theories.
              Mr. Doebele is a Registered Securities Representative (Series 7 & 63), and in his most
     recent financial position acted as Vice-President at Cantor Fitzgerald at the Debt Capital
     Markets, Mortgage Backed Securities Trading Desk. While at Cantor Fitzgerald, Mr. Doebele
     had a range of responsibilities that enabled him to provide invaluable insight. He had experience
     with the Mortgage Backed Securities Trading Desk and the Asset Backed Securities Trading
     Desk. In both, he focused on non-investment or low investment grade rated asset securitizations;
     analyzed the potential likelihood of asset performance improvement or deterioration; received
     extensive training in fixed income analytics and the fundamentals of mortgage-backed securities;
     as well as completed the division's first MBA fixed income sales and trading training class. As a
     litigator, Mr. Doebele's experience is wide-ranging—he has argued motions, drafted pleadings
     and discovery documents, taken and defended depositions, and led internal investigations. Mr.
     Doebele also had previously worked on a large-scale document review in a securities fraud class
     action.
            In this case, Mr. Doebele focused on the modeling and analytics of Countrywide MBS to
     evaluate the performance of the underlying collateral broadly and with respect to particular loans
     and loan groups. Significantly, Mr. Doebele created a pricing database, using publicly available
     information and information from documents produced by Defendants in the New York Funds
     and Maine State actions. In addition, Mr. Doebele analyzed non-party pricing and trade data
     produced by third-party market makers in connection with class certification discovery.
            Joanna Drozd
             Ms. Drozd graduated cum laude with her B.A. from New York University, and received
     her J.D. from the University of California, Hastings College of the Law.
             During law school, Ms. Drozd served as a judicial extern for the Honorable Sheri
     Bluebond in the United States Bankruptcy Court for the Central District of California and was
     also the Lead Notes Editor for the Hastings Constitutional Law Quarterly.



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              Ms. Drozd's experience includes complex civil litigation in a variety of fields. She has
     managed complex defense litigation for multiple clients and has participated in all phases of
     litigation from initial evaluation though trial. Ms. Drozd has drafted and argued all manner of
     motions, deposed expert witnesses, prepared for and appeared at trial, propounded and responded
     to discovery, and negotiated settlements. Ms. Drozd's clients have ranged from Fortune 100 and
     large private companies to hospitals and doctors.
             Cohen Milstein retained. Ms. Drozd primarily to assist with depositions. Ms. Drozd was
     the lead attorney on the deposition preparation team, responsible for coding thousands of
     documents produced by Defendants, selecting documents for witness binders, drafting deposition
     outlines and preparing attorneys for the 30(b)(6) depositions taken in this litigation. Ms. Drozd
     also worked extensively on drafting Plaintiffs requests for production, requests for admission and
     interrogatories to Defendants, as well as reviewing and summarizing Defendants' responses to
     the same.
            Christian D. Rutherford
             Mr. Rutherford earned his J.D. from Columbia University School of Law, his M.P.A.
     from New York University and his B.A. from Brown University. While at Columbia, Mr.
     Rutherford was the Editor-in-Chief and Articles Editor for the National Black Law Journal as
     well as a C. Bainbridge Smith Fund Scholar.
             Since 2005, Mr. Rutherford has worked on a variety of complex litigation matters,
     including representing clients in Department of Justice, Securities and Exchange Commission
     and State Attorneys General investigations. Mr. Rutherford is an experienced litigator—he has
     researched and drafted a motion to dismiss in a directors' derivative class action suit; drafted
     client affidavits; prepared deposition outlines and conducted deposition preparation sessions;
     prepared clients' responses to discovery requests; prepared document review protocol and
     supervised review of .evidence; assisted with drafting various motions, including summary
     judgment motion, answers, and replies; drafted jury instructions; assisted with mock jury
     exercises and other trial preparation; coordinated document collections and reviews; conducted
     witness interviews; coordinated clients' productions in response to various subpoenas; and
     researched legal bases for clients' potential liability.
             Mr. Rutherford was familiar with complex financial instruments prior to becoming part
     of the Discovery Team because of his work in credit-default swap litigation. In this action, Mr.
     Rutherford's duties included document review, coding and analysis. In particular, he took the
     lead in overseeing information related to the process by which Countrywide underwrote the
     loans at issue using correspondent lenders and the CLUES automated system. Mr. Rutherford
     was also responsible for drafting memoranda regarding Countrywide's securitization process,
     including how loans were selected for the securitizations at issue, how Countrywide's due
     diligence process worked and the process by which Countrywide engaged outside underwriters.
     Mr. Rutherford also worked in conjunction with other reviewers on digesting deposition
     transcripts and coded documents for use in responding to contention interrogatories and requests
     for admission.
            Jay P. Saltzman
             Mr. Saltzman graduated from Columbia University with a B.A. and was on the Dean's
     List throughout his attendance. Mr. Saltzman earned an M.B.A. with a major in Corporate


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     Finance from New York University's Stern School of Business. He then received his J.D. degree
     from the Benjamin N. Cardozo School of Law in 1994, and was a member of the Cardozo Law
     Review. While at Cardozo, Mr. Saltzman also interned with the New York State Attorney
     General's Office and with the Lawyers' Committee for Human Rights.
            From 1994 through 2010, when Mr. Saltzman founded his own firm, he was associated
     with the law firm Schoengold & Sporn, P.C., founded in 1962. During his entire career, Mr.
     Saltzman has specialized in representing victims of consumer and securities fraud. During that
     time, Mr. Saltzman materially contributed to the litigation of dozens of highly complex securities
     class and derivative actions and consumer class actions throughout the country and helped
     recover hundreds of millions of dollars for injured shareholders and consumers.
             These cases included numerous successful securities and consumer class actions,
     including In re WorldCom, Inc. Securities Litigation (S.D.N.Y.), which settled in 2005 for over
     $6.13 billion, among the largest securities fraud settlements of all time; Dewey v. Volkswagen of
     America (D.N.J.) (benefits to consumer class valued at $69,277,430); Silberblatt v. Morgan
     Stanley Dean Witter & Co. (S.D.N.Y.) (recovering 100% of consumers' claimed overcharges for
     storage of silver bullion); Danis v. USN Communications, Inc. (N.D. Ill.) ($44.7 million
     recovery); In re PNC Financial Services Group, Inc. Securities Litigation (W.D. Pa.) ($46.675
     million recovery); In re Harmonic Inc. Securities Litigation (N.D. Cal.) ($15 million recovery);
     In re Datascope Corp. Securities Litigation (D.N.J.) ($10.5 million recovery); In re Tidel
     Technologies, Inc. (S.D. Tex.) ($4.05 million recovery in cash and stock); Singer v. Nicor, Inc.,
     02-CV-5168 (N.D. Ill.) ($39 million recovery); In re Westar Energy, Inc. Securities Litigation,
     03-cv-4003-JAR (D. Kan..) ($30 million recovery); and In re APAC Teleservices, Securities
     Litigation, 97-CV-9145 (S.D.N.Y) ($21 million recovery); Kriegel v. Pacific Scientific Corp., et
     al., Civil No. 98-4163 (C.D. Cal.) ($14.8 million recovery); In re Anadigics, Inc. Securities
     Litigation, 98-917 (D.N.J.) ($11.5 million recovery); Maley v. Del Global Technologies Corp.,
     00-CV-8495 (S.D.N.Y.) ($11.5 million recovery).
             Mr. Saltzman served as one of the Discovery Team leaders because of his extensive
     background in complex litigation. Mr. Saltzman helped to design protocols for consistent
     evaluation of discovery and assured seamless transitions when attorneys left or joined the
     project. Mr. Saltzman was mainly responsible for uncovering evidence supporting the
     Defendants' failure to originate mortgage loans consistent with its own underwriting guidelines
     and failure to conduct adequate due diligence. Mr. Saltzman also was deeply involved in the
     deposition process, both in determining which witnesses to depose and which exhibits to use.
     For example, Mr. Saltzman was responsible for all materials produced in connection with
     Countrywide's prior Chief Risk Officer and his staff. Mr. Saltzman also was involved in the
     preparation of exhibits for depositions of the underwriter defendants. Further, Mr. Saltzman
     assisted in various projects for mediation and in preparing detailed responses to Defendants'
     contention interrogatories and requests for admission.
            Wallace A. Showman
             Wallace A. Showman has litigated dozens of successful class actions and derivative cases
     involving securities, corporate transactions, and consumer protection over the past twenty years,
     including In re Gulf Oil/ Cities/Cities Service Tender Offer Litigation, (S.D.N.Y.); In re Marion
     Merrell Dow Inc. Securities Litigation, Sommerfield v. Tracinda (D. Nev.), In re U.S. Banknote
     Corp. Securities Litigation, (S.D.N.Y.); In re Amdahl Corp. Shareholders Litigation, (Del.


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     Ch.); In re Northeast Utilities Securities Litigation, In re ICN /Viratek Securities
     Litigation, (S.D.N.Y.); In re PaineWebber Securities Litigation, (S.D.N.Y.); ITT v. Hilton Hotels
     Corp. et al., CV-S-97-0095-PMP(RLH) (D. Nev.); In re Warner Lambert Derivative
     Litigation (Del. Ch.), In re Cendant Securities Litigation (D. N.J.), and In re Telxon Corp.
     Securities Litigation (D. Ohio). A graduate of New York University School of Law, Mr.
     Showman's securities class action expertise was invaluable in assisting this litigation.
             Since 2010, Mr. Showman has litigated MBS cases with Cohen Milstein including
     Residential Capital, Harborview (Royal Bank of Scotland) and Washington Mutual MBS. In
     March 2012, he joined the Discovery Team in his Litigation. As one of the more senior and
     experienced litigators involved in this matter, Mr. Showman was responsible for timelines that
     outlined for each transaction the due diligence performed by the investment bank and
     Countrywide Home Loans. In addition, Mr. Showman assisted in reviewing expert work and
     getting experts the documents and memoranda needed to formulate their opinions and draft their
     reports. Mr. Showman reviewed Defendants' responses to discovery requests, drafted
     memoranda and analyzed the sufficiency of those responses in light of the documents produced,
     and assisted in the preparation of deficiency letters to opposing counsel. Mr. Showman was
     involved in preparing the detailed responses to the contention interrogatories and requests for
     admission that Defendants propounded.
            Matthew G. Snyder
             Matthew G. Snyder graduated from the University of Delaware with a B.A. of
     Criminology and Political Science, and received a J.D. from The Catholic University of
     America, Columbus Law School, where he was the recipient of numerous scholarships,
     including the Public Policy Law Scholarship. Mr. Snyder began his career as a Legislative
     Affairs Staffer to then Senator and now Vice-President Joseph Biden, Jr., and then spent a year
     as a law clerk with the San Francisco County District Court.
            During his legal career, Mr. Snyder has handled complex civil litigation discovery
     matters in litigation in state and federal courts, including preparing depositions, document
     review, deposition summaries, privilege logs and reviews, working on high-profile cases such as
     Real Networks v. Microsoft; Google v. Microsoft and the US DOJ v. Microsoft.
            In addition to his legal work, Mr. Snyder is also currently a Financial Regulatory
     Consultant with Series 7 and Series 66 licenses. Mr. Snyder's regulatory work is topically
     relevant to his work on this action—he has focused on MBS securities regulations and the Dodd-
     Frank Wall Street Reform and Consumer Protection Act. Mr. Snyder has also worked on risk
     and compliance assessments related to the Office of Foreign Assets Control ("OFAC") and Anti-
     Money Laundering ("AML") regulations; he has analyzed transactions for suspicious activity;
     conducted case investigations and prepared regulatory filings; investigated and reported
     suspicious activity and fraud cases associated with a bank and its departments and subsidiaries
     by preparing Suspicious Activity Report ("SAR") filings; participated in an OFAC review, and
     researched current AML regulatory developments to ensure a bank's compliance with the same.
             Mr. Snyder assisted in the litigation of the Washington Mutual MBS matter prior to
     joining the Discovery Team in this Litigation. Mr. Snyder served as a Discovery Team leader
     overseeing the creation of offering outlines and timelines with a focus on the due diligence
     performed by the investment bank and Countrywide Home Loans. In particular, Mr. Snyder
     analyzed documents and drafted memoranda detailing the past and present investigations by


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     various governmental and non-governmental agencies into Countrywide's origination practices
     and its role in the housing crisis. Mr. Snyder also oversaw a large portion of the deposition
     preparation and coding for witness binders, and creating memoranda pertaining to those projects
     with a special focus on the Underwriter Defendants.
            Brigitta Spiers
            Brigitta Spiers received her B.A. in Political Science as well as her J.D. from Victoria
     University in Wellington, New Zealand. After starting her legal career with the Department of
     Internal Affairs for the Government of New Zealand, she has since worked with some of the
     most prominent law firms in the world, including Freshfields and Mayer Brown.
             Ms. Spiers has also developed, expertise in financial industry litigation—having worked
     on an MBS action prior to this one, as well as having litigated numerous other securities actions
     against investment banks. While a Staff Attorney at Debevoise & Plimpton, Ms. Spiers
     concentrated on internal investigations and the defense of companies and individuals accused of
     securities law violations, and drafted responses to discovery requests and memos concerning
     business practices, revenue recognition and analysis of Securities and Exchange Commission
     complaints.
            Ms. Spiers acted as the lead attorney overseeing the review and analysis of the New York
     Funds production and distributing memoranda detailing additional documents that were critical
     to proving the claims in this Litigation. Once we received the Maine State productions, Ms.
     Spiers assisted in outlining deficiencies in those productions as well as analyzing the
     responsiveness and accuracy of Defendants' discovery responses. Additionally, Ms. Spiers
     focused on documents pertaining to Mr. Spector and Mr. Kurland.
            Tremaine S. Wright
             Tremaine S. Wright received her B.A. in History from Duke University and received a
     J.D. from The University of Chicago Law School, where she was both a Grant Recipient and a
     Board Member of the Chicago Law Foundation.
             Ms. Wright's legal practice has focused on securities issues. While acting as a Corporate
     Associate at Paul, Hastings, Janofsky & Walker LLP, Ms. Wright represented companies in
     various acquisitions, corporate finance and credit transactions. To that end, she reviewed
     collateralized bond obligations, leases, license agreements, and other agreements in connection
     with those transactions. She also prepared registration statements, offering circulars and
     underwriting agreements. While acting as a Staff Attorney at Skadden, Arps, Slate, Meagher &
     Flom, LLP, Ms. Wright continued to focus on securities work. She represented companies
     facing SEC investigations of accounting and audit practices and government-initiated white-
     collar investigations. She drafted response letters, board minutes, and resolutions, and counseled
     clients on corporate governance issues, while utilizing her knowledge of the Securities Act of
     1933 and the Securities Exchange of 1934. She also focused on discovery—preparing deposition
     outlines and privilege logs, and supervising and evaluating teams of 20 to 30 attorneys in all
     phases of document review, including quality control, privilege and exhibit preparation.
             Since 2010, Ms. Wright has participated in the litigation of MBS cases including
     Residential Capital, Harborview (Royal Bank of Scotland) and Washington Mutual MBS matters.
     Here, Ms. Wright reviewed and analyzed documents pertaining to Countrywide's origination and
     securitization of mortgage loans. Ms. Wright acted as a leader among the Discovery Team with


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     respect to the review and production of the proposed class representatives' documents under very
     short time. Ms. Wright also worked on the review and coding teams that were charged with re-
     creating the timelines leading up to each of the offerings at issue, notably the due diligence that
     was conducted by the investment banks and outside diligence firms.
            Seth Ayarza
            Seth Ayarza received his J.D. from Georgetown University Law Center, where he was a
     research assistant to James Kirkle, Associate General Counsel for the Central Intelligence
     Agency.
             While working as a Summer Associate with the law firm Vierano Advogados, located in
     Rio De Janeiro, Mr. Ayarza researched and prepared a presentation on mortgage-backed
     securities which had been recently introduced into the Brazilian market. During his legal career,
     Mr. Ayarza has continued to focus on securities law. While at Zuckerman Spaeder LLP, Mr.
     Ayarza reviewed and analyzed the compliance procedures of a major financial institution for
     SEC and FINRA violations, among others. He also researched and analyzed corporate liability
     established through collective knowledge. Mr. Ayarza went from Zuckerman Spaeder to MSCI,
     a provider of investment decision support tools to clients ranging from large pension plans to
     hedge funds. While at MCSI, Mr. Ayarza reviewed documentation on tender offers, debt
     offerings, and hybrid securities, and advised institutional investors on the legal environment
     related to securities in the United States and Latin America. Mr. Ayarza also served as a chief
     liaison to publicly traded companies in Latin America on all proxy votes issued by ISS, a
     subsidiary of MSCI. Mr. Ayarza applied best practice standards to analyze proxy statements and
     shareholder resolutions on mergers & acquisitions, dividend distributions, corporate social
     responsibility and transparency, and assessed companies for compliance with best practice
     corporate governance standards.
             Prior to joining the team for this action, Mr. Ayarza worked with a prominent plaintiffs'
     class action law firm performing discovery tasks in an action related to mortgage-backed
     securities. Mr. Ayarza reviewed documents related to residential mortgage-backed securities for
     evidence of fraud and analyzed International Swaps and Derivatives Association and Foreign
     Exchange transaction databases in preparation for a trial. He also drafted witness biographies,
     deposition digests, identified key documents in preparation for witness depositions, and
     conducted a privilege review while training new hires on e-discovery systems.
             Mr. Ayarza was part of a small team of attorneys responsible for the digesting and
     summarizing of transcripts produced by the Countrywide Defendants and Individual Defendants
     in this case. Notably, Mr. Ayarza and another attorney summarized and digested over 40
     transcripts, including those of the Individual Defendants. Mr. Ayarza then worked with attorneys
     to identify issues and types of documents that otherwise would not have been considered
     relevant.
            Joyce Campbell-Priveterre
             Joyce Campbell-Priveterre graduated cum laude from New York University, where she
     received a B.A., and earned a J.D. from Boston College Law School. Ms. Campbell-Priveterre
     has almost two decades of litigation experience. In that time she has appeared in state and
     federal courts; has extensively participated in discovery proceedings, including depositions and
     motion practice; drafted and argued dispositive motions and appellate briefs; participated in



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     settlement and mediation proceedings; undertaken legal research and preparation of memoranda;
     provided trial support; and managed a significant number of active cases simultaneously. Ms.
     Campbell-Priveterre also spent three years at the New York City Law Department, where she
     was Assistant Corporation Counsel in the Special Federal Litigation Division of the Office of
     Corporation Counsel. She continued to hone her litigation skills at the Law Department,
     regularly appearing in the Southern and Eastern District Courts of New York.
             In this Litigation, Ms. Campbell-Priveterre worked on a number of different projects that
     involved Countrywide's loan origination and securitization practices ofMs. Campbell-Priveterre
     reviewed and analyzed documents with an aim toward identifying key documents supporting
     plaintiffs' allegations that Countrywide had not adequately ensured that its loan origination
     practices were consistent with its guidelines. She also identified documents pertaining to
     Countrywide's manipulation of its CLUES system to increase the volume of loans produced.
             Evan Chung
             Evan Chung graduated from the University of Michigan with a B.A. in Political Science.
     Mr. Chung earned a J.D. from Brooklyn Law School, during which time he was a Summer Intern
     with the United States District Court for the Eastern District of New York.
             During his legal career, Mr. Chung gained securities litigation experience in a variety of
     contexts. He was involved in a document review in a securities action related to market timing
     and late trading in which he analyzed financial statements and communications for relevance,
     privilege and confidentiality. In tanother instance, Mr. Chung was part of a team looking for
     violations of Sections 11, 12(a)(2) and 15 of the Securities Act of 1933 by reviewing corporate
     financials and other related documents. Most recently, Mr. Chung spent close to a year working
     on a document review in another MBS action. Here, Mr. Chung was a valuable Discovery Team
     member assisting in the review of financial, pricing and structuring documents. Mr. Chung
     focused on Defendants' communications to investors regarding the quality of the securities. Mr.
     Chung also assisted in reviewing deposition transcripts to determine relevance as well as helpful
     admissions for Maine State.
            Tarique N. Collins
             Tarique N. Collins received his J.D. from the University of Pennsylvania Law School, a
     Certificate in Business and Public Policy from The Wharton School of Business, and his B.A. in
     Political Science from Benedict College, where he was the recipient of a four-year full
     scholarship. While in law school, Mr. Collins was the Associate Editor for both the Journal of
     International Law as well as the Journal of Law and Social Change.
             Mr. Collins was previously a Litigation Associate at Dewey & LeBoeuf LLP, where he
     had a broad-based litigation practice focused on the preparation and trial of complex matters in
     securities litigation, commercial litigation, reinsurance litigation, and antitrust litigation. During
     his time at Dewey, Mr. Collins drafted various substantive and procedural motions,
     interrogatories, advice letters to clients, and memoranda discussing numerous issues related to
     practice. Mr. Collins also gained discovery experience, analyzing documents and drafting
     questions for deposition proceedings. Mr. Collins was also previously a Staff Attorney at Baker
     Hostetler, where he worked on litigation and bankruptcy matters in connection with Baker
     Hostetler's role as counsel to the court-appointed Trustee under the Securities Investor Protection
     Act in the liquidation of Bernard L. Madoff Investment Securities LLC.




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             In Maine State, beyond reviewing and analyzing documents, Mr. Collins prepared
     memoranda on issues relating to loan origination, structuring of each of the deals, due diligence
     and sale of the securities to the public. As an attorney on several of the core discovery review
     teams, Mr. Collins conducted extensive examinations on Defendants' document productions to
     determine whether or not deficiencies existed and assisted in drafting correspondence detailing
     those deficiencies.
             Katie Passaretti
             Katie Passaretti received her B.A. in Political Science from Vassar College and her J.D.
     from Northeastern University School of Law. Ms. Passaretti interned with both the Greater
     Boston Legal Services Family Law Unit and the American Civil Liberties Union. Ms. Passaretti
     also clerked in the Superior Court of Massachusetts, assisting the Justices in all phases of civil
     and criminal litigation, and preparing draft decisions and legal memoranda.
            Ms. Passaretti has provided legal services to prominent law firms such as Cleary Gottlieb
     Steen & Hamilton LLP, Quinn Emanuel Urquhart & Sullivan. LLP and Paul, Weiss, Rifkind,
     Wharton & Garrison LLP, on a project basis for a number of years. During that time she has
     reviewed and coded documents in response to requests for production of documents in large-
     scale civil cases, reviewed documents for attorney/client and work product privileges, and
     become well-versed in various electronic discovery software platforms.
             Ms. Passaretti conducted extensive document and transcript review and analysis,
     including helping to identify the relevant underwriting guidelines and audit tapes for each
     securitization at issue. Ms. Pasaretti was also involved in working on detailed responses to
     contention interrogatories and requests for admission.
            Charles Pietrofesa
            Mr. Pietrofesa graduated magna cum laude from Brooklyn College, with a B.S. in
     Business, Management and Finance, and graduated cum laude from New York Law School,
     where he was on the Dean's List and a member of the New York Law School Law Review.
             Mr. Pietrofesa began his legal career providing transactional legal services—including
     drafting shareholder agreements, corporate formation and merger documents and stock purchase
     and sale agreements. Mr. Pietrofesa later gained litigation experience by working on securities
     class actions—one action in particular involved mortgage-backed securities and collateralized
     debt obligations. In Maine State, Mr. Pietrofesa worked almost exclusively on analyzing and
     assessing the relevance of documents as assigned by Team Leaders.
            Ann-Marie Tesar
           Ann-Marie Tesar graduated cum laude from Columbia University where she received her
     B.A. Ms. Tesar received her J.D. from Fordham University School of Law, where she was a
     member of the Fordham Urban Law Journal.
             Ms. Tesar has worked on a number of securities actions over the last eight years. While a
     Litigation Associate at Winston & Strawn LLP, Ms. Tesar was a member of a team of attorneys
     hired to defend the former chief financial officer of a multi-billion dollar company against
     various lawsuits brought under federal and state securities laws and ERISA laws. During this
     action she assisted in deposition preparation including reviewing complex documents involving
     financial accounting, insurance and reinsurance transactions; she located documents key to the


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     defense, preparing memoranda re same; she also worked on the chronology of events and
     summarized various accounting transactions. Ms. Tesar later worked on a stock options
     backdating case, as well as an action against a major mortgage servicer and originator. During
     her career, Ms. Tesar has also represented start-up and established companies in areas such as
     financial services, energy, entertainment, and other industries, including incorporation,
     preparation of partnership and shareholder agreements, and compliance with regulatory and
     licensing requirements.
              Ms. Tesar was part of a small team of attorneys responsible for the digesting and
     summarizing of transcripts produced by the Countrywide Defendants and Individual Defendants
     in this case. Ms. Tesar then presented her work to Team Leaders and other attorneys on the case.
     Ms. Tesar also was involved in culling relevant documents for the 30(b)(6) depositions of UBS
     and Deutsche Bank. Finally, Ms. Tesar was part of the team involved in responding to contention
     interrogatories and requests for admission.




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      1
                                     CERTIFICATE OF SERVICE
      2
                I hereby certify that on September 23, 2013, I authorized the electronic filing of
      3
          the foregoing with the Clerk of the Court using the CM/ECF system which will send
      4
          notification of such filing to the e-mail addresses denoted on the attached Electronic
      5
          Mail Notice List, and I hereby certify that I caused to be mailed the foregoing
      6
          document or paper via the United States Postal Service to the non-CM/ECF
      7
          participants indicated on the attached Manual Notice List.
      8
                I certify under penalty of perjury under the laws of the United States of America
      9
          that the foregoing is true and correct. Executed on September 23, 2013.
     10
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